Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 1 of 177
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  1                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
  2                           WEST PALM BEACH DIVISION
                             CASE NO. 9:18-cv-80176-BB
  3
       IRA KLEIMAN, as the personal representative
  4    of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
  5
                   Plaintiffs,                                       November 10, 2021
  6                                                                  9:50 a.m.
                  vs.
  7
       CRAIG WRIGHT,
  8
                 Defendant.                    Pages 1 THROUGH 122
  9    ______________________________________________________________
                          TRANSCRIPT OF TRIAL DAY 8
10                     BEFORE THE HONORABLE BETH BLOOM
                        UNITED STATES DISTRICT JUDGE
11                            And a Jury of 10

12     Appearances:
       FOR THE PLAINTIFF:      ROCHE FREEDMAN, LLP
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       FOR THE DEFENDANT:      RIVERO MESTRE, LLP
19                             ANDRES RIVERO, ESQ.
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23     COURT REPORTER:         Yvette Hernandez
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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 2 of 177
                                                                                            2


  1                                     I N       D     E     X

  2    Certificate.....................................                                    122

  3
                                 W     I     T     N     E     S     S
  4
       ON BEHALF OF THE PLAINTIFF:                                                        PAGE
  5
       CRAIG WRIGHT
  6    CONTINUED DIRECT EXAMINATION BY MR. FREEDMAN                                         17

  7

  8                                  E X H I B I T S
       EX. NO.:                                                              OFFERED   ADMITTED
  9    Plaintiffs'   744                                                        29           29
       Plaintiffs'   795                                                        38           38
10     Plaintiffs'   604                                                        40           41
       Plaintiffs'   565                                                        47           48
11     Plaintiffs'   469                                                        55           55
       Plaintiffs'   143                                                        68           68
12     Plaintiffs'   147                                                        86           86
       Plaintiffs'   637                                                        94           94
13     Plaintiffs'   175                                                       103          103
       Plaintiffs'   124                                                       114          114
14     Plaintiffs'   511                                                       120          120
       Plaintiffs'   512                                                       120          120
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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 3 of 177
                                                                                           3


  1         (Call to order of the Court, 9:50 a.m.)

  2               THE COURT:    Good morning to everyone.                    Good to see

  3    everyone.

  4               All right.    Go ahead and have a seat.                    We're back on

  5    the record.

  6               Are there items to address this morning?

  7               MR. FREEDMAN:      There is one, Your Honor, for

  8    Plaintiffs.

  9               Last night, Your Honor, we sent five one-page exhibits

10     to the Defendants that constitute statements made by the

11     Defendant after the finalization of the exhibit list starting

12     on October 30th and going up to and including during trial.

13                They weren't on our exhibit list because they were

14     made after the finalization of the exhibit list.                       They're just

15     five one-page statements and we would like to add them to the

16     exhibit list, and I understand Defendants object.

17                MS. MCGOVERN:      Your Honor, we object.                  These are

18     purported conversations from a private account of Dr. Wright,

19     and Plaintiffs somehow obtained access to that private account

20     during trial and is seeking to admit these statements as party

21     admissions, when those communications were being conducted with

22     the belief they were within an account that would not have been

23     accessed by the Plaintiff.

24                We're unclear how access was obtained, but clearly

25     that's been monitored and access was done intentionally.                          The

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 4 of 177
                                                                                             4


  1    statements that are being made in those private communications,

  2    it is the same thing as though perhaps someone was speaking

  3    with Dr. Wright and they overheard it and now they are using it

  4    as a party admission.       It was a private conversation.

  5               Secondly, the statements are being made out of

  6    context, highly prejudicial, and should be excluded under 403.

  7    The only remedy for what we believe to be the improper access

  8    to that private account is to prevent their admission as party

  9    opponents in the case, Your Honor.

10                THE COURT:    All right.             What are the statements and

11     when and how did you obtain access?

12                MR. FREEDMAN:      Your Honor, these are statements from

13     the Slack message group that we've already been admitting into

14     evidence.    One of them is a joint exhibit.                          Defendants are well

15     aware that we have --

16                THE COURT:    All right.             So the joint exhibit is not an

17     issue.    So there are four other exhibits.

18                MR. FREEDMAN:      It's the same account.                     They're

19     claiming that it was a private message.                         That's just

20     inaccurate.     These are broadcasted all over the Internet.                        They

21     are rebroadcasted all over Twitter.                     They are rebroadcasted

22     across numerous groups because there are over 300 people in

23     this private group.

24                My point about the joint exhibit was Defendants are

25     well aware there is access to these communications.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 5 of 177
                                                                                             5


  1               THE COURT:    All right.             But you already have a joint

  2    exhibit that references statements that are similar?

  3               MR. FREEDMAN:      That references this account.

  4               THE COURT:    From this account.

  5               MR. FREEDMAN:      Yes.        And yesterday on the stand

  6    Dr. Wright testified that it is his account, that he's the only

  7    one that posts from it.

  8               Dr. Edman, as part of his report months and months and

  9    months ago, verified numerous messages from that Slack message

10     group.    The Defendants have received that.                          It's on our exhibit

11     list.    So access to this account is not a new thing.                         They're

12     well aware it's there.

13                THE COURT:    So when did you access these statements?

14                MR. FREEDMAN:      They were made after the exhibit list

15     was finalized.

16                THE COURT:    When?

17                MR. FREEDMAN:      One of them was made October 30th and

18     the other was made, I think, November 2nd, and then November

19     4th.

20                THE COURT:    I'm not asking when the statement was

21     made.    When did you access them?

22                MR. FREEDMAN:      When did I access?

23                THE COURT:    When did you come into possession of these

24     statements?

25                MR. FREEDMAN:      I don't know the exact date, Your

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 6 of 177
                                                                                          6


  1    Honor.    Shortly after they were made.                     So within a day.

  2               THE COURT:    So was it yesterday, the day before?

  3               MR. FREEDMAN:      It was not yesterday, Your Honor.

  4               THE COURT:    So if it was before yesterday, was it

  5    Monday, or was it the week before?

  6               MR. FREEDMAN:      Your Honor, my best guess is we got

  7    them shortly after they were made.                     So the one that was made on

  8    October 30th we probably got sometime on October 30th.                         The one

  9    that was made on November 2nd, we got on November 2nd.                         The one

10     we got on November 4th was made on November 4th.

11                THE COURT:    So why didn't you disclose these

12     statements earlier?

13                MR. FREEDMAN:      We weren't sure we were going to use

14     them, Your Honor.      Frankly, we sought counsel, an outside

15     ethics expert, to determine whether or not we needed to

16     disclose if they were ongoing.                We felt that we had an

17     obligation to our client not to say anything because the

18     Defendant continues to make admissions that are irrelevant to

19     the case.

20                So before we use them, we put the Defendants on notice

21     that we would be using them, but we felt that -- our advice led

22     us to believe that it would be against our client's interest to

23     say something earlier.

24                MS. MCGOVERN:      Your Honor, if I may respond.

25                THE COURT:    And the substance of the statements are?

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 7 of 177
                                                                                          7


  1               MR. FREEDMAN:      One of the statements, Your Honor, goes

  2    to the exact value of the intellectual property at issue in the

  3    case.    The Defendant literally gives the value of the IP and

  4    says:    "This is the intellectual property at issue in the

  5    Kleiman case."

  6               One of them goes to Dr. Wright's claim of autism.                       He

  7    is making fun of Ira Kleiman, and he posted these messages

  8    while sitting at counsel's table looking at Ira Kleiman.

  9               Another one goes to the transaction between -- when

10     the IP -- and this will be covered in today's module.                      When the

11     transaction of the intellectual property is taking place and

12     Dr. Wright is stripping the intellectual property out of W&K,

13     and through his other entities he tries to cut a deal with

14     somebody named Calvin Ayre and Stefan Matthews.                       Dr. Wright

15     says that Calvin Ayre promised him $50 million if he just got

16     rid of Ira, but he couldn't get rid of Ira so no deal happened

17     and he struck a deal with somebody else.

18                I believe that's the sum and substance of the

19     messages, Your Honor.

20                MS. MCGOVERN:      Your Honor, if I --

21                THE COURT:    All right.             And you're seeking to

22     introduce these statements as substantive evidence or for

23     purposes of impeachment?

24                MR. FREEDMAN:      Just substantive, Your Honor.

25     Impeachment, the Court doesn't require disclosure beforehand.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 8 of 177
                                                                                               8


  1               MS. MCGOVERN:      Your Honor, we disagree with respect to

  2    the access to the Slack channel.                  We have disputed their

  3    ability to access the Slack channel in the past.

  4               The point here is, we didn't know about this until

  5    last night.     If they knew about it before -- what's happening,

  6    Your Honor, is what we've seen happen in the case, which is we

  7    have no idea who elicited those statements from Dr. Wright, we

  8    have no idea what the purpose for that was, but what he

  9    believed at the time was that he is communicating in a private

10     channel to which Plaintiffs should not have access.

11                THE COURT:    Nobody's saying that they did anything

12     unlawful.

13                MS. MCGOVERN:      Your Honor --

14                THE COURT:    They obtained access to statements that,

15     it appears -- that you're not contending that Mr. Wright didn't

16     make.

17                MS. MCGOVERN:      Your Honor --

18                THE COURT:    In other words, he made these statements

19     but the Plaintiff was able to uncover them, and nobody's saying

20     that Plaintiff did anything illicit or unlawful.

21                The question is whether it's in violation of the

22     Court's order that the parties disclose exhibits.                            It would

23     appear to the Court that you're not arguing that these

24     statements cannot be used as impeachment.                             You're merely

25     claiming that they cannot be used as substantive evidence

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 9 of 177
                                                                                              9


  1    because they weren't disclosed on the exhibit list.                         Is that

  2    correct?

  3               MS. MCGOVERN:      That's correct, Your Honor.

  4               THE COURT:    All right.             So how would you have prepared

  5    differently for trial had you known of these statements?

  6               MS. MCGOVERN:      Your Honor, what's happened here is

  7    these -- this is a social media forum.                        Within this community

  8    questions are asked that might have been elicited and responses

  9    might have been made.       I understand that Mr. Freedman has made

10     a very sort of broad statement about what those statements say

11     and mean.    They're one-line statements, Your Honor.                       This isn't

12     a narrative.     This isn't an explanation.                       This is not within

13     the somber rooms of the courtroom in which he is under oath and

14     being asked questions.

15                This is a social media environment, that he doesn't

16     believe the Plaintiffs are actually part of the conversation.

17     We didn't know it, Your Honor.                So now --

18                THE COURT:    But many of the statements that have been

19     introduced into evidence Dr. Wright was not under oath.                         So I

20     think that's somewhat beside the point.                         The question is the

21     procedural prejudice.

22                If in fact they are Dr. Wright's statements, they were

23     made subsequent to the start of the trial, some of them even

24     made while witnesses were on the stand testifying, I'm trying

25     to understand where the procedural prejudice would lie if

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 10 of 177
                                                                                          10


  1     you're not claiming that they were not his statements.

  2               MS. MCGOVERN:       Well, I think the prejudice, Your

  3     Honor, is what we've seen along the way, which is context.

  4               Had we known that they were monitoring the Slack

  5     channel, we would have advised Dr. Wright that the meaning

  6     behind his statements could be misunderstood.                         We didn't know.

  7     We weren't advised.     I think we weren't advised because, in

  8     fact, it's helpful to the Plaintiffs to get these one-line

  9     statements taken out of context and used as admissions when the

 10     underlying substantive evidence in this case doesn't

 11     substantiate it.

 12               This is a one-line statement that's going to be used

 13     to extrapolate a conclusion regarding intellectual property out

 14     of context as Mr. Freedman has just advised the Court is going

 15     to be made to the jury.

 16               THE COURT:    But if they are statements of your

 17     client -- and I understand that you didn't have an opportunity

 18     to counsel your client not to speak, but how is it any

 19     different than your client going outside and being on camera

 20     and making a statement?

 21               You're claiming that the obtaining of the statements

 22     was improper, but I'm not seeing how it is improper if there's

 23     already a joint exhibit that references the same information

 24     collected in the same manner.

 25               So the question is:             Are those the Defendant's

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 11 of 177
                                                                                   11


  1     statements and, if so, can they be introduced at the time of

  2     trial?   If you're making an argument that there's procedural

  3     prejudice, I'm trying to find out where the procedural

  4     prejudice is.    If it's solely that you would have had the

  5     opportunity to tell your client not to make any out-of-court

  6     statements about the ongoing trial or about the issues in the

  7     trial, I think that's something that most litigants know not to

  8     do.

  9               MS. MCGOVERN:       Your Honor, these exhibits are not on

 10     the exhibit list.     This case has been pending for four years.

 11               Our procedural objection, Your Honor, is that exhibits

 12     that are used to be admitted substantively in their case in

 13     chief should be properly disclosed, timely disclosed.                 They've

 14     just advised the Court they knew about them and they're telling

 15     us last night.     It's too late, it's untimely, and it's

 16     prejudicial, Your Honor.

 17               THE COURT:    So trial began on November 1st.               Today is

 18     November 10th.     How would you have prepared differently for

 19     trial had the statements that were obtained on the first week

 20     of trial, between November 1st and November 5th -- how would

 21     you have prepared differently for the trial had you known that

 22     your client made those statements?

 23               MS. MCGOVERN:       Your Honor, I think that's true with

 24     all exhibits that you're not aware of before they are presented

 25     the night before.     You would prepare by doing due diligence and

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 12 of 177
                                                                                          12


  1     understanding exactly what the circumstances were that led to

  2     the statement in the first place.

  3               For example, how exactly were they made?                     Why were

  4     they made?    What was the meaning for the question?                    We would be

  5     able to speak, for example, to the individual who elicited the

  6     statement in the first place.               We would be able to find out who

  7     that person is.

  8               THE COURT:    Well, if there's some ambiguity in the

  9     statement, wouldn't it be cured by having an opportunity to

 10     cross-examine your client with regard to those statements?

 11               I mean, I'm just trying to understand.                      If the

 12     statement is made after the start of the trial but it's made by

 13     one of the litigants and it relates directly to one of the

 14     issues in the case, then of course that statement is not going

 15     to be on the exhibit list because it was a statement that was

 16     made after the time.

 17               MS. MCGOVERN:       Well, Your Honor asked how we would be

 18     prejudiced.    Our response is we would have prepared, we would

 19     have done some due diligence to figure out exactly what

 20     circumstances were.     We were not able to do that.                   That's

 21     prejudice number one.

 22               Prejudice number two, Your Honor, is that the

 23     statements that Mr. Freedman has just stated are sort of ranges

 24     again.   There is a statement that's going to be made with

 25     respect to Mr. Kleiman.         That's clearly going to be prejudicial

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 13 of 177
                                                                                    13


  1     against Dr. Wright.     It's unclear to me how that relates to the

  2     partnership in the case, the IP in the case, the damages in the

  3     case or any connection to any of the Bitcoin to Dave Kleiman's

  4     estate.   So I don't see how that's even relevant.

  5               Additionally, to the extent the issue is directly

  6     related to an issue in the case, it should directly relate to

  7     an issue in the case.       The statement regarding what Dr. Wright

  8     has stated about Mr. Kleiman in connection with the trial has

  9     no bearing on it and is clearly going to be used to make

 10     Dr. Wright look like a bad person or perhaps acting

 11     inappropriately during a tremendous amount of stress.                 So with

 12     respect to that one, I think there's no question it has no

 13     bearing and should not be admitted.

 14               To the extent that each of the other issues that are

 15     going to be presented against Dr. Wright, Your Honor, we would

 16     request that a proper foundation be laid and that it be shown

 17     solely to the witness until in fact it is determined to be

 18     relevant to this case, if in fact it's going to be admitted.

 19     Untimely, in our opinion.           For a substantive purpose during

 20     trial, we would simply ask that the foundation be done and

 21     that, in fact, it be related to an issue in this case.                If it

 22     is not, Your Honor, we would move to exclude it under 403.

 23               THE COURT:    All right.              Mr. Freedman, what is the

 24     precise statement about Ira Kleiman that Dr. Wright is alleged

 25     to have made?

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 14 of 177
                                                                                                 14


  1               MR. FREEDMAN:       He compares him to a character called

  2     Milton from a movie called Office Space and posts a video of

  3     this character, who is a character with glasses that magnifies

  4     his eyes and he looks very pathetic, and he is a very pathetic

  5     person throughout the entire movie.                     He was constantly bullied,

  6     thrown around, and treated very badly, who eventually then

  7     burns down the building at the end of the movie.

  8               THE COURT:    What's the statement that's alleged to

  9     have been made by Dr. Wright?

 10               MR. FREEDMAN:       I believe -- I don't have it in front

 11     of me, Your Honor, at this moment.                     We can pull it up.

 12               THE COURT:    Yes.        Let me see the statement.

 13               MR. FREEDMAN:       That's the top one, Your Honor.                      "Ira

 14     reminds me of the stapler guy from The Office."

 15               Can you scroll down, please, so the Court can see the

 16     image that Dr. Wright -- no.              Keep going.                 Down to the end.

 17     One more.

 18               And this is Milton, Your Honor.

 19               THE COURT:    Is that the substance of what you're

 20     seeking to introduce?

 21               MR. FREEDMAN:       Yes, and I would like to explain why

 22     it's relevant, Your Honor, which is during opening statement

 23     Ms. McGovern got up, talked about how Dr. Wright has been

 24     bullied, was called a freak, is autistic, and here he is at

 25     counsel's table while one witness is on the stand bullying him.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 15 of 177
                                                                                         15


  1     Dr. Wright opened the door to this testimony by talking about

  2     how he was bullied as a child and how it led -- and now he is

  3     reciprocating the bullying.

  4               THE COURT:    All right.              I'm not going to permit this.

  5     I truly believe that, the animosity or lack of animosity, the

  6     relationship between Dr. Wright and Ira Kleiman is not

  7     relevant.    So I'm not going to permit this.

  8               Let me see the other ones.

  9               MR. FREEDMAN:       It's the top one, Your Honor.               "The

 10     full value of the intellectual property that I own."

 11               THE COURT:    That's appropriate, and you may certainly

 12     ask the question.     To the extent that it's inconsistent, then

 13     you may use it for purposes of impeachment.

 14               Is this the second one?

 15               MR. FREEDMAN:       Can we introduce it as substantive

 16     evidence, Your Honor?

 17               THE COURT:    I'm not going to permit it as substantive

 18     evidence.    I'll allow its introduction for purposes of

 19     impeachment, but you are allowed to ask the question.                     To the

 20     extent that the answer is inconsistent, you may use it for

 21     purposes of impeachment.

 22               MR. FREEDMAN:       Thank you, Your Honor.

 23               THE COURT:    All right.              Where are the other three?

 24               MR. FREEDMAN:       The top one, Your Honor:                "Simply

 25     saying that Satoshi is hiding or that Satoshi is dead is

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 16 of 177
                                                                                         16


  1     inadequate.    You see, there is a court case for control of the

  2     protocol and the coins.         All up, it's worth probably $314

  3     billion."

  4               THE COURT:    You may ask the question.                     Use that for

  5     purposes of impeachment.

  6               The other two?

  7               MR. FREEDMAN:       There's one more, Your Honor.                 The top

  8     one:   "The deal I discussed with Calvin Ayre in March to June

  9     2015 was for investment.          It was an estimate for 50 million.

 10     There was one condition, that I had to get rid of Ira Kleiman

 11     as a shareholder.     I offered Ira 12.                   He turned me down.   No

 12     deal with Calvin Ayre."

 13               THE COURT:    You may ask the relevant question and you

 14     may use the statement for purposes of impeachment if the answer

 15     is inconsistent.

 16               And the last one?

 17               MR. FREEDMAN:       The last one about Dr. Wright is way at

 18     the bottom.    So somebody says:              "Can Dave's coins be recovered

 19     if all proofs of ownership are burnt publicly, plus receipts,

 20     private keys."

 21               And Dr. Wright says:              "W&K's," which clearly implies

 22     that there are coins in W&K, contradicting Dr. Wright's

 23     testimony that W&K never mined Bitcoin.

 24               THE COURT:    You may use that for purposes of

 25     impeachment.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 17 of 177
                                                                                       17


  1                MR. FREEDMAN:      Thank you, Your Honor.

  2                THE COURT:   All right.              Dr. Wright, if you'll come

  3     forward.

  4                We have all our jurors ready?

  5                COURT SECURITY OFFICER:                We do, Judge.

  6                THE COURT:   Any other issues we need to address?

  7                MR. FREEDMAN:      Not for Plaintiffs, Your Honor.

  8                THE COURT:   Okay, then.

  9                Let's wait for Dr. Wright.

 10          (Before the Jury, 10:08 a.m.)

 11                THE COURT:   Good morning to each of you.                  Please be

 12     seated.    It's good to see each of you on this beautiful

 13     morning.    Thank you for being so prompt.

 14                I apologize for the delay.                   The fault is all mine, and

 15     we're ready to get back to work.

 16                We'll continue with the questioning.

 17                MR. FREEDMAN:      May it please the Court.

 18                         DIRECT EXAMINATION [CONTINUED]

 19     BY MR. FREEDMAN:

 20     Q.   Good morning, Dr. Wright.

 21     A.   Good morning, Vel -- Mr. Freedman.

 22     Q.   Dr. Wright, yesterday I put up a document for you that was

 23     addressed to the email address craig@ncrypt.com.                      Do you recall

 24     that?

 25     A.   No, I don't.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 18 of 177
                                                                                        18


  1     Q.   Dr. Wright, is that your email address?

  2     A.   Sorry.   No, it's not.

  3               THE COURT:    I'm sorry.              My screen is not working.

  4               MS. MCGOVERN:       Either is mine.

  5               MR. FREEDMAN:       There isn't anything on the screen,

  6     Your Honor.

  7               THE COURT:    I'm sorry.              I thought you were showing the

  8     witness something.     I apologize.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, in fact yesterday you also testified that there

 11     are other Craigs, but that email address is not yours, right?

 12     A.   I have craig@nchain or, actually, craig.wright@nchain, I

 13     think, or -- both my names at nChain.                       I also have RCJBR, which

 14     also links to Tulip Trading.              They are the same account with

 15     different domains.

 16               THE COURT:    Could you speak a little louder.

 17               THE WITNESS:      I'm sorry, Your Honor.

 18               But no, I don't have that one.

 19               MR. FREEDMAN:       Ms. Vela, would you please put P333 up

 20     on the screen.

 21               I believe that's in evidence.

 22     BY MR. FREEDMAN:

 23     Q.   Dr. Wright, I asked you about this exhibit yesterday as

 24     well.   You see the email that says craig@ncrypt?

 25     A.   I see that.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 19 of 177
                                                                                             19


  1     Q.   Dr. Wright, yesterday you testified that this was an email

  2     between yourself and Robert MacGregor.

  3     A.   I said it was an email chain between those things.                         I don't

  4     remember it being myself.           I don't remember the email.

  5     Q.   Does this help refresh your memory that you did control the

  6     craig@ncrypt.com email address?

  7     A.   No, it does not.

  8     Q.   Okay.

  9                MR. FREEDMAN:      Ms. Vela, can you bring that down, and

 10     just for counsel and Dr. Wright, can you please put up Article

 11     1.

 12     BY MR. FREEDMAN

 13     Q.   Do you recognize this as a publication, Dr. Wright?

 14     A.   Yes, but I didn't put the email in there.                        Other people

 15     did.   So that's actually not my email.                       It's incorrect.

 16     Q.   Do you see -- does this help refresh your recollection that

 17     this is in fact your email address?

 18     A.   No.   Marco put the wrong email address in there.                      At the

 19     time this was published, that was definitely -- nCrypt didn't

 20     even exist.    So Marco did the filing and he put the wrong

 21     email.     It's not mine.

 22                MR. FREEDMAN:      Ms. Vela, can you take that down and

 23     put up Article 2 for the witness.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, does this help refresh your recollection, this

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 20 of 177
                                                                                      20


  1     article help refresh your recollection that you in fact did

  2     control the craig@ncrypt.com email address?

  3     A.   No.   Again, I didn't fill out the details for this in

  4     publication, and if people put the wrong address because they

  5     think it's my address, that's probably why I don't get any

  6     correspondence on these.

  7     Q.   All right.    Dr. Wright, I'm going to try to lay the

  8     foundation for a document that we're going to try to get in.

  9     So to speed us along on that, I have a clip of your deposition

 10     prepared.

 11                MR. FREEDMAN:      Ms. Vela, can you please play clip 101.

 12          (Video played.)

 13                MR. FREEDMAN:      Ms. Vela, can you please show the

 14     witness and counsel document P359.                     And can we go to Page 8,

 15     please.

 16     BY MR. FREEDMAN:

 17     Q.   Dr. Wright, do you see a list of a schedule on this page?

 18     A.   I can see the page.

 19     Q.   Did you attend interviews along the lines of those listed

 20     on this page?

 21     A.   I attended a meeting with the BBC, with The Economist, and

 22     then GQ.    The times are wrong and some of the people are wrong.

 23     Q.   And this was in connection with the press events that

 24     Robert MacGregor and The Outside Organisation organized?

 25     A.   I don't actually know.           I mean, I blamed Robert for a lot

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 21 of 177
                                                                                          21


  1     of things more than he should have.                     I was very angry at the

  2     time, and I don't actually know who was behind many of the

  3     things.   But Robert was the person talking to me.                       So as the

  4     person I spoke to on a daily basis, who I thought betrayed me,

  5     I blamed Robert for everything.

  6     Q.   And you eventually interviewed with GQ and Stuart McGurk

  7     from GQ, correct?

  8     A.   I wouldn't actually call it an interview.                        They basically

  9     dressed me up in turtlenecks and tried to make me look like --

 10     like I was an Apple founder or something like that, and I

 11     thought it was horrible.          The only time in my life I've ever

 12     worn a turtleneck was when GQ played Ken doll with me, and I

 13     wouldn't call that an interview.

 14               MR. FREEDMAN:       Ms. Vela, you can take that down.

 15     Thank you.

 16               Ms. Vela, can you please now play clip 102 from

 17     Dr. Wright's deposition.

 18          (Video played.)

 19               THE COURT:    Mr. Freedman, let me just remind you and

 20     remind all counsel that, by a previous agreement, when you are

 21     playing portions of a video deposition, the court reporter is

 22     not taking down verbatim the words that are spoken.                        For

 23     example, with clip 102.         So it is important from this point

 24     forward that you will reference the page and line or you can

 25     provide each day the content of, for example, what clip 102 is.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 22 of 177
                                                                                           22


  1     I'm not sure if you're filing that separately at the conclusion

  2     of the trial, but that is very important.

  3               MR. FREEDMAN:       I don't have the lines in front of me

  4     right now, but we will make sure to do that.

  5               Ms. Vela, can you please put up P318 for just the

  6     witness and counsel.

  7               Can you zoom in on that.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, do you recognize this as an email --

 10               MR. FREEDMAN:       Ms. Vela, can you use the native

 11     version of this so we can see the actual email addresses.

 12     BY MR. FREEDMAN:

 13     Q.   Dr. Wright, do you recognize this as an email from Nick

 14     Caley from The Outside Organisation, the PR organization that

 15     was hired to coordinate the events?

 16     A.   I don't recall this email.

 17     Q.   And it's addressed to you and Ramona Watts.                      Do you see

 18     that?

 19     A.   It says:   "NCrypt Craig."             As I said, that's not actually

 20     my address.

 21     Q.   But the address, it says:              "Hello, Craig and Ramona."

 22     Right?

 23     A.   I don't recognize this.

 24     Q.   Okay.   And this email purports to attach two transcripts

 25     from a media training session, does it not?

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 23 of 177
                                                                                           23


  1     A.   I have no idea.    It's got two documents.                       I don't know what

  2     they are.

  3                MR. FREEDMAN:      Ms. Vela, can you bring us to Page 2 of

  4     the PDF file.    Not the native email.                    So P318.

  5     BY MR. FREEDMAN:

  6     Q.   Do you see at the top, Dr. wright, it's entitled --

  7                MR. FREEDMAN:      Ms. Vela, you can leave it zoomed out

  8     for now.

  9     BY MR. FREEDMAN:

 10     Q.   Do you see at the top it says:                    Media Training Session 2"?

 11     A.   I can see the document.

 12     Q.   Dr. Wright, do you recall participating in -- sorry.

 13     Strike that.

 14                MR. FREEDMAN:      Ms. Vela, can you go to Page 20.

 15     BY MR. FREEDMAN:

 16     Q.   Do you see it says:        "Media Training Session 1" at the top,

 17     Dr. Wright?

 18     A.   I can see what the document says.

 19     Q.   And it starts off with somebody pretending to be Stuart

 20     McGurk from GQ magazine.

 21                MS. MCGOVERN:      I'm going to object to the use of the

 22     substantive nature of the document until it is admitted into

 23     evidence.    We have an objection from October 14th to this

 24     document, and we renew it here.

 25                THE COURT:   You can continue to lay the foundation.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 24 of 177
                                                                                       24


  1                Overruled at this point.

  2     BY MR. FREEDMAN:

  3     Q.   Dr. Wright, do you recall this is a transcript of a mock

  4     interview that you participated in?

  5     A.   No.   There was never any transcript of any mock interviews

  6     I was in.    And no, I don't recall it.

  7                MR. FREEDMAN:      Ms. Vela, can you please bring us to

  8     Page 29 of this interview.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, I'm going to try to take you through this

 11     document to see if I can't get you to remember that this is, in

 12     fact, a transcript.

 13                MS. MCGOVERN:      Your Honor, I'm going to object to the

 14     use of the word transcript.             That very word was addressed by

 15     the Court on October 14th stating that the Plaintiffs

 16     improperly characterized it as a transcript.

 17                THE COURT:   Why don't you refer to its proposed entry

 18     into evidence as the exhibit number.

 19                MR. FREEDMAN:      P318.

 20                Ms. Vela, can you please highlight the word:

 21     "Inaudible" in the question in P318.                      Then, Ms. Vela, shortly,

 22     right in the question underneath that, can you highlight the

 23     words within the parenthetical:                 "Inaudible from interviewer."

 24                Ms. Vela, can you now bring us to Page 30, and in the

 25     one -- actually, where your cursor is right now, there's

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 25 of 177
                                                                                        25


  1     another parenthetical that says:                  "Interview interrupts" and

  2     there's more in bold font.            Can you highlight that, please.

  3               And then on that same page, Ms. Vela, at the bottom.

  4     The last bold line:     "Inaudible question," can you highlight

  5     that, please, too.

  6               Ms. Vela, can we go to the next page.                       Can you

  7     highlight the:     "Laughs" in brackets.

  8               MS. MCGOVERN:       Your Honor, I object to this.                 This is

  9     not a proper foundation laying.                 There's no question or answer.

 10               THE COURT:    Let's get to the questions with regard to

 11     the foundation.

 12     BY MR. FREEDMAN:

 13     Q.   Dr. Wright, does this help -- have you had a chance to look

 14     over this document and see if it helps you recall that this is

 15     in fact a transcript of a mock interview that you participated

 16     in, that you received from Nick Caley, who was in The Outside

 17     Organisation, that you just testified was hired to prepare you

 18     for media sessions in a way where they would throw questions at

 19     you, you would respond, they would throw questions at you, and

 20     you would respond again?

 21               MS. MCGOVERN:       Objection to the narrative nature of

 22     it, and particularly the fact it goes against the Court's

 23     determination of October 14th.

 24               THE COURT:    Overruled.              I'll allow it at this point.

 25               THE WITNESS:      No.       This is not a transcript.             It is

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 26 of 177
                                                                                             26


  1     not a document to do with anything that that process happened,

  2     and there are errors in it.             For instance:                 "Have you spoken to

  3     Gavin Andresen lately?"         No, I haven't.                  That was actually

  4     incorrect.    So this document is not anything to do with that.

  5     No, I don't recognize this document.

  6               MR. FREEDMAN:       Ms. Vela, can you bring us to Page 43.

  7     BY MR. FREEDMAN:

  8     Q.   Dr. Wright, now there's a break in what appeared to be the

  9     back-and-forth we were looking at before and now somebody is

 10     providing notes.

 11          Do you see in that first -- that first bold paragraph there

 12     where there's a comment?

 13               MR. FREEDMAN:       Ms. Vela, can you just highlight that

 14     first line.

 15     BY MR. FREEDMAN:

 16     Q.   Dr. Wright, "CW" is you, correct?

 17     A.   I don't know.    I don't recognize the document.

 18     Q.   Does this help refresh your recollection that, in fact,

 19     this was you giving answers in response to questions?

 20     A.   It refreshes my memory this did not happen the way you're

 21     saying.   This is not a document I recognize.

 22     Q.   How did it happen, Dr. Wright?

 23     A.   Not like this.    There was a separate thing where people had

 24     a theater.    What happened was I had a group of people on one

 25     side and a person playing Craig Wright saying:                           "This is how

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 27 of 177
                                                                                                27


  1     you need to do these things."               But this isn't that.               So I had

  2     someone pretending to be a questioner and someone pretending to

  3     be Craig Wright going:        "This is how you answer."                      And no, this

  4     isn't it.

  5               MR. FREEDMAN:       Your Honor, Plaintiffs offer P318 into

  6     evidence.

  7               MS. MCGOVERN:       Excuse me, Your Honor.                      Your Honor, we

  8     object.   As set forth in the argument that was presented at

  9     Pages 25 and 26 of the October 14th hearing, Your Honor, it's

 10     been determined this is in fact not a transcript.                            This is a

 11     media document.

 12               THE COURT:    The objection is sustained.

 13               MR. FREEDMAN:       Okay.         Ms. Vela, can you take that

 14     down, please.

 15     BY MR. FREEDMAN:

 16     Q.   Dr. Wright, you worked on intellectual property with Dave

 17     Kleiman, correct?

 18     A.   I worked on a number of things.                    I worked on a paper I

 19     published with him in 2008, which his name is on.                            I worked on

 20     several books.     And after 2011 he took intellectual property

 21     that I developed in Greyfog and helped document it.

 22     Q.   Dr. Wright, you worked on intellectual property with Dave

 23     Kleiman, correct?

 24     A.   As I just stated, I worked on a paper in 2008 that he was

 25     published with.     I worked on three books.                          And after 2011,

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 28 of 177
                                                                                            28


  1     intellectual property that I developed in a company called

  2     Greyfog was transferred to W&K where Dave was to document it.

  3                 MR. FREEDMAN:     Ms. Vela, can you please play clip 45

  4     from Dr. Wright's deposition.               That's the April 24th, 2019

  5     deposition.     Page 215, lines 12 through 14.

  6          (Video played.)

  7     BY MR. FREEDMAN:

  8     Q.   Dr. Wright, for example, Dave Kleiman was involved in

  9     creating a completely open and malleable form of scriptable

 10     money?

 11     A.   The thing you're talking about is Sukuriputo Okane, which

 12     was lodged as a project with the Australian government in 2012.

 13     I started developing that in March 2012.                          It never went

 14     anywhere.     It was in Coin-Exch. eventually.                        Dave didn't have

 15     any involvement in it.        He was going to be helping to run and

 16     set up Coin-Exch., but that was his extent of involvement.

 17                 MR. FREEDMAN:     Ms. Vela, can you put up P744, please,

 18     just for the witness and counsel.

 19                 Ms. Vela, can you just zoom out.

 20                 Can you go to the next page.                    Can we show them side by

 21     side.

 22     BY MR. FREEDMAN:

 23     Q.   Dr. Wright, do you recognize this as an email from yourself

 24     to Ira Kleiman dated February 16th, 2014?

 25     A.   Yes.    This details what I just explained.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 29 of 177
                                                                                           29


  1                 MR. FREEDMAN:     Your Honor, can we offer P744 into

  2     evidence.

  3                 MS. MCGOVERN:     No objection.

  4                 THE COURT:   Admitted into evidence.

  5          (Plaintiffs' Exhibit 744 received into evidence.)

  6                 MR. FREEDMAN:     Ms. Vela, can you now zoom in to the

  7     left side of the email itself and then on the right side can we

  8     just get the first half of the page or so.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, this is an email from yourself to Ira Kleiman

 11     dated February 16th, 2014.            It's entitled -- and I'm not going

 12     to do this as well as you did.                Well, it says "R&D," but it's

 13     got an attachment titled "Sukuriputo Okane."

 14          That's probably not the way you say it.                          How do you

 15     pronounce it?

 16     A.   Sukuriputo Okane.

 17     Q.   I'm going to stick with mine.                  Sukuriputo Okane.

 18          Underneath that you say what Dave was involved in creating,

 19     right?

 20     A.   Yes.   That's correct.

 21     Q.   And then you attach to that this document.                         It says:

 22     "Sukuriputo Okane seeks to create a completely open and

 23     malleable form of scriptable money.                     That is money that can be

 24     contracted in advance."

 25          Do you see that?

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 30 of 177
                                                                                30


  1     A.   I do.

  2     Q.   "We are seeking to explore ways to program a distributed

  3     contract using Bitcoin to form agreements with people via the

  4     blockchain."

  5          Do you see that?

  6     A.   Yes.

  7     Q.   You then say:    "We seek to create autonomous agents in the

  8     Bitcoin block," in the last paragraph before the list of

  9     bullets.

 10     A.   Yes.

 11     Q.   And you talk about smart:              "Property on the blockchain."

 12          Do you see that, Dr. Wright?

 13     A.   I do.

 14     Q.   Dave was involved in creating this, correct?

 15     A.   He helped set up some of the servers that I ended up

 16     running the tests on, yes.

 17     Q.   He was involved with creating this, correct?

 18     A.   As I just said, he set up some of the servers that I ran

 19     the tests on, yes.

 20                 MR. FREEDMAN:     Ms. Vela, can you please highlight Dr.

 21     Wright's email to Ira Kleiman on the 16th of February, 2014.

 22     BY MR. FREEDMAN:

 23     Q.   Dr. Wright, Dave was involved in creating this, correct?

 24     A.   As I just said multiple times, Dave set up all the servers

 25     that I ran my tests on.         That is an involvement.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 31 of 177
                                                                                              31


  1     Q.   Dr. Wright, you told Mark Ferrier the same thing, didn't

  2     you?

  3     A.   No, I didn't mention -- I don't think I mentioned -- or

  4     pretty sure I didn't mention that to Ferrier.

  5                MR. FREEDMAN:      Ms. Vela, can you please bring up P459,

  6     which is Dr. Wright's Skype messages between himself and Mark

  7     Ferrier.

  8                Can you bring us to line 61, Ms. Vela.

  9                Can we publish this to the jury.                           It's in evidence.

 10                Can you bring us to line 61, please, Ms. Vela.

 11     BY MR. FREEDMAN:

 12     Q.   Craig Wright, April 5th, 2013:                    "We are seeking to explore

 13     ways to program a distributed contract using Bitcoin to form

 14     agreements with people via the blockchain.                            These are

 15     agreements built into the coin itself that is money with

 16     conditions."

 17          You see that, Dr. Wright?

 18     A.   I do.   I had forgotten that I mentioned the block of what

 19     I'm doing, but I didn't call it a name, I don't believe, to

 20     him.

 21                MR. FREEDMAN:      Ms. Vela, can you click on the cell.                         I

 22     believe some of it is cut off because of the way it cells.

 23                Can you just open that cell.                     D61.

 24                There we go.     Thank you.

 25     BY MR. FREEDMAN:

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 32 of 177
                                                                                  32


  1     Q.   So, Dr. Wright, it actually starts off by saying:                "What

  2     Dave and I want to do is the following Sukuriputo Okane."

  3          Do you see that?

  4     A.   I do.   I don't recollect saying it, but I must have.

  5     Q.   Okay.   In addition, Dr. Wright, you worked with Dave for

  6     over a decade developing the concept of a Bitcoin exchange by

  7     which smart contracts would be connected, did you not?

  8     A.   No.   The way that I said that, I was talking about I was

  9     there and Dave came in.

 10                MR. FREEDMAN:      Ms. Vela, can you go to P464, which is

 11     in evidence, and let's go to Page 5, please.

 12     BY MR. FREEDMAN:

 13     Q.   Dr. Wright, this, you'll remember, is your statement to the

 14     New South Wales police.

 15                MR. FREEDMAN:      And, Ms. Vela, can you highlight or

 16     call out Paragraph 13.        Can you bring that up for us so it's

 17     easier to see.

 18     BY MR. FREEDMAN

 19     Q.   "In the course of our conversations, I discussed with Mark

 20     the concept of a Bitcoin exchange by which smart contracts

 21     would be connected."

 22                MR. FREEDMAN:      Ms. Vela, can you highlight the next

 23     sentence.

 24     BY MR. FREEDMAN:

 25     Q.   "This is an idea that I had developed with my business

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 33 of 177
                                                                                    33


  1     partner Dave Kleiman for a period of over a decade."

  2          Do you see that?

  3     A.   I do.

  4                 MR. FREEDMAN:     Ms. Vela, can you back us out of here

  5     for a moment and can you show us the date Dr. Wright emails

  6     Katherine Unger of the New South Wales police this statement,

  7     Page 1.

  8     BY MR. FREEDMAN:

  9     Q.   September 22, 2014.        You were working on smart contracts

 10     with Dave Kleiman since 2004, weren't you, Dr. Wright?

 11     A.   No, I wasn't.

 12     Q.   Isn't it true, Dr. Wright, that you and Dave also worked on

 13     the development of a system that integrated supervisory control

 14     and data acquisition, otherwise known as SCADA, software and a

 15     Bitcoin exchange?

 16     A.   They're two different things.                  But yes, one of the things

 17     W&K was meant to do was SCADA systems, and then Coin-Exch. was

 18     the exchange.

 19                 MR. FREEDMAN:     Ms. Vela, can we go to PDF Page 6,

 20     please.

 21     BY MR. FREEDMAN:

 22     Q.   Dr. Wright, you'll recognize we're still in your statement

 23     to the New South Wales police, correct?

 24     A.   Yes.

 25                 MR. FREEDMAN:     Ms. Vela, can you call out Paragraph 17

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 34 of 177
                                                                                             34


  1     for us.     Can you highlight that first sentence, Ms. Vela.

  2     BY MR. FREEDMAN:

  3     Q.   "The idea conceived by David and me."

  4          Do you see that?

  5     A.   Yes.

  6     Q.   Dave Kleiman was not meant to work on SCADA and Bitcoin,

  7     Dr. Wright.     He conceived the idea with you.                       Isn't that

  8     correct?

  9     A.   No.    The actual correct thing would be Bob Radvanovsky and

 10     myself had talked about it.             I invited Dave in.              In 2011, I

 11     invited Dave to help develop it further, and Dave wanted to be

 12     part of it.     He never ended up doing much, but he was meant to

 13     actually help do that.

 14     Q.   Dr. Wright, it says:         "The idea conceived by David and me

 15     was to develop a system that integrated supervisory control and

 16     data acquisition, SCADA software, and a Bitcoin exchange"?

 17     A.   Yes.    Coin-Exch.

 18     Q.   "Conceived by David and me."

 19     A.   Again, that's why 50-percent ownership approximately each

 20     party as founding shareholders; Coin-Exch., both of us were

 21     50-50 on the founding shares.

 22                 MR. FREEDMAN:     Thank you, Ms. Vela.                    You can take that

 23     down.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, you and Dave also developed intellectual

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 35 of 177
                                                                                          35


  1     property like software, did you not?

  2     A.   No.   David occasionally helped do some documentation.                       Dave

  3     didn't develop software.          He could edit documentation.              There's

  4     a difference.    I know that word confuses people, but editing is

  5     for text.    Developing is for code.

  6                MR. FREEDMAN:      Ms. Vela, can you please put up P160,

  7     which is already in evidence, and let's go to Page 19.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, this is an email exchange between you and Ira

 10     Kleiman.     Do you see that?

 11     A.   I do.

 12     Q.   On the very bottom is an email from you on April 22nd,

 13     2014.   You say:    "The reason for the transfer is to use the R&D

 14     credit, tax credit, on the value of the software" --

 15                MR. FREEDMAN:      Ms. Vela, can you highlight:                "Dave and

 16     I developed."

 17                THE WITNESS:     Is that a question?

 18     BY MR. FREEDMAN

 19     Q.   Do you see that?

 20     A.   Yes, I see that.

 21     Q.   "Dave and I developed"?

 22     A.   That's what the document says.

 23     Q.   Doesn't say that Dave edited, does it?

 24     A.   No.   I didn't go into any detail.                     I was quite annoyed

 25     already by this stage with Ira.                 He was --

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 36 of 177
                                                                                            36


  1     Q.   Isn't it true, Dr. Wright, that Dave enhanced versions of

  2     software that relate to Bitcoin?

  3     A.   No.   There's only a single coder, as other people such as

  4     Gavin have said.     The development of code in C++ is extremely

  5     complex.    It's not something that someone picks up as a home

  6     coder.     I did years of coding.             My code isn't professional.

  7     It's academic.     I taught at a master's level.

  8          Dave has never once in his life learned a single line of C

  9     code.    He was not even good at Perl.

 10                MR. FREEDMAN:      Ms. Vela, can you please bring up P143.

 11                Is this in evidence?

 12                MS. MCGOVERN:      No, it's not.

 13                MR. FREEDMAN:      Okay.         Can you zoom in, please, on the

 14     email, please, Ms. Vela.

 15     BY MR. FREEDMAN:

 16     Q.   Dr. Wright, do you recognize this as an email chain that

 17     includes an email from Andrew Miller of the Australian Taxation

 18     Office to John Chesher, the CFO of your company?

 19     A.   I recognize this document, yes.

 20     Q.   And he's attaching a transcript from a meeting with the

 21     ATO?

 22     A.   No.   He's attaching a document that they wanted to purport

 23     was a transcript that ended up being rejected, that they kept

 24     trying to use, before -- the commissioner at the time was

 25     actually charged with corruption and fraud.                           This guy's boss

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 37 of 177
                                                                                37


  1     was actually fired, and three other people in the tax office

  2     were actually fired.      None of this actually eventuated.           So no,

  3     it's not a transcript.

  4               MR. FREEDMAN:       Ms. Vela, let's take this down for a

  5     minute and let's address this.

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, we've talked a little bit about how the

  8     Australian government conducted an audit of some of your

  9     companies, did we not?

 10     A.   We did.

 11     Q.   As part of that audit, the Australian Tax Office evaluated

 12     whether these companies were entitled to certain tax rebates

 13     and credits?

 14     A.   No, they had a witch hunt.

 15               MR. FREEDMAN:       Ms. Vela, can you please put up P795.

 16               Can we go, please, to the first page of the

 17     attachment.

 18               Next page, Ms. Vela.

 19               Okay.    Thank you, Ms. Vela.

 20     BY MR. FREEDMAN

 21     Q.   Dr. Wright, do you recognize this as a Reasons for Decision

 22     issued by the Australian Taxation Office with the little logo

 23     up at the top?

 24     A.   No, I don't.

 25     Q.   Little logo up at the top.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 38 of 177
                                                                                              38


  1     A.    Sorry.   I don't recognize this document.                         It's March 2016.

  2     I was not involved with the companies.

  3                MR. FREEDMAN:      Ms. Vela, can you go to page 5.

  4     BY MR. FREEDMAN

  5     Q.    Dr. Wright, do you see in Paragraph number 1 the Australian

  6     Taxation Office talking about why they undertook their audits?

  7     A.    I can see a document here.              I've never seen this document

  8     before this.     So I don't recognize it.

  9                MR. FREEDMAN:      Ms. Vela, can you go back one more time

 10     to the first page.

 11     BY MR. FREEDMAN:

 12     Q.    Do you see that the paper covers the time period you were

 13     in those companies, Dr. Wright, July 2012 to June 2013?

 14     A.    I can see that it has a reason for decision in that period,

 15     and it's dated March when I wasn't there.                             I don't recognize

 16     it.

 17                MR. FREEDMAN:      Your Honor, Plaintiffs offer P795 into

 18     evidence.

 19                MS. MCGOVERN:      Objection.               Foundation.

 20     Authentication.     Hearsay.

 21                THE COURT:   The objection on each ground is overruled.

 22     It will be admitted into evidence.

 23           (Plaintiffs' Exhibit 795 received into evidence.)

 24                MR. FREEDMAN:      Ms. Vela, can we publish that to the

 25     jury.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 39 of 177
                                                                                           39


  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, we are looking at a Reasons for Decision issued

  3     by the Australian government, the Australian Taxation Office.

  4     Do you see that stamp in the top corner?

  5     A.   I can see the document.

  6                MR. FREEDMAN:      Ms. Vela, can you please bring us to

  7     Page 5, and can you call out the first paragraph there.

  8     BY MR. FREEDMAN:

  9     Q.   "An audit was undertaken to determine the taxable income of

 10     CO1N and its eligibility for a refundable tax offset in the

 11     year ended 30th of, June 2013."

 12          Do you see that?

 13     A.   I see the line.

 14                MR. FREEDMAN:      Thank you, Ms. Vela.                    You can put that

 15     down.

 16     BY MR. FREEDMAN:

 17     Q.   Dr. Wright, we've also heard you yesterday claim that

 18     evidence was fabricated by the Australian government, did we

 19     not?

 20     A.   No.   I said specifically that the government came back and

 21     said that there was a breach in the security and that that was

 22     pointed out in our forensic report.                     The government -- that was

 23     done inside the government site.                  The government basically said

 24     they were hacked.

 25     Q.   Dr. Wright, did you say that Des McMaster had fabricated

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 40 of 177
                                                                                            40


  1     documents?

  2     A.   I believe he was involved in that, yes.

  3     Q.   Dr. Wright, isn't it true that the Australian government

  4     actually found that you had fabricated documents?

  5     A.   No.   Actually, they sent something through.                       We had a

  6     forensic report done.       The forensic report demonstrated that

  7     the documents were fabricated within the tax office.                         The

  8     forensic report -- the ATO then dropped the case against me

  9     when it was demonstrated that internal to the government

 10     department the document changes were made.

 11          So no.   Actually, the determination was that something

 12     happened which the government then said:                          "Oh, we were hacked,"

 13     and then dropped everything against me.

 14     Q.   Let's look at the documents, Dr. Wright.

 15                MR. FREEDMAN:      Ms. Vela, can you please bring up P604.

 16     BY MR. FREEDMAN:

 17     Q.   Dr. Wright, do you see this as an Australian government

 18     document from the Australian Taxation Office?                         It is their

 19     audit position paper in regards to the company CO1N.

 20     A.   I can see the document.            I don't recognize it.              I wasn't a

 21     company officer at that time.

 22     Q.   CO1N was one of your companies, Dr. Wright?

 23     A.   CO1N was a company owned by DeMorgan Limited, a public

 24     company of which I was a major shareholder.

 25                MR. FREEDMAN:      Your Honor, Plaintiffs offer P604 into

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 41 of 177
                                                                                       41


  1     evidence.

  2               MS. MCGOVERN:       Hearsay, Your Honor.

  3               THE COURT:    The objection is overruled.                   It will be

  4     admitted into evidence.

  5          (Plaintiffs' Exhibit 604 received into evidence.)

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, let's give the jury a moment to catch up.

  8          We're looking at an Australian government, Australian

  9     Taxation Office, document that is titled "Audit Position

 10     Paper."   It's addressed to the public officer of CO1N PTY, LTD,

 11     one of your companies.

 12               MR. FREEDMAN:       Ms. Vela, can you please bring us to

 13     Page 7.   Can you highlight Paragraph 3 for me, Ms. Vela.

 14     BY MR. FREEDMAN:

 15     Q.   Set out below, the Australian Taxation Office writes:                    "It

 16     is our position, in relation to the tax issues which have been

 17     identified in the course of the audit, as set out below, this

 18     is a statement of fact summary of your contention and

 19     explanation for the reasons for our position."

 20          Do you see that, Dr. Wright?

 21     A.   I see that.

 22               MR. FREEDMAN:       Ms. Vela, can you please highlight

 23     Paragraph 1, where the Australian government explains what a

 24     position paper is.

 25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 42 of 177
                                                                                          42


  1     BY MR. FREEDMAN:

  2     Q.   "Position paper is a document that sets out the ATO's

  3     analysis of the facts as we understand them."

  4          Do you see that, Dr. Wright?

  5     A.   I see that.

  6                MR. FREEDMAN:      Ms. Vela, can you please bring us to

  7     Page 36 of the position paper.                Can you highlight the topic of

  8     the Australian government's position where it says:

  9     "Electronic evidence submitted by the taxpayer."

 10     BY MR. FREEDMAN:

 11     Q.   Do you see that, Dr. Wright?

 12     A.   I see that line.

 13     Q.   Paragraph 151.

 14                MR. FREEDMAN:      Can you zoom in to just the text there,

 15     Ms. Vela, of all the texts on the page.                         That's easier for us

 16     to read.

 17                All the way down.

 18                There we go.     Thank you.

 19     BY MR. FREEDMAN:

 20     Q.   "The taxpayer and related entities, also controlled by

 21     Dr. Wright, had provided a series of emails they allege

 22     represent email correspondence between ATO officers and the

 23     taxpayer's directors/representatives."

 24          Do you see that?

 25     A.   I see that.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 43 of 177
                                                                                  43


  1                 MR. FREEDMAN:     Ms. Vela, now I'm at 152.

  2     BY MR. FREEDMAN:

  3     Q.   "Two other emails pertaining to the affairs of entities

  4     related to the taxpayer also contain purported correspondence

  5     with ATO officers."

  6          Do you see that?

  7     A.   I do.

  8     Q.   153:    "ATO records show that these emails were either never

  9     sent or that the contention of the emails has been altered from

 10     what was originally sent or received to support the contentions

 11     of the taxpayer and related entities."

 12          Do you see that?

 13     A.   I see the line.

 14     Q.   The Australian government found that you edited documents

 15     to support your own positions.                Is that not correct?

 16     A.   That is not correct.         As I stated, once we received this,

 17     we engaged forensic experts who produced two reports.                 Those

 18     reports demonstrated that the changes in these emails occurred

 19     within the tax office.

 20          The tax office then came back noting that there was a

 21     security breach on their servers and they said basically:                "Oh,

 22     it's not our fault.     We were hacked."

 23          The documents from the forensic investigation are in

 24     October till December of this year, and continued into 2016.

 25     So during the period you're putting here -- a position paper is

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 44 of 177
                                                                                       44


  1     equivalent to a statement of claim.                     It is where the government

  2     wants to bring action.        The government didn't bring action

  3     because it was demonstrated that their claims were false before

  4     they took the action to court and they withdrew and dropped all

  5     action.

  6          So no.   By definition, this is the equivalent of your

  7     statement of claim, and the end result was the equivalent of

  8     the ATO lost.

  9                MR. FREEDMAN:      Ms. Vela, let's take a look at P795.

 10                Can we go to the first page, please, of the actual

 11     attachment.    Page 2.

 12     BY MR. FREEDMAN:

 13     Q.   Dr. Wright, do you recognize this as the actual reasons for

 14     the decision the ATO made?

 15     A.   No.   I haven't seen this before.

 16     Q.   And this is, Dr. Wright, related to CO1N PTY, LTD for the

 17     period of 1st July 2012 through 30th of June, 2013, right?

 18     A.   I can see the document.            It's the first time I've seen it.

 19                MR. FREEDMAN:      Ms. Vela, can you please bring us to

 20     Page 44 for a moment.

 21     BY MR. FREEDMAN:

 22     Q.   In 222, do you see the Australian Taxation Office talking

 23     about various electronically --

 24                MR. FREEDMAN:      No.       No.       Ms. Vela, 222.      That's 222.2.

 25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 45 of 177
                                                                                            45


  1     BY MR. FREEDMAN:

  2     Q.   Do you see the government talking about electronic

  3     evidence?

  4     A.   I do.

  5               MR. FREEDMAN:       Your Honor, Plaintiffs offer P795 into

  6     evidence.

  7               MS. MCGOVERN:       Your Honor, hearsay.                    Foundation.

  8     Authentication.

  9               THE COURT:    I'm showing that 795 is already in

 10     evidence.

 11               MR. FREEDMAN:       Okay.

 12               MS. MCGOVERN:       Okay.         Withdrawing the objection, Your

 13     Honor.

 14               MR. FREEDMAN:       Can we publish to the jury, please.

 15     BY MR. FREEDMAN:

 16     Q.   Dr. Wright, the Australian government's reasons for

 17     decision, why they made their decision.                         Do you see this?

 18     A.   I see the document.

 19               MR. FREEDMAN:       Ms. Vela, can you bring us to Page 5.

 20               Can you highlight 2.1.

 21     BY MR. FREEDMAN:

 22     Q.   "This is a statement of the facts which we have relied upon

 23     in reaching our decision."            Do you see that, Dr. Wright?

 24     A.   I see the equivalent of what you state are facts, yes.

 25               MR. FREEDMAN:       Ms. Vela, can you bring us to Page 44.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 46 of 177
                                                                                            46


  1     Can you highlight -- can you zoom in from 222, or call it out

  2     for us.

  3     BY MR. FREEDMAN:

  4     Q.   At the outset, the government says:                        "We note that the

  5     taxpayer's contentions rely almost exclusively on electronic

  6     evidence that cannot be verified by independent third parties

  7     and in some instances has been proven to be fabricated."

  8          Did you see that, Dr. Wright?

  9     A.   I see they're using the same type of language you do, which

 10     is before it's gone into a court say that it's proved.

 11                MR. FREEDMAN:      Ms. Vela, can you bring us to Page 47

 12     of the Reasons for Decision from the Australian government.

 13     Can you go to 227, please, and can you call that out for us.

 14     BY MR. FREEDMAN:

 15     Q.   "Because of the circumstances listed above and our

 16     conclusion that access to a supercomputer of the nature

 17     described by the taxpayer was never acquired by it, we infer

 18     that no payment was made to W&K by or on behalf of the taxpayer

 19     and that the documentation was created by the taxpayer in order

 20     to fraudulently deceive the ATO and support the false and

 21     misleading statements made by it in its 2012 to 2013 income

 22     return."

 23          Do you see that, Dr. Wright?

 24     A.   I see the claim.     Yes.

 25                MR. FREEDMAN:      Ms. Vela, thank you.                    You can take that

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 47 of 177
                                                                                            47


  1     down.

  2                 Can we please put up P565.

  3     BY MR. FREEDMAN:

  4     Q.   Dr. Wright, do you see the title of this document from the

  5     Australian government?        It's called "Penalty and Interest

  6     Position Paper."

  7     A.   I see the document.        It's the first time I've seen it.

  8     Q.   Also related to CO1N?

  9     A.   I assume so.

 10     Q.   And date of the paper, Dr. Wright?

 11     A.   It's March 2016.

 12     Q.   March 2016.

 13                 MR. FREEDMAN:     Ms. Vela, can you please take us to

 14     Page 9.

 15     BY MR. FREEDMAN:

 16     Q.   Do you see the first -- the penalty statement, first bold

 17     statement underneath 18, Dr. Wright?

 18     A.   Yes.   I see the typical thing that the ATO keeps doing,

 19     yes.

 20                 MR. FREEDMAN:     Your Honor, Plaintiffs offer P565 into

 21     evidence.

 22                 MS. MCGOVERN:     Your Honor, hearsay.                    Foundation.

 23     Authentication.

 24                 THE COURT:   The objection is overruled.                     It will be

 25     admitted into evidence.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 48 of 177
                                                                                              48


  1          (Plaintiffs' Exhibit 565 received into evidence.)

  2               MR. FREEDMAN:       Can we please publish to the jury.

  3     BY MR. FREEDMAN:

  4     Q.   Dr. Wright, let's go through to -- the jury wasn't able to

  5     see the document before.

  6          So Australian government, Australian Tax Office little logo

  7     on the top, right?

  8     A.   I haven't seen the document before.                        Could be.   Don't know.

  9     Q.   It's called a "Penalty and Interest Position Paper."

 10          Do you see that?

 11     A.   I can see the document.

 12               MR. FREEDMAN:       And, Ms. Vela, can you highlight the

 13     date for us in March of 2016.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, that postdates the date you said they retracted

 16     their decisions, doesn't it?

 17               MS. MCGOVERN:       I'm sorry.               I didn't hear the question.

 18     BY MR. FREEDMAN:

 19     Q.   That postdates the day you said that they retracted their

 20     decisions, doesn't it?

 21     A.   No, it does not.     I said we had forensic people involved

 22     between the end of 2015 to beginning of 2016.

 23          What you're neglecting is that this went to court during

 24     the insolvency thing the ATO brought up.                          The first auditor

 25     found no evidence of fraud.             The ATO fired and had the Court

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 49 of 177
                                                                                               49


  1     replace the auditor.      The second audit firm found no evidence

  2     of fraud.     The ATO tried to fire the second and have a third

  3     auditor appointed.      The Court said:                 "You had two bites at the

  4     cherry," and closed the case.               That was in 2017.               Sorry.

  5     Q.    Dr. Wright, the government says that:                           "This paper explains

  6     the ATO's penalty and interest position for CO1N PTY, LTD for

  7     the period of 1st July 2012 to the 30th of June 2013."

  8           Do you see that?

  9     A.    I see the document.

 10                 MR. FREEDMAN:     Ms. Vela, can you bring us to Page 9.

 11     Sorry.     Ms. Vela, let's start on Page 6.                       And can you highlight

 12     Issue 1.     Sorry.   Make it -- call it out for us so we can see

 13     it.

 14     BY MR. FREEDMAN:

 15     Q.    "Issue 1, Penalties.        Is the taxpayer liable to the

 16     administrative penalties under Division 284 of Schedule I?

 17     Position:     Yes."

 18           7.   "We consider the taxpayer made false or misleading

 19     statements.     We consider the statements arose from the

 20     taxpayer's intentional disregard of taxation law.                            We also

 21     consider that the taxpayer did not have a reasonably arguable

 22     position."

 23           Do you see that?

 24     A.    I see the exact thing they said to me when they took this

 25     action in 2009 and 2010 and said that Bitcoin isn't -- it's a

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 50 of 177
                                                                                           50


  1     hobby and an enterprise.          And I saw the exact claim that they

  2     brought to court in 2012 and that I won on, when the Court

  3     overruled them and actually made them apologize in writing.

  4          I see the same thing that they brought into evidence in the

  5     court in Australia in 2016 and '17 when they argued that this

  6     was true, and I saw the same result from both auditors who said

  7     no evidence of fraud.       Yes, I see the document.

  8                MR. FREEDMAN:      Ms. Vela, can we go to Page 9 of the

  9     PDF.   Can you highlight -- yes -- that whole paragraph there.

 10     BY MR. FREEDMAN:

 11     Q.   Dr. Wright:    "Penalty for false or misleading statements.

 12     You are liable to a penalty if you make a false or misleading

 13     statement.    The taxpayer made a false or misleading statement

 14     in its 2013 income tax return that led to it claiming a

 15     refundable R&D tax offset of $2,222,252.10 to which it is not

 16     entitled."

 17          Do you see that, Dr. Wright?

 18     A.   I see that.

 19     Q.   Australian government found you made false and misleading

 20     statements, not that they made false and misleading statements;

 21     isn't that correct?

 22     A.   No.   This is an equivalent of a charge sheet.                      This is

 23     where the tax office claimed that I did that.                         As I stated --

 24     sorry -- the companies were closed down with both auditors

 25     finding no fraud.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 51 of 177
                                                                                    51


  1               MR. FREEDMAN:       Ms. Vela, can we go to Page 13, please,

  2     and can we -- yes.     39, please.              Can we call that out.

  3     BY MR. FREEDMAN:

  4     Q.   Dr. Wright, in their penalty paper, the ATO says:                  "Taken

  5     together, these facts indicate that the taxpayer's claim was

  6     based on a purported transaction that did not occur and

  7     services that were not provided.                  We infer that a significant

  8     number of the documents have been deliberately and dishonestly

  9     created and submitted to the ATO in an attempt to substantiate

 10     the taxpayer's claim.       As the signatory to the purported IaaS

 11     agreement, owner of the purported Liberty Reserve account and

 12     user of the purported supercomputer, Dr. Wright must have known

 13     that the transactions did not occur and that the taxpayer had

 14     no entitlement to the R&D offset."

 15          Do you see that, Dr. Wright?

 16     A.   I see the claim.

 17     Q.   "On the basis of the above facts, we consider that the

 18     behavior that resulted in the tax shortfall demonstrates an

 19     intentional disregard for the Australian taxation laws."

 20          Do you see that, Dr. Wright?

 21     A.   I see what they claimed, yes.

 22               MR. FREEDMAN:       Ms. Vela, you can take that down.

 23     Thank you.

 24     BY MR. FREEDMAN:

 25     Q.   Dr. Wright, Andrew Sommer represented your companies and

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 52 of 177
                                                                                   52


  1     yourself in front of the taxation office?

  2     A.   He did.

  3                MR. FREEDMAN:      Ms. Vela, can you please put P340 on

  4     the screen.    It's already in evidence.

  5     BY MR. FREEDMAN:

  6     Q.   Can you please go to the letter that Andrew Sommer sent on

  7     the next page, the attachment here.

  8                MR. FREEDMAN:      Can you zoom in on that for me.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, your own lawyers fired you for fabricating

 11     documents, didn't they?

 12     A.   No.   That's not correct.            Fifty percent of the work from

 13     Andrew's law firm is from the Australian Tax Office.                  They're

 14     actually the largest provider of tax services in Australia.

 15     They were put under pressure.               The documents come from within

 16     the tax office --

 17                MR. FREEDMAN:      Can we publish, please.

 18                MS. MCGOVERN:      If you could, please, let the witness

 19     answer the question and not interrupt it.

 20                THE COURT:   Yes.        Just let the witness complete his

 21     answer.

 22                You may continue, sir.

 23                THE WITNESS:     The documents that came from within the

 24     tax office, that were later shown to be fabricated, and that

 25     I'm sure will be demonstrated to the jury to be, as I say,

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 53 of 177
                                                                                       53


  1     later, were issued to Andrew under the tax office who said this

  2     is all false.    Andrew then got that.                    Later, however, Andrew

  3     did apologize for us when he found out what had occurred.                     But,

  4     I mean, that didn't help us after.                     That sort of left us in the

  5     lurch for a while.

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, your own lawyers fired you for fabricated

  8     documents, did they not?

  9                 MS. MCGOVERN:     Objection.               Asked and answered.

 10                 THE COURT:   Sustained.

 11     BY MR. FREEDMAN:

 12     Q.   "Ms. Ramona Watts, director, DeMorgan Limited.                    Dear

 13     Ms. Watts, DeMorgan Limited, termination of engagement."

 14                 MR. FREEDMAN:     Ms. Vela, can you zoom out for a

 15     minute, so we can see the letterhead.

 16     BY MR. FREEDMAN:

 17     Q.   Clayton Utz's letterhead.              That was the law firm Andrew

 18     Sommer worked for, right?

 19     A.   He was a partner.      So technically I don't know if you would

 20     say he worked for it.       He was an equity partner.

 21     Q.   Part owner of the law firm, right?

 22     A.   Yes.   Equity partner means he's part owner of that law

 23     firm.

 24     Q.   "It is with regret that we inform you in your capacity as

 25     director of DeMorgan Limited that Clayton Utz has decided we

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 54 of 177
                                                                                        54


  1     must terminate our engagement with DeMorgan Limited."

  2                MS. MCGOVERN:      Objection.               Document speaks for itself.

  3                THE COURT:   I'm sorry.              The objection?

  4                MS. MCGOVERN:      The document speaks for itself.

  5                THE COURT:   It's in evidence.                     Overruled.

  6     BY MR. FREEDMAN:

  7     Q.   "Information has been provided to our firm which raises

  8     serious questions about the integrity of documents provided by

  9     Dr. Wright both to our office and to the Australian Taxation

 10     Office.    We believe this information to be credible.                     In these

 11     circumstances, we can no longer represent DeMorgan Limited in

 12     the disputes and its subsidiaries has with the Australian

 13     Taxation Office.     As such, we are terminating our engagement

 14     with DeMorgan Limited effective immediately."

 15          Do you see that, Dr. Wright?

 16     A.   I see it.

 17     Q.   Your lawyers fire you on July 6th, 2015, correct?

 18     A.   No, they did not fire me.

 19     Q.   Let's see how this saga ends, Dr. Wright.

 20          What happens a few months later, the Australian government

 21     issues a search warrant to search your premises; isn't that

 22     correct?

 23     A.   Not technically the way you're saying it, no.

 24                MR. FREEDMAN:      Ms. Vela, can you please bring up P606

 25     on the screen.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 55 of 177
                                                                              55


  1     BY MR. FREEDMAN

  2     Q.   Dr. Wright, do you recognize this document as a search

  3     warrant with your business address listed on it by the

  4     Australian government?

  5     A.   No.    That's the first time I've seen it.

  6     Q.   Do you see the address, Dr. Wright, Level 5 32 Delhi Road?

  7     A.   I do.

  8                 MR. FREEDMAN:     Ms. Vela, can you take that down for a

  9     moment.

 10                 Can you put up P469.

 11     BY MR. FREEDMAN:

 12     Q.   Dr. Wright, do you recognize this as an IP assignment deed?

 13     A.   That's what it says.

 14                 MR. FREEDMAN:     Ms. Vela, can you bring up Page 18.

 15     BY MR. FREEDMAN:

 16     Q.   Is that your signature, Dr. Wright, Craig Steven Wright,

 17     name of director?

 18     A.   Yes.

 19                 MR. FREEDMAN:     Your Honor, Plaintiffs offer P469 into

 20     evidence.

 21                 MS. MCGOVERN:     No objection.

 22                 THE COURT:   Admitted into evidence.

 23          (Plaintiffs' Exhibit 469 received into evidence.)

 24                 MR. FREEDMAN:     Ms. Vela, can you bring us to Page 3.

 25     Can we publish to the jury.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 56 of 177
                                                                                         56


  1                 Can you zoom in on all the addresses of all the

  2     various companies Dr. Wright controls from DeMorgan Limited.

  3                 MS. MCGOVERN:     Objection, Your Honor.                  Misstates the

  4     record with a reference to the control issue, Your Honor.

  5                 THE COURT:   All right.             Rephrase.

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, did you control DeMorgan Limited, DeMorgan

  8     Holdings, Misfit Games, and so on?

  9     A.   At this date, no.

 10     Q.   At some point you did?

 11     A.   Up until the 30th of June in 2015.                       At that point, I

 12     resigned.

 13     Q.   Dr. Wright, do you see the list of the companies you

 14     controlled until the 30th of June, 2015?

 15     A.   I see the list of some of the companies there, plus extra

 16     ones.

 17     Q.   And do you see that everyone lists 502 Level 5, 32 Delhi

 18     Road, North Ryde, New South Wales 11 -- 2113 as its address?

 19     A.   I do.

 20                 MR. FREEDMAN:     Ms. Vela, can you please bring us back

 21     to 606, P606.

 22     BY MR. FREEDMAN:

 23     Q.   Dr. Wright, do you see the same address listed on the

 24     search warrant?

 25     A.   Yes.    This is the first time I've seen that document, but

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 57 of 177
                                                                                                 57


  1     yes.

  2                MR. FREEDMAN:      Your Honor, Plaintiffs offer P606 into

  3     evidence.

  4                MS. MCGOVERN:      Your Honor, hearsay.                      403.   Relevance.

  5                THE COURT:    The objection is sustained.

  6                MR. FREEDMAN:      Ms. Vela, you can take it down.                       Thank

  7     you.

  8     BY MR. FREEDMAN:

  9     Q.   Dr. Wright, when did the Australian government execute a

 10     search warrant on your premises?

 11     A.   I don't know.    I moved to the UK in October of 2015.                          I

 12     believe the date was the 22nd of October.                             I was flying back

 13     and forth to Australia up until December of 2015.                              After which

 14     time I haven't been back.           My wife has and my kids have.                    So,

 15     no, I was not actually there.

 16     Q.   You were not there when they executed the search warrant?

 17                MS. MCGOVERN:      I'm sorry.               I didn't hear the question.

 18                THE WITNESS:     No, I was not there.

 19     BY MR. FREEDMAN:

 20     Q.   You were not there when they executed the search warrant?

 21     A.   No.   I was not there.         I was sort of going back and forth

 22     between different countries, et cetera.                         So no, this was not

 23     ever served on me.      No, I wasn't the person controlling those

 24     companies.    No.

 25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 58 of 177
                                                                                           58


  1     Q.   And you haven't been there since?

  2                MS. MCGOVERN:      Objection, Your Honor.                  403.

  3     Relevance.

  4                THE COURT:   Hold on.            The objection is sustained.

  5                MR. FREEDMAN:      Your Honor, can I ask for a quick

  6     sidebar?    We believe this is relevant.

  7                THE COURT:   Come on forward.

  8          (At sidebar on the record.)

  9                MR. FREEDMAN:      Your Honor, we would never have done

 10     this module if Dr. Wright hadn't claimed over and over and over

 11     again that the Australian government eventually found that he

 12     was correct, he didn't fabricate anything, and retracted

 13     everything.    But the evidence shows just the opposite, that

 14     they in fact came to the conclusion that he fabricated

 15     documents, that he broke the law.                   They executed a search

 16     warrant.    He fled Australia.            He's never returned.

 17                MS. MCGOVERN:      Your Honor, the prejudice outweighs any

 18     probative value that could possibly come from this.                          The

 19     circumstances regarding the search warrant are not before the

 20     jury.   The factual predicate is not before the jury.                        This is

 21     an audit with respect to all of the companies that you have

 22     just seen, and it's going to be completely conflated in front

 23     of the jury as some sort of illegal or untoward or nefarious

 24     conduct with respect to the partnership issue in this case.

 25     The ATO is not before the jury in this case.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 59 of 177
                                                                                           59


  1               THE COURT:    Well, that's separate and apart with

  2     regard to the ATO.     But in terms of Dr. Wright absconding, I'm

  3     not going to permit it.         It's unduly prejudicial, and the

  4     objection is sustained.

  5          (End of discussion at sidebar.)

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, isn't it true that the Australian government

  8     never reversed their decision; they found you forged documents?

  9     Isn't that correct?

 10               MS. MCGOVERN:       Objection, Your Honor.                   Asked and

 11     answered.

 12               THE COURT:    I'm sorry.              The basis?

 13               MS. MCGOVERN:       Asked and answered.

 14               THE COURT:    I'll allow it.                  Overruled.

 15               THE WITNESS:      That's incorrect.                     As I said, the

 16     Australian government isn't just the tax office, and when

 17     something goes into court and when an auditor presents a

 18     finding to the Court going:             "No fraud," and the second

 19     auditor, after the first one was fired by the tax office, says:

 20     "No fraud," and then the Judge cleanly closes something, then

 21     that's actually not a finding at all.

 22               The prosecution who charges someone and then has them

 23     acquitted, as in no finding, means that there's no finding.                         So

 24     your claim's completely baseless.

 25               MR. FREEDMAN:       Ms. Vela, can you please put up P795,

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 60 of 177
                                                                                         60


  1     and can you go to Page 44 for me.

  2                This is in evidence.

  3                Can we please publish to the jury.

  4                Ms. Vela, can we please go to the first page of the

  5     report so we can see it's a Reasons for Decision.

  6     BY MR. FREEDMAN:

  7     Q.    Dr. Wright, I'm back to the Reasons for Decision paper from

  8     the Australian government dated March of 2016.

  9                MR. FREEDMAN:      Ms. Vela, can you bring us back to Page

 10     44.

 11                Can you zoom in on Paragraph 222.1.

 12     BY MR. FREEDMAN:

 13     Q.    Dr. Wright, you did give the ATO purported expert reports

 14     and they rejected them, didn't they?

 15     A.    No, actually.   That is not totally correct.                    They didn't

 16     want to accept them.      The simple fact of the matter is when you

 17     give evidence, my lawyers give you evidence and you can argue

 18     you rejected that, but that doesn't make it truth.                      Sorry.

 19     Q.    "ATO forensic records show that emails from Celeste Salem,

 20     Brigid Kinloch, and Hao Khuu were not sent from the ATO.                      The

 21     Sharples and Batey email reports commissioned by Dr. Wright do

 22     not disprove this.     Neither attaches the emails they were

 23     provided with.     As such, we cannot identify which emails were

 24     even analyzed.

 25           "Despite this large omission, the forensic reports found

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 61 of 177
                                                                                               61


  1     anomalies in all four emails analyzed.                        We note, in particular,

  2     only Sharples attempted to revalidate the emails as genuine

  3     using DKIM.    And in each instance he was unable to do so.                         This

  4     shows the emails either did not originate from the ATO or they

  5     did not originate" -- or:           "They did originate from the ATO,

  6     however, had the content altered, such that the DKIM signature

  7     was no longer valid."

  8          Do you see that, Dr. Wright?

  9     A.   I see that claim.

 10               MR. FREEDMAN:       Thank you, Ms. Vela.

 11     BY MR. FREEDMAN:

 12     Q.   Dr. Wright, before we just went through all these documents

 13     from the Australian Taxation Office about forged documents, we

 14     were talking about IP that the Plaintiffs allege you co-created

 15     with Dave Kleiman, correct?

 16     A.   You need to bring that up again for me.                          I mean, you've

 17     made many allegations so I'm not quite sure which one you're

 18     referencing.

 19               MR. FREEDMAN:       Ms. Vela, let's help refresh

 20     Dr. Wright.    Can you please bring up P744.                          Can you put it side

 21     by side with the next page.

 22     BY MR. FREEDMAN:

 23     Q.   We looked at an email from yourself to Ira Kleiman saying:

 24     "Dave" --

 25               MR. FREEDMAN:       Can we publish to the jury?                     This is in

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 62 of 177
                                                                                                 62


  1     evidence.

  2     BY MR. FREEDMAN:

  3     Q.   We looked at an email from yourself saying what Dave was

  4     involved with creating Sukuriputo Okane, money that can be

  5     contracted in advance, smart property.

  6          Do you recall that?

  7     A.   Yes.   I'm believing this is what you're just saying that

  8     the tax office said didn't exist.                   Is that your contention,

  9     that it doesn't exist?        I'm sorry.               I'm missing the point of

 10     the two things.

 11     Q.   Dr. Wright, we're going to go to the next exhibit.

 12                 MR. FREEDMAN:     P459, please, Ms. Vela.                     In the native.

 13     BY MR. FREEDMAN:

 14     Q.   We then looked, Dr. Wright, at your statement to Mark

 15     Ferrier in March of 2013 before Dave died.                            You say:   "What

 16     Dave and I want to do is the following:                         Sukuriputo Okane seeks

 17     to create completely an openable, malleable form of scriptable

 18     money."

 19          Do you see that?

 20                 MS. MCGOVERN:     Objection.               Misstates the document.

 21                 MR. FREEDMAN:     I'll read it again.

 22     BY MR. FREEDMAN:

 23     Q.   "What Dave and I want to do is the following:                          Sukuriputo

 24     Okane seeks to create a completely open and malleable form of

 25     scriptable money.     This is money that can be contracted in

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 63 of 177
                                                                                               63


  1     advance."

  2          Do you recall we went through that?

  3     A.   I recall we went through this.

  4                MR. FREEDMAN:      Ms. Vela, can you please bring up P464,

  5     Page 5.

  6     BY MR. FREEDMAN:

  7     Q.   We went to the statement to the New South Wales police and

  8     we talked about the fact that in Paragraph 13 --

  9                MR. FREEDMAN:      Ms. Vela, can you bring that up for --

 10     BY MR. FREEDMAN:

 11     Q.   You told the police that you:                  "Discussed the concept of a

 12     Bitcoin exchange by which smart contracts would be connected

 13     and that that was an idea I had developed with my business

 14     partner, David Kleiman, for a period of over a decade."

 15          Do you recall that?

 16                MS. MCGOVERN:      Objection.               Asked and answered.

 17                THE COURT:   Overruled.              I'll allow it.

 18                THE WITNESS:     As I said before, I started developing

 19     this idea in 1998, a company called DeMorgan, with AusIndustry

 20     tax filings.    In 2004, I hardly knew Dave.                          It wasn't till

 21     maybe 2006 or '7 that I really started becoming friends with

 22     Dave other than occasional online things.

 23                So what I'm talking about here in a simple thing is I

 24     had an idea that I developed.               Yes, this is with my business

 25     partner.    The idea is the one I developed right back till 1998.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 64 of 177
                                                                                              64


  1     I involved Dave in the company in 2012.                         That company was

  2     called Coin-Exch.

  3     BY MR. FREEDMAN:

  4     Q.   But you told the New South Wales police that you had

  5     developed this idea with Dave Kleiman since 2004, did you not?

  6     A.   No.    I had a -- basically, that's a short sentence

  7     describing what I just said.              I started an idea a long time

  8     ago.    I sought intellectual property.                     I started a company with

  9     Dave.   That company was called Coin-Exch.                            The idea there was

 10     to develop the ideas that I mentioned.                        That was in 2012 that

 11     we started, 2013 when it was finally formalized.

 12     Q.   Except it doesn't say that, Dr. Wright.

 13                 MS. MCGOVERN:     Objection.               Argumentative.

 14                 THE COURT:   Sustained.

 15                 MR. FREEDMAN:     Ms. Vela, can you bring us to Page 6,

 16     Paragraph 17.

 17     BY MR. FREEDMAN:

 18     Q.   The next thing we talked about, Dr. Wright, was the fact

 19     that you and Dave Kleiman conceived the idea to build a SCADA

 20     software of a Bitcoin exchange, correct?

 21     A.   Yes.   That was what Coin-Exch. was going to implement.

 22     That's correct.

 23     Q.   After you told me Dave did not develop software, we showed

 24     you P160, correct?

 25                 MS. MCGOVERN:     Objection, Your Honor.                      Misstates the

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 65 of 177
                                                                                        65


  1     record.

  2                  THE COURT:   If you'll show the item.

  3                  Sustained at this point.

  4                  MR. FREEDMAN:     Page 19, Ms. Vela.

  5     BY MR. FREEDMAN:

  6     Q.    And the second-to-last sentence on the page:                     "Reason for

  7     the transfer is to use the R&D tax credit and the value of the

  8     software Dave and I developed."

  9           Do you recall that now?

 10     A.    I recall we talked about this, yes.

 11     Q.    Then we brought up P143.

 12                  MR. FREEDMAN:     Please, Ms. Vela.

 13                  MS. MCGOVERN:     Objection.               Asked and answered.

 14                  THE COURT:   Overruled.             I'll allow it.

 15                  MR. FREEDMAN:     Can you zoom in to the final email on

 16     the Page, Ms. Vela.

 17     BY MR. FREEDMAN:

 18     Q.    You said:   "John and Andrew, I received the transcript of

 19     our interview on 28th, March 2014."

 20           Sorry.   This is not evidence.                 I'm not going to read from

 21     it.

 22           I told you that this was an email attaching a transcript

 23     from the Australian Taxation Office.                       Do you recall me saying

 24     that?

 25     A.    Yes.   The one that you're using to say that the IP does not

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 66 of 177
                                                                                           66


  1     exist, yes, I recognize that.

  2     Q.   Dr. Wright, the Australian Taxation Office found your

  3     supercomputer didn't exist, correct?

  4     A.   No.   Actually, what they found was they connected to over

  5     one thousand machines.        They had an expert come in and log in.

  6     But they argued that they had no proof that one thousand

  7     computers are a supercomputer, because to be a supercomputer

  8     you have to integrate all the cores between the machines.                          But

  9     from a tax perspective that's irrelevant because if I buy one

 10     thousand computers, then that's the deduction.                        The fact if I

 11     get it working or not is irrelevant from a tax point of view.

 12          So what they said was:           "It's not a supercomputer.              We

 13     can't prove that it's a supercomputer."                         My argument was:   "You

 14     don't need to.     You need to say that there's a thousand

 15     machines."    And they didn't go there.

 16     Q.   Dr. Wright, when I told you that there was a transcript

 17     from the ATO attached, you reraised your issues with the tax

 18     office which led us down the path we were at and now we're back

 19     to where we started, correct?

 20                MS. MCGOVERN:      Objection, Your Honor.

 21                THE COURT:   Sustained.

 22                Rephrase.

 23                MR. FREEDMAN:      I'm just going to move on.

 24                P143, please, Ms. Vela.                Can you go to the first page,

 25     Ms. Vela.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 67 of 177
                                                                                        67


  1     BY MR. FREEDMAN:

  2     Q.   Do you recognize this as an Australian Taxation Office

  3     transcript from a meeting between Andrew Miller, Des McMaster,

  4     Jennifer Trinh, yourself, and John Chesher --

  5     A.   I'm sorry.

  6     Q.   -- as well as Andrew Sommer?

  7     A.   Again, no, I do not.         As I said, none of these were

  8     correctly transcribed.

  9               MR. FREEDMAN:       Ms. Vela, can you bring us to Page 47.

 10     BY MR. FREEDMAN:

 11     Q.   Dr. Wright, do you see at line 27 W&K and Dave were

 12     mentioned?

 13     A.   I see the document.        I also noted in the first page that it

 14     said:   "Transcribed but not recorded."

 15          Interestingly, one of the things that I will note is that

 16     every one of these were recorded but all the recordings got

 17     lost, and you can't actually transcribe it after the event

 18     without the recording.        Funny that.

 19               MR. FREEDMAN:       Ms. Vela, can we go back to the first

 20     page.

 21     BY MR. FREEDMAN:

 22     Q.   But it actually says, Dr. Wright:                      "Is transcribed but not

 23     recorded by Auscript Australia PTY, LTD," meaning they

 24     transcribed it; they didn't record it, correct?

 25     A.   Not necessarily.     But the recording was also lost,

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 68 of 177
                                                                                          68


  1     strangely enough.

  2               MR. FREEDMAN:       Ms. Vela, back -- sorry.

  3     BY MR. FREEDMAN

  4     Q.   Page 47 mentions W&K and Dave Kleiman, correct, Dr. Wright?

  5     A.   You would have to put it in front of me.                         Sorry.

  6               MR. FREEDMAN:       Ms. Vela, let's go back to Page 47.

  7     BY MR. FREEDMAN:

  8     Q.   Do you see:    "W&K and Dave" at line 27?

  9     A.   I see the line.

 10               MR. FREEDMAN:       Your Honor, Plaintiffs offer P143 into

 11     evidence.

 12               MS. MCGOVERN:       Objection, Your Honor.                   Hearsay.

 13     Foundation.    Authentication.

 14               THE COURT:    The objection is overruled.                      Admitted into

 15     evidence.

 16          (Plaintiffs' Exhibit 143 received into evidence.)

 17               MR. FREEDMAN:       Can we please publish.

 18     BY MR. FREEDMAN:

 19     Q.   Dr. Wright, we're looking at an Auscript transcript that

 20     took place out of a meeting between yourself and the Australian

 21     Taxation Office on the 28th of, March 2014.

 22          Do you see this?

 23     A.   I see it and, as I said, it never happened that way.

 24     Q.   Also present is Andrew Sommer, your lawyer?

 25     A.   I see the document.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 69 of 177
                                                                                            69


  1                 MR. FREEDMAN:      Ms. Vela, can you please bring us to

  2     Page 47.

  3                 You know what, Ms. Vela?                 Can you take that down for a

  4     minute.

  5     BY MR. FREEDMAN:

  6     Q.   It's been a while since I asked this question, so I don't

  7     recall what your answer was.

  8          Did Dave create enhanced versions of software that relate

  9     to Bitcoin?

 10                 MS. MCGOVERN:      Objection.               Asked and answered.

 11                 THE COURT:   The objection is overruled.

 12                 THE WITNESS:     No.       Dave did not create software.            Dave

 13     has edited software.       There's a big difference.                   Editing is

 14     documentation.     So when people write:                     "This is how you use it,

 15     this is what you do, this is what this function does," as in

 16     just a technical writer explaining things in a web page, that

 17     is editing and documentation.

 18                 Creating, on the other hand, is the development of

 19     code, writing code, architecture.                    None of those Dave had any

 20     qualifications, any experience and, as I said, Dave's never

 21     written, to my knowledge, a line of C code in his entire life.

 22     He was very good in forensics.                 He never coded.

 23     BY MR. FREEDMAN:

 24     Q.   Did he enhance software?

 25     A.   Yes.    You could say that documentation was an enhancement.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 70 of 177
                                                                                           70


  1     He also involved himself organizing other people.                       So project

  2     managing, getting other people who were developers to do work

  3     and write you code and to provide things back, is an

  4     enhancement.

  5     Q.   Dr. Wright, you say Dave Kleiman couldn't code, correct?

  6     A.   Dave Kleiman could not code, that's correct.

  7               MR. FREEDMAN:       Ms. Vela, can you please bring up P139,

  8     which is already in evidence.               Let's go to Page 4.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, this is an email from yourself to Ira Kleiman

 11     dated March 7th, 2014.        In it you say:                  Ira, what is true?   I

 12     had math skills and some coding that, frankly, was crud.

 13     Better than some, but really.               Dave could edit his way through

 14     hell and back.

 15          Do you see that, Dr. Wright?

 16     A.   I do.   And as that states, very simply, my code is crud in

 17     the way that Gavin said.          I'm not a top-one-percent coder.                 I'm

 18     okay.   But if you look at the original Bitcoin code, it is

 19     terribly inefficient.       I used CASE statements.

 20          Now, CASE statements are basically non-parallelizble.                         So

 21     there are a lot of problems like algorithmic values in Bitcoin

 22     that I knew about.     So the way that I developed it, I started

 23     from the opcodes in order, which is incredibly inefficient.                         If

 24     I had done it again, I would actually use something like .net

 25     structures.    And the structs, I could do them so that they have

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 71 of 177
                                                                                               71


  1     a parallelizble multi-threaded thing, but I wanted to get it

  2     out.

  3          So if I had done this much better, I would actually have

  4     structured it across all of the threads at once.                           Because in

  5     modern computers you don't have a single CPU running things;

  6     you have many threads.        Each of the little CPUs inside your CPU

  7     can run programs simultaneously.                  I only wrote Bitcoin to run

  8     on one thing, one thread, and horribly, horribly inefficient, I

  9     admit that, but it was alpha code.

 10          If I had done it better, I could have actually had it

 11     across 16, 20 cores in a modern computer, which I didn't do.

 12     So where I'm saying crud, that's because I'm not good at that.

 13     I hire people who are really good at parallelization, to get

 14     multiple things.

 15          Dave could edit his way through hell and back.                          He took

 16     many of my papers in the past and told me:                            "Simplify this."

 17     One of the early things I gave him was a hand -- I'm old.                           I

 18     still handwrite a lot of things.                  So even my papers, I write

 19     them.    I know that seems weird to a lot of people, but I

 20     actually handwrite a lot of my papers first.                           And I sent some

 21     of those to Dave.     And the original Bitcoin Whitepaper was not

 22     the short, snappy thing that it is now.                         It was probably 20

 23     pages.    And there was a lot more code.                      There was a lot more

 24     math.

 25          And Dave told me:      "Get rid of it all.                       Normal people won't

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 72 of 177
                                                                                       72


  1     read this.    It won't be accepted.                 It reads like an academic

  2     document."    And he was right, and I simplified the paper.                   And

  3     it works.    So yes, he -- so I admit, he did that.

  4     Q.   You were an okay coder?

  5     A.   Compared to some of the staff members I have, who are what

  6     Gavin would call top one percent.                   I've got guys -- like Steve

  7     Shadders was one of the guys who invented the pool software

  8     stuff and extended what I did with Bitcoin in 2010.                     We hired

  9     him because of that.

 10          And he's working on what we call Terra node, which is where

 11     we're going to extend the scalability to be able to eventually

 12     do over a billion transactions a second at under a thousandth

 13     of a cent cost.

 14          I want you to think about what that means to people in the

 15     third world.    If you can get people in Africa transacting in a

 16     tenth of a US cent and doing it profitably, think how that

 17     changes the nature of global commerce.

 18          So I need help taking my original Bitcoin code, which was

 19     not as complex as people think -- and a lot of people have

 20     said:   "Oh, it's wonderful."             The idea was good.          My code in

 21     Bitcoin, quite frankly, needed a lot of improvement.

 22     Q.   You were an okay coder, correct?

 23               MS. MCGOVERN:       Objection.               Asked and answered.

 24               THE COURT:    Sustained.

 25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 73 of 177
                                                                                           73


  1     BY MR. FREEDMAN:

  2     Q.   Would it be fair to classify you as an okay coder?

  3                MS. MCGOVERN:      Objection.               Asked and answered.

  4                THE COURT:   Sustained.

  5     BY MR. FREEDMAN:

  6     Q.   Dr. Wright, Dave Kleiman was also an okay coder, wasn't he?

  7     A.   No.   Dave could not code at all.                    As I said, Dave has never

  8     written a line of C code in his entire life, to my knowledge.

  9     He's talked about that.         He wanted to learn.

 10          If I was there with him, I would have taught him.                        When I

 11     was with Charles Sturt University and also with the New South

 12     Wales Police Academy, I used to lecture and teach, and I taught

 13     right up to the master's level in both C, C++ and C#.                         I also

 14     helped develop the secure coding standards for the NSA and NIST

 15     here for C and C++ coding.            So I know how to secure code.

 16          But there's a difference between developing elegant code --

 17     and I don't consider Bitcoin was elegant code.                        It's okay.   It

 18     wasn't pretty.     It wasn't beautiful.                   There are people who work

 19     for me who do code that was beautiful.                        My documentation -- I'm

 20     sorry, I have to use my word here -- was crud.                        I put

 21     documentation that I understand.                  And as Gavin told you, other

 22     people came in there and went:                "What the hell are you doing?"

 23     If I had done it better, people would have understood my

 24     invention better.     But I didn't, unfortunately.

 25                MR. FREEDMAN:      I'm sorry.               Madam court reporter, can

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 74 of 177
                                                                                          74


  1     you read back my question and the first answer of

  2     Dr. Wright's -- the first word of Dr. Wright's response,

  3     because I don't remember what it was.

  4          (Read back.)

  5                 MR. FREEDMAN:     Ms. Vela, for just counsel and the

  6     witness, can you please put up Impeachment Exhibit RF1.

  7                 Counsel, I am looking for --

  8                 MS. MCGOVERN:     Your Honor, we object.                  This is not the

  9     proper use of these documents.

 10                 Is this what we referred to this morning?

 11                 MR. FREEDMAN:     It is not one of the ones referred to

 12     this morning.

 13                 MS. MCGOVERN:     I apologize.

 14                 MR. FREEDMAN:     I'm looking at halfway down, "Raah."

 15     Starts off "Dave" and Dr. Wright's response.

 16                 Any objection?

 17                 MS. MCGOVERN:     Which document?

 18                 MR. FREEDMAN:     I'm using it to impeach Dr. Wright.

 19                 MS. MCGOVERN:     No objection.

 20                 MR. FREEDMAN:     Please show that to the jury.

 21     BY MR. FREEDMAN

 22     Q.   Dr. Wright, yesterday I asked you about the Slack metadata

 23     and ICU channel where you said you only post as CSW.                       Am I

 24     correct?

 25     A.   Yes.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 75 of 177
                                                                                               75


  1     Q.   I am in the thread "Bitcoin general."

  2     A.   Uh-huh.

  3     Q.   Third of the way down there is somebody named Raah and he

  4     posed a question:     "Dave had very great coding skill," right?

  5          You see that?

  6     A.   I see that.

  7     Q.   And you respond:      "He was okay."                 Don't you?

  8     A.   Yes.   As I said, I wanted to build Dave up.                        It's not

  9     actually correct.     I let people believe it.                        Dave has never

 10     coded in his life.       But, unfortunately, the little bit of a

 11     legacy I tried to build for Dave his brother's tearing down.

 12                 MR. FREEDMAN:     Your Honor, now's a good time for us to

 13     take a break.

 14                 THE COURT:    All right.            Ladies and Gentlemen, let's

 15     take a 20-minute recess.

 16          (Jury not present, 11:33 a.m.)

 17                 THE COURT:    All right.            I'll see you back in 20

 18     minutes.

 19          (Recess from 11:33 a.m. to 11:53 a.m.)

 20                 THE COURT:    All right.            Welcome back.           Any issues to

 21     address at this time?

 22                 MR. FREEDMAN:     Not from Plaintiffs, Your Honor.

 23                 MS. MCGOVERN:     Not from Defendant, Your Honor.

 24                 THE COURT:   Okay.        Let's bring our jurors in.

 25          (Before the Jury, 11:53 a.m.)

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 76 of 177
                                                                                   76


  1               THE COURT:    All right.              Welcome back, Ladies and

  2     Gentlemen.

  3               Please be seated.

  4               And we'll continue with the questioning.

  5               MR. FREEDMAN:       Ms. Vela, can you please bring up P143,

  6     which I believe is in evidence.

  7               THE COURT:    It is.

  8               MR. FREEDMAN:       Can we please publish to the jury.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, we're looking at an Australian Tax Office

 11     transcript from a March 28th, 2014 meeting involving Andrew

 12     Miller, Des McMaster, and Jennifer Trinh on behalf of the ATO,

 13     Craig Wright and John Chesher, as well as also present is

 14     Andrew Sommer, your lawyer, correct?

 15     A.   Wrong.

 16               MR. FREEDMAN:       Ms. Vela, can you bring us to Page 47

 17     of the transcript.

 18               And can we zoom in from line 25 -- well, why don't we

 19     do 24.

 20               Thank you.

 21     BY MR. FREEDMAN:

 22     Q.   Dr. Wright, here Mr. McMaster from the Australian Taxation

 23     Office asks you:     "Yes.      So did that occur when Dave was alive

 24     or after his death?"

 25          You say:   "W&K was after Dave's death."

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 77 of 177
                                                                                             77


  1          And Chesher says:       "No.        The software coming to you is

  2     before he died."

  3          You say:    "Sorry.     I keep mixing up.                     W&K.   Dave's software

  4     was while he was alive."

  5          McMasters says:     "Okay."

  6          You say:    "It was about two weeks before he died."

  7          Masters says:      "Hmm.      And what was the W&K software?                  Was

  8     that -- is that the same software we're talking about?"

  9          And you say:    "It was enhanced versions that he had done up

 10     and all the rest."

 11          Do you see that?

 12     A.   Yes.    I see it.   Never happened.

 13     Q.   And then you continue on:               "Which included Bitcoin Company,

 14     Casino Company, Swap, marketplace stuff, all that."

 15          Do you see that?

 16     A.   Again.    Yes, I can see it.              Didn't happen.

 17     Q.   Dave Kleiman enhanced Bitcoin Company, Casino Company,

 18     Swap, marketplace stuff, and all that, correct?

 19     A.   No.    Dave's a United States citizen.                        Internet casinos over

 20     here are not actually legal.               I believe they're changing the

 21     rules now.     So no.

 22                 MR. FREEDMAN:      Ms. Vela, you can take that down.

 23     BY MR. FREEDMAN:

 24     Q.   Dr. Wright, Dave Kleiman passes away on April 26th, 2013.

 25                 MR. FREEDMAN:      Counsel, can you see what I write on

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 78 of 177
                                                                                           78


  1     here?

  2                 MS. MCGOVERN:     Okay.         That's fine.              Thank you.

  3                 MR. FREEDMAN:     The Court -- Your Honor, can you see

  4     what's written on here?

  5                 THE COURT:   I cannot.

  6                 MR. FREEDMAN:     All right.

  7                 Now?

  8                 THE COURT:   Yes.

  9                 MR. FREEDMAN:     Okay.         Ms. McGovern?

 10                 MS. MCGOVERN:     Yes.

 11                 MR. FREEDMAN:     Okay.         So can you-all read this --

 12                 Your Honor, may I ask the jury if they can read this?

 13                 THE COURT:   Ladies and Gentlemen, are you able to see

 14     the easel?

 15                 All right.   Everyone nodding in the affirmative.

 16     BY MR. FREEDMAN:

 17     Q.   Okay.    So Dr. Wright, Dave Kleiman dies on April 26th,

 18     2013, or is found deceased on that date, correct?

 19     A.   Correct.

 20     Q.   And you find out about his passing from Carter Conrad four

 21     days later, correct?

 22     A.   Yes.

 23                 MR. FREEDMAN:     Ms. Vela, can you please put up D042,

 24     which is in evidence.

 25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 79 of 177
                                                                                              79


  1     BY MR. FREEDMAN:

  2     Q.   And Dr. Wright, on the bottom we have the notification from

  3     Carter Conrad, dated April 30th, 2013.                        "As close friends of

  4     Dave, Patrick and I wanted to let you know in advance of any

  5     general posting that we have lost a dear friend and colleague."

  6          And you respond -- says April 19th, but it's Australia, so

  7     really it was April 30th --

  8                MR. FREEDMAN:      Oh, can we publish this?                     It's in

  9     evidence.

 10                THE COURT:   It is in evidence.                      You may.

 11     BY MR. FREEDMAN:

 12     Q.   So you receive the email from Carter Conrad below

 13     announcing Dave's death and you respond on April 29th, 2013,

 14     which is in Australia, so it's April 30th in the United States,

 15     correct?

 16     A.   Around that, yes.

 17     Q.   So you find out Dave dies on April 30th, 2013, right?

 18     A.   In US time, yes.

 19     Q.   This is your response:           "Dave will be missed.                He was a

 20     good friend.    He would always talk and was always there.                           Dave

 21     made the world a little brighter."

 22     A.   No.   That wasn't really -- that was my reply.                        My response

 23     was a YouTube video.

 24     Q.   Okay.   In your replies to Carter Conrad and Patrick Paige,

 25     you didn't mention anything to Dave's friends about his

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 80 of 177
                                                                                   80


  1     creation of Bitcoin; isn't that correct?

  2     A.   Because he didn't create it.

  3     Q.   You didn't mention anything to him about Dave's mining of

  4     Bitcoin; isn't that correct?

  5     A.   I don't know what Dave did.                So I can't mention about

  6     things I don't know.

  7     Q.   You didn't mention anything to them about trying to help

  8     Dave's estate find his assets; isn't that correct?

  9     A.   As far as I know, they have nothing to do with Dave's

 10     estate.

 11     Q.   Now, Dr. Wright, you wait nine months before saying

 12     anything to them about Dave -- or Dave's family about any of

 13     these things; isn't that correct?

 14     A.   No.   That's not correct.

 15                MR. FREEDMAN:      Ms. Vela, can you please put up P117

 16     for the witness and counsel.

 17     BY MR. FREEDMAN:

 18     Q.   Dr. Wright, you contact Dave's family for the first time on

 19     February 11th, 2014; isn't that correct?

 20     A.   That is not correct.

 21     Q.   Do you recognize this as an email from yourself to Louis

 22     Kleiman?

 23     A.   I do.   That's forwarded.

 24     Q.   Mentions Dave.

 25     A.   Well, there's -- he's noted in there, yes.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 81 of 177
                                                                                                81


  1               MR. FREEDMAN:       I'm not sure if this version's in

  2     evidence.    So P117 -- Plaintiffs offer P117 into evidence.

  3               MS. MCGOVERN:       It is.

  4               THE COURT:    It's in evidence.

  5               MR. FREEDMAN:       It's in evidence.                       Can we publish,

  6     please, to the jury.

  7     BY MR. FREEDMAN:

  8     Q.   Dr. Wright, on February 11th, 2014 you write Louis Kleiman:

  9     "Your son Dave and I are two of the three key people behind

 10     Bitcoin."    And you tell him that:                 "Dave was a key part of an

 11     invention that will revolutionize the world."                            And you close

 12     the message with:     "When I can, I will let you know more of

 13     Dave.   I will also help you recover what Dave owned."

 14          Do you see that?

 15     A.   I do.   And in time, I told him more about my friendship

 16     with Dave and I helped recover the shares in Coin-Exch.

 17     Q.   Nine and a half months between April 30th, 2013 and your

 18     contact to Louis Kleiman on February 11th, 2014, correct?

 19     A.   As I said, no.    That's completely incorrect.

 20               MR. FREEDMAN:       Ms. Vela, can you take that down,

 21     please.

 22               Can you put up P122, which is also in evidence.

 23               Can we please publish that to the jury.

 24               Can we go to Page 3.

 25               Thank you.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 82 of 177
                                                                                                  82


  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, we've seen this email before.                            This is the

  3     first time you mention to Patrick Paige or Carter Conrad that

  4     Dave had a project in the US, you kept it secret, and he mined

  5     Bitcoin, right?

  6     A.   Yes.    As I stated, W&K and then later what became

  7     Coin-Exch.

  8     Q.   That happens basically the next day.

  9          Forgive my handwriting.             So dies on April 26.                 You find out

 10     about it on April 30th.          You tell Louis Kleiman about Bitcoin

 11     and Dave on February 11th, 2014.                   And on February 12th, 2014

 12     you tell Patrick Paige and Carter Conrad?

 13                 MS. MCGOVERN:      Objection.               Misstates the evidence as

 14     presented to the record.

 15                 THE COURT:   Overruled.              The witness can respond.

 16                 THE WITNESS:     Again, you're completely misstating what

 17     I said.     I said very categorically no.                      The time frame is

 18     wrong.     It is utterly wrong.

 19     BY MR. FREEDMAN:

 20     Q.   Dr. Wright, just so you know where I'm going, I want to

 21     explore what happens in these nine months, nine and a half

 22     months.     Okay?

 23     A.   No.    You don't seem to be doing that.                           You seem to be

 24     saying that nothing happened, when I said:                             "No.   You're in

 25     error," and you put something that is exactly the opposite of

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 83 of 177
                                                                                          83


  1     what I said.     So no, it's not okay.

  2     Q.    Something happened.       I want to show you what happened.                 I'm

  3     just trying to --

  4                 MS. MCGOVERN:     Objection.

  5     BY MR. FREEDMAN:

  6     Q.    I'm just trying to transition Dr. Wright.                       It's not really

  7     a --

  8                 THE COURT:   Sustained.

  9                 MS. MCGOVERN:     Objection.

 10                 MR. FREEDMAN:     I withdraw the question.

 11                 THE COURT:   All right.

 12     BY MR. FREEDMAN:

 13     Q.    Dr. Wright, on July 25th, 2013, you filed lawsuits or a

 14     statement of claim against W&K.                 Do you recall that?

 15     A.    I do.

 16     Q.    And Dr. Wright, you obtained valuable intellectual property

 17     from W&K, did you not?

 18     A.    No.   As I stated, we filed what is known as a friendly

 19     party lawsuit, so that each party has its own intellectual

 20     property.     W&K has all rights to its original intellectual

 21     property.     The difference is that Mr. Kleiman or anyone else

 22     wanting to run W&K would have to run the company.

 23           Intellectual property's only valuable when it's used.                      So

 24     no.    Actually, what I said was the intellectual property

 25     devised by Greyfog, an Australian company which was venture

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 84 of 177
                                                                                         84


  1     capital funded, all public record -- that was transferred into

  2     W&K to be approved.     That intellectual property was severed and

  3     the original stuff created that never got improved stayed with

  4     my companies.    The improved software stayed with W&K.                      So no,

  5     that's completely misstating it.

  6               MR. FREEDMAN:       Counsel, I'm going to the deposition of

  7     Dr. Wright from April 4th, 2019.                  I'm on Page 230, lines 11

  8     through 14.

  9               MS. MCGOVERN:       One second, please.

 10          (Pause in proceedings.)

 11               MS. MCGOVERN:       Objection, Your Honor.                  Improper

 12     impeachment.

 13               THE COURT:    Overruled.

 14               You may proceed.

 15               MR. FREEDMAN:       Ms. Vela, can you please play clip

 16     number 54.

 17          (Video played.)

 18     BY MR. FREEDMAN:

 19     Q.   Dr. Wright, that intellectual property included source

 20     code, did it not?

 21     A.   Then that's not really leading to what you're saying there.

 22     The question you posed for the second one, did I include, no.

 23     I got knowledge.     So did I get anything in W&K?                    Yes.

 24     Knowledge.    It's in there.          I learned things and that's

 25     valuable.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 85 of 177
                                                                                                85


  1          So if you're including the source code, what the source

  2     code was, was the source code transferred to W&K that was meant

  3     to be improved, that was not improved.                        The source code I

  4     originally had from Greyfog, I already had.                           So you're

  5     confusing those two things.             Intellectual property also

  6     includes knowledge.

  7     Q.   Was the intellectual property W&K provided source code?

  8     A.   I never received anything back, so it didn't provide.                          The

  9     intellectual property was my testing and my knowledge.                            The

 10     simple answer here is all of the intellectual property that

 11     Dave improved remains with W&K.                 All of the things he got

 12     external parties to work on, not himself, remains with W&K.                              It

 13     was never taken from it.          It's still there.                   It can still be

 14     taken and exploited by Ira if he wants.

 15                MR. FREEDMAN:      Ms. Vela, can you please play clip

 16     number 55 from Dr. Wright's deposition, which is the April 4th,

 17     2019 deposition, lines -- Page 231, lines 2 through 8.

 18                MS. MCGOVERN:      Objection, Your Honor.                    Improper

 19     impeachment.

 20                THE COURT:   Overruled.

 21          (Video played.)

 22     BY MR. FREEDMAN:

 23     Q.   In fact, Dr. Wright, the source code was 26 different

 24     software packages, was it not?

 25     A.   No.   You're confusing the W&K ID, which was sourced to W&K

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 86 of 177
                                                                                  86


  1     in the notes.    So no, technically, you're taking it the wrong

  2     way around.    You're taking what I put into W&K for Greyfog.              As

  3     I stated, every bit of W&K software remains with W&K.

  4                 MR. FREEDMAN:     Ms. Vela, can you please pull up P147

  5     for the witness and counsel.

  6     BY MR. FREEDMAN:

  7     Q.   Dr. Wright, do you recognize this as an email from yourself

  8     to John Chesher, with a cc to your wife Ramona Watts, talking

  9     about W&K Info Defense Research, W&K ID?

 10     A.   I recognize the email.

 11                 MR. FREEDMAN:     Your Honor, Plaintiffs offer P147 into

 12     evidence.

 13                 MS. MCGOVERN:     No objection.

 14                 THE COURT:   Admitted into evidence.

 15          (Plaintiffs' Exhibit 147 received into evidence.)

 16                 MR. FREEDMAN:     Can we please publish.

 17     BY MR. FREEDMAN:

 18     Q.   Dr. Wright, this is an email from yourself to your CFO;

 19     your lawyer, Andrew Sommer; your wife, Ramona Watts, correct?

 20     A.   Yes.

 21     Q.   "Hello.   I'm putting the code that I got from W&K

 22     Information Defense, W&K ID," correct?

 23     A.   The way you're saying it is actually mischaracterizing it,

 24     but it's what it says.

 25     Q.   "I'm putting the code I got from W&K ID together.                In the

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 87 of 177
                                                                                             87


  1     four projects, I have 26 packages, excluding the casino

  2     software and the Sportsbook software, including the betfair.com

  3     source code.

  4          "These total 6,080,550.            It is documented and has unit

  5     tests and debugging.      Breakdown by language is as follows."

  6     And along the left-hand side of the list you've got various

  7     software languages, C#, C++, Java, Perl, Python, ASM, ANSI C,

  8     AWK, Lex, TcL, Yacc, sed, and Fortran.

  9          Do you see that?

 10     A.   I do.

 11     Q.   And then down the middle of the column, the amount of lines

 12     in that programming language:               2.3 million, 1.4 million,

 13     851,000 lines, so on down to the bottom.                          Do you see that?

 14     A.   I do.

 15     Q.   And on the right-hand side, the percent that that language

 16     constitutes the amount of software packages you were taking

 17     from W&K ID, correct?

 18     A.   No.   That's in error.         As I stated, this is the purchase of

 19     the Al Baraka Banking software, which was a core banking

 20     platform.    That transfer of rights was done to the company.

 21     There's no taking its digital assets, so both parties have a

 22     copy.   And it's also the SCADA software that I had.

 23          That's actually not saleable because it's owned by Siemens,

 24     but we had the ability to build upon it.                          So you can't actually

 25     sell the Siemens software, but you can build applications in

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 88 of 177
                                                                                            88


  1     APIs.   So if Ira, for instance, wanted to use that to build a

  2     company basing SCADA systems on the integration with APIs, he

  3     has those rights.

  4     Q.   Twenty-six software packages, the email says, Dr. Wright,

  5     correct?

  6     A.   Twenty-four of those were the core banking, yes.                          And two

  7     were the SCADA.     So that's correct.

  8     Q.   Then you say:    "The total of all those lines are 6,080,550

  9     lines of code" --

 10     A.   That's correct.    That is approximately on standard coding

 11     140 human coding years' worth of programming, yes.

 12                MR. FREEDMAN:      Ms. Vela, can you leave that on the

 13     left-hand side and can you please bring up P160, which is

 14     already in evidence.

 15                And let's go to Page 1.                Ms. Vela, this is -- sorry.

 16     BY MR. FREEDMAN:

 17     Q.   Dr. Wright, this is an email from yourself to Ira Kleiman,

 18     dated April 24th, 2014, entitled "Questions."                           Do you see that?

 19     A.   I see it.

 20                MR. FREEDMAN:      Ms. Vela can you call out the

 21     second-to-last paragraph in the email for the jury and the

 22     witness.

 23     BY MR. FREEDMAN:

 24     Q.   On the left, Dr. Wright:             "I'm putting the code that I got

 25     from W&K ID together.       I have 26 packages.                       These total

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 89 of 177
                                                                                        89


  1     6,080,550 lines of code."           And on the right, Dr. Wright, you

  2     tell Ira Kleiman:     "Dave took two million lines of code that he

  3     had in 2010 and transformed these into a document," and said,

  4     "of over six million lines of code."

  5          Do you see that Dr. Wright?

  6     A.   Yes.   And -- can I finish?

  7          Yes.   I see that.     As I said, core banking is very complex

  8     software.    And in 2011, 2012, Dave helped me do that.                   So we

  9     have 140 to 200 years' worth of programming in that.                     Most

 10     people don't realize the average programmer does between

 11     101,000 lines of code.        In complex code, such as C, C+, it's on

 12     the lower end.     In the simpler things, it's on the high end.

 13          So six million lines of code is not something that Dave or

 14     I could do in my entire lifetime.                   I wanted to buy a core

 15     banking platform because I don't know if you realize how

 16     complex banking actually is.              To be able to run a system

 17     required purchase.     The only people who would sell it to me

 18     were the Saudis in Al Baraka, and it actually suited Bitcoin

 19     because Bitcoin doesn't have interest.                        So yes.

 20     Q.   Dr. Wright, is it not true that Dave, the "okay coder,"

 21     transformed two million lines of code into six?

 22     A.   No.    Dave is not an okay coder.                  What I said in that other

 23     thing you wanted to bring up was that Dave was okay.                     And then

 24     I said "Hell" was a good coder.                 I let other people believe

 25     these things.    I didn't say Dave was a good coder.                    I didn't

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 90 of 177
                                                                                           90


  1     say Dave was an okay coder, not ever.                       You're trying to say

  2     that I answered a question, and I answered a different

  3     question.    And thus, that means that it means a different

  4     thing.

  5          Dave has never coded a line in his life.                         And as I said, if

  6     Dave was the best coder on earth, if he made the best person in

  7     Google, the best person in Facebook, the best person in

  8     Twitter, the best person in the NSA look like a complete

  9     uninitiated coder, he would not in his life span do one million

 10     lines of code, never.       No one on human history has ever written

 11     one million lines of code in their life.

 12               MR. FREEDMAN:       Ms. Vela, can you take down the callout

 13     on the right side.

 14               Can you scroll down the left for a minute.

 15               Okay.    You can take them down.

 16               Thank you.

 17     BY MR. FREEDMAN:

 18     Q.   Dr. Wright, after you obtained the source code from W&K,

 19     you transferred it to various companies you control in

 20     Australia, correct?

 21               MS. MCGOVERN:       Objection.               Misstates the record -- the

 22     evidence in the record.

 23               THE COURT:    Overruled.

 24               THE WITNESS:      Again, you're misstating me.

 25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 91 of 177
                                                                                          91


  1               MR. FREEDMAN:       Ms. Vela, can you please put up P127.

  2               I believe this is in evidence.

  3               Yes.

  4               Can we please publish it to the jury.

  5               And let's go to the next page.                        We're looking at --

  6     let's go to Page 18, please.

  7               And now can we back up a couple pages to the

  8     beginning.

  9               One more.    Okay.

 10     BY MR. FREEDMAN:

 11     Q.   Dr. Wright, we're looking at an Auscript transcript of a

 12     meeting you had with the Australian Taxation Office on

 13     February 18th, 2014, are we not?

 14     A.   No, we're not.

 15               MR. FREEDMAN:       And Ms. Vela, can you please bring us

 16     to Page 18.    And at the bottom we've got a long paragraph that

 17     starts off:    "Sommer," because Andrew Sommer, your lawyer, is

 18     talking, isn't he?

 19     A.   Andrew Sommer was my lawyer.

 20     Q.   And at line 41 or so, he says:                    "2013 September.

 21     Intellectual property that had been acquired by Dr. Wright from

 22     W&K Info Defense is on-supplied to the Wright Family Trust and

 23     then broken and transferred to other group entities, Hotwire,

 24     Coin-Exch., and so on."

 25          Do you see that, Dr. Wright?

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 92 of 177
                                                                                          92


  1     A.   I see the thing that you're calling a document, yes.

  2                MR. FREEDMAN:      Thank you, Ms. Vela.

  3     BY MR. FREEDMAN:

  4     Q.   Dr. Wright, around the same time that you distributed the

  5     IP among your companies, your companies also filed claims with

  6     the Australian government for certain tax refunds?

  7     A.   We filed all our tax every year -- every quarter, actually.

  8     So you can't say around that time.

  9          I filed in March 2009, June 2009.                      I filed a September

 10     2009, December 2009, March 2010, June 2010, September 2010,

 11     December 2010.     And I can keep going quarterly right up until

 12     the end.    Every -- at the end, then we went monthly.                    Because

 13     of the size of our organizations, we were required to file

 14     monthly returns.

 15                MR. FREEDMAN:      Ms. Vela, can you please put up P637.

 16     BY MR. FREEDMAN:

 17     Q.   Dr. Wright, do you recognize this as the decision of the

 18     GAAR panel on -- from the Australian Taxation Office?

 19     A.   No.   This is not the decision.                   This is the preliminary

 20     submission, which is like the statement of claim, like the

 21     thing that brings the action.               So no, this is not the actual

 22     final decision.

 23     Q.   You're right, Dr. Wright.              This is the panel submission.

 24     Do you recognize it as the panel submission?

 25     A.   Yes, I do.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 93 of 177
                                                                                              93


  1     Q.   By the Australian Taxation Office?

  2     A.   Yes, I do.

  3               MR. FREEDMAN:       This is in evidence.                    Can we please

  4     publish to the jury.

  5               MS. MCGOVERN:       Objection, Your Honor.                   Authentication,

  6     hearsay, foundation.

  7               THE COURT:    It is not in evidence, 637.

  8               MR. FREEDMAN:       Oh, I'm sorry.

  9               MS. MCGOVERN:       We object, Your Honor.                   Hearsay,

 10     foundation, authentication.

 11               MR. FREEDMAN:       Can I lay the foundation?                   I'm sorry.

 12               THE COURT:    Certainly.

 13               MR. FREEDMAN:       My apologies.

 14               Can we -- just for counsel and the witness, please.

 15               Can we go to Page 2, please.

 16     BY MR. FREEDMAN:

 17     Q.   And Dr. Wright, do you see here the Australian Taxation

 18     Office is taking a position on -- is reciting when, in

 19     Paragraph 2, you filed for certain GST refunds?

 20               MS. MCGOVERN:       Objection, Your Honor.                   This is not

 21     foundation material.      It should not be referred to

 22     substantively.

 23               THE COURT:    Don't refer to the contents.                      Why don't

 24     you just direct the witness to the portion of the document.

 25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 94 of 177
                                                                                          94


  1     BY MR. FREEDMAN:

  2     Q.   Do you see Paragraph 2, Dr. Wright?

  3     A.   I see Paragraph 2.

  4     Q.   And do you see also Footnote 7?

  5     A.   I see Footnote Number 7.

  6                MR. FREEDMAN:      And Your Honor, Plaintiffs offer P637

  7     into evidence.

  8                MS. MCGOVERN:      Objection, Your Honor.                  No foundation.

  9     Relevance, hearsay, authentication.

 10                THE COURT:   And the Court has previously ruled.                     The

 11     objection is overruled.         It will be admitted into evidence.

 12          (Plaintiffs' Exhibit 637 received into evidence.)

 13                MR. FREEDMAN:      Now it's in evidence.                   Can we please

 14     publish to the jury and -- sorry.

 15     BY MR. FREEDMAN:

 16     Q.   All right.    So Dr. Wright, are you -- now that the jury is

 17     seeing the document, let's catch up quickly with it.

 18     Australian Government, Australian Taxation Office stamp in the

 19     top left corner, right?

 20     A.   That's their logo.

 21     Q.   Logo's fine.

 22          And it is the preliminary GAAR panel submission the ATO

 23     submitted as their formal position in front of the GAAR panel,

 24     correct?

 25     A.   The GAAR panel is the General Anti-Avoidance Review Panel.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 95 of 177
                                                                                             95


  1     It's a form of court process.

  2     Q.   And this is the Australian government's position in front

  3     of that formal court process?

  4     A.   That's what they submitted against me.                           Yes.

  5     Q.   And Paragraph --

  6                 MR. FREEDMAN:     Ms. Vela, can we please go to Page 2.

  7     BY MR. FREEDMAN:

  8     Q.   In Paragraph 2, the Australian Taxation Office says that:

  9     "This matter arises from claims for GST refunds in the

 10     September 2013 quarter by entities controlled by CW, Craig

 11     Wright," correct?

 12     A.   Yes.   The tax office, as I stated earlier, was attempting

 13     to say that any transfer of Bitcoin required GST.                            That meant

 14     that payment even between my companies of Bitcoin or Bitcoin

 15     holdings would require a 10 percent tax.                          The government had

 16     the idea that Bitcoin is not money and it should be treated as

 17     not money, and as a goods or services it should be able to be

 18     taxed on every movement.

 19          So yes, this is a GST refunds and -- allegation claim,

 20     which the tax office stated that -- because I was saying that

 21     Bitcoin does not have GST, should not have GST, and should be

 22     treated like money, they fought.

 23                 MR. FREEDMAN:     Ms. Vela, can you bring up Footnote 7

 24     that is referenced by the ATO after:                      "Entities Controlled by

 25     Craig Wright."

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 96 of 177
                                                                                     96


  1     BY MR. FREEDMAN:

  2     Q.   Dr. Wright, do you see where the Australian Taxation Office

  3     says:   "The relevant entities are Cloudcroft, Coin-Exch.,

  4     Hotwire, Intelligence" -- sorry -- "Hotwire Preemptive

  5     Intelligence, Strasan PTY.            Pholus PTY, Denariuz PTY.

  6     Collectively, these entities will be referred to as the related

  7     entities"?

  8     A.   I see that.

  9               MR. FREEDMAN:       Ms. Vela, can you highlight:            "For

 10     claims for GST refunds in September of 2013."

 11               "GST tax refunds September 2013."

 12               Thank you, Ms. Vela.

 13     BY MR. FREEDMAN:

 14     Q.   Dr. Wright, your companies claimed approximately $10

 15     million in refunds from the Australian Taxation Office, did

 16     they not?

 17     A.   I have no idea.

 18               MR. FREEDMAN:       Ms. Vela, can we please bring back up

 19     P637.

 20               Let's go to Page 5.

 21               And can we publish this, please.

 22               And can you call out line 18.

 23     BY MR. FREEDMAN:

 24     Q.   "The Australian Taxation Office continues to retain refunds

 25     of approximately $10.5 million pending a decision on the

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 97 of 177
                                                                                           97


  1     application of Division 1652 of the GSC Act."

  2          Do you see that, Dr. Wright?

  3     A.   Yes.    Again, the tax office wanted to basically say that

  4     GST on Bitcoin would apply and that would wipe out any of the

  5     amounts between the companies.

  6     Q.   And Dr. Wright, these claims for tax refunds, they were

  7     based in part on costs that your company supposedly incurred in

  8     acquiring intellectual property from W&K?

  9     A.   No.    You can't put GST that way on foreign entities.                    An

 10     American organization doesn't do that.                        So that's actually

 11     incorrect.

 12                 MR. FREEDMAN:     Ms. Vela, can you please take us to

 13     Page 87 of the relevant document.

 14     BY MR. FREEDMAN:

 15     Q.   Dr. Wright, this is a letter from your lawyers at Clayton

 16     Utz to the tax office.        And in it --

 17                 MR. FREEDMAN:     Ms. Vela, can you please highlight --

 18     call out that -- yeah.        Right there.

 19     BY MR. FREEDMAN:

 20     Q.   "Coin-Exch.'s claims for input tax credits in the relevant

 21     review period is based on acquisitions it considers that it

 22     made from the Wright Family Trust.                     In turn, Wright Family

 23     Trust acquired software and intellectual property from

 24     Dr. Craig Wright.     We understand that Dr. Craig Wright had

 25     acquired software from W&K."

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 98 of 177
                                                                                            98


  1          Do you see that Dr. Wright?

  2     A.   Yes.    I see.   What you're missing is that the transfer is

  3     between my companies and Wright Family Trust.                         Wright Family

  4     Trust is an Australian entity.                The transfer between Craig

  5     Wright Family Trust and my companies in Australia had GST.                          The

  6     claim that W&K was involved in GST is false.

  7                 MR. FREEDMAN:     Thank you, Ms. Vela.                    You can take that

  8     down.

  9     BY MR. FREEDMAN:

 10     Q.   Dr. Wright, after you requested those refunds, the

 11     Australian government conducted an audit of your companies,

 12     correct?

 13     A.   No.    The Australian government investigated -- issued

 14     audits against me since 2006.               The first audit came when I

 15     completed -- or was completing my eighth master's degree.                           The

 16     Australian government took me to court over that, saying that I

 17     had too much education and I shouldn't be allowed to both claim

 18     and deduct any further degrees.                 They said that it's not part

 19     of my work.     So they started an audit.

 20          In the next year, the tax office started an audit over my

 21     other claims.     In 2009, in March, they started a GST audit over

 22     Bitcoin.     In June of 2009, they started an audit because of

 23     Bitcoin.     In September of 2009, they started another audit.                        In

 24     December of 2009, they started four audits.

 25          In March of 2010, they started two audits.                        In June, I

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 99 of 177
                                                                                           99


  1     think there were four audits.               In September of that year, there

  2     were five audits.     In December of that year, only another two

  3     audits.

  4          In March of 2011, four audits.                    In June of 2011, seven

  5     audits.    In -- I closed four companies down.                        So the number of

  6     audits went down to about three in the next quarter.                         December

  7     of 2011, still three.

  8          March of 2012 I had another company, so four.                        In June of

  9     2012, I had five.     In December of 2012, zero, because the Court

 10     had basically come back and I had a settlement from the ATO and

 11     I won my court case.      So for one single quarter there, I had

 12     nothing.

 13          In March, I had nothing in 2013.                     So no audit again.     In

 14     June of 2013, I had no audits.                In -- however, again, in the

 15     later part of 2013, I started with two audits.

 16          And then I started in 2014.                It increased until 2015.          I

 17     won't go month by month.          But we ended up with 17 audits a

 18     quarter.    Every three months, they brought in 17 audits.                       They

 19     shut down my companies' operating.                     Effectively, I had to

 20     answer at least one thousand pages of documentation on what we

 21     were doing a quarter, until I decided to move out of Australia.

 22     So -- and then they stopped auditing me.                          But that's the actual

 23     audit trail.

 24                MR. FREEDMAN:      Ms. Vela, can you put up P637.                   Let's

 25     go to Page 2, please.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 100 of 177
                                                                                           100


   1               Can you call out Paragraph 2.

   2    BY MR. FREEDMAN:

   3    Q.   We read the first half of this paragraph already,

   4    Dr. Wright.

   5    A.   I did.

   6    Q.   "The matter arises from GST refunds in September 2013

   7    quarter by entities controlled by Craig Wright."

   8               MR. FREEDMAN:      Can we publish this to the jury,

   9    please.    It's in evidence.          This time for real.

  10    BY MR. FREEDMAN:

  11    Q.   "The matter arises for claim -- the matter arises for

  12    claims for GST refunds in the September 2013 quarter by

  13    entities controlled by CW."

  14         Now I'm jumping to the little eight.                         "These claims have

  15    been under review since October 2013.                       There are concurrent

  16    audits of CW and the majority entities controlled by him."

  17         Do you see that?

  18    A.   Like I just said, concurrent, continuing audits, yes.                        That

  19    goes right back before that.

  20    Q.   Dr. Wright, these audits carried on throughout 2014 and

  21    into 2015, correct?

  22    A.   As I just stated, yes.

  23    Q.   And toward the end of 2014, the ATO reached a preliminary

  24    decision to withhold the tax refunds from your companies,

  25    correct?

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 101 of 177
                                                                                               101


   1    A.   Yes.

   2    Q.   But they permitted your companies to object to that

   3    decision, did they not?

   4    A.   No.    They didn't permit us.              By law, that's a requirement.

   5    That's like saying you permit an appeal.                          You don't.   The

   6    government has a rule.

   7    Q.   Fair enough, Dr. Wright.

   8                MR. FREEDMAN:     Ms. Vela, can you bring us to Page 3.

   9                And can you zoom in on Paragraph 6.

  10    BY MR. FREEDMAN:

  11    Q.   "On 20th of January, 2014, we issued a letter to each of

  12    the entities advising that we would continue to hold the

  13    refunds, and that as of 20th of January they had a right to

  14    object against this decision."

  15         Do you see that, Dr. Wright?

  16    A.   Yes, I do.

  17    Q.   January 20th, 2014, the ATO says:                      "No refunds."

  18    A.   Is that a question?

  19    Q.   No.    I'm telling you what I wrote because my handwriting --

  20                MS. MCGOVERN:     Objection, Your Honor.

  21                THE COURT:   And the basis?

  22                MS. MCGOVERN:     There's no question pending.

  23                THE COURT:   There is not.                 That's correct.         Let's

  24    continue.

  25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 102 of 177
                                                                                 102


   1    BY MR. FREEDMAN:

   2    Q.   Can you read what I wrote, Dr. Wright?

   3    A.   No, I can't.

   4    Q.   It says:    "ATO.   No refunds," correct?

   5    A.   I don't know.     I can't see what you wrote.

   6               THE COURT:    Could you allow the witness to see the

   7    board.

   8               Thank you.

   9    BY MR. FREEDMAN:

  10    Q.   Is that better?

  11    A.   That is better.

  12               MR. FREEDMAN:      Your Honor, can you see as well?

  13               THE COURT:    Yes.

  14    BY MR. FREEDMAN:

  15    Q.   Dr. Wright, as part of the ongoing audit process, the ATO

  16    requested additional information about W&K in February of 2014,

  17    didn't it?

  18    A.   I don't remember.      As I've just stated, I went through

  19    over -- I think over 200 audits in a five-year period.                If you

  20    want to know what sort of having a ridiculously sort of

  21    squashed life is, try having 200 separate audits run

  22    concurrently.     So no, I don't remember.

  23               MR. FREEDMAN:      Ms. Vela, can you please bring up P175

  24    for just the witness and counsel.

  25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 103 of 177
                                                                                 103


   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, do you recognize this as an email from yourself

   3    to Ms. Watts forwarding on an email from John Chesher to Des

   4    McMaster of the Australian Taxation Office?

   5    A.   I recognize this as an email, yes.

   6    Q.   In Paragraph 3, do you see a reference to entities at issue

   7    in this case?

   8    A.   I do.

   9               MR. FREEDMAN:      Your Honor, Plaintiffs offer P175 into

  10    evidence.

  11               MS. MCGOVERN:      No objection.

  12               THE COURT:    Admitted into evidence.

  13         (Plaintiffs' Exhibit 175 received into evidence.)

  14               MR. FREEDMAN:      Ms. Vela, can you zoom into the

  15    email -- yeah -- from John Chesher.

  16               And can we please publish.

  17               Perfect.

  18    BY MR. FREEDMAN:

  19    Q.   Dr. Wright, the date on this email is February 6th, 2014 do

  20    you see that?

  21    A.   I do.

  22    Q.   It's an email from your CFO John Chesher to Des McMaster at

  23    the Australian Taxation Office.                 Do you see that?

  24    A.   I do.

  25    Q.   And cc's your lawyer, Andrew Sommer, and yourself.               Do you

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 104 of 177
                                                                                             104


   1    see that?

   2    A.   Yes.

   3    Q.   And in this email, John Chesher thanks Des McMaster for

   4    making the time to get together on Monday.                            Do you see that?

   5    A.   I see what he said.

   6                MR. FREEDMAN:     Ms. Vela, can you highlight that first

   7    sentence.

   8    BY MR. FREEDMAN:

   9    Q.   And he says:    "The following are the salient points in

  10    terms of time drawn from our meeting."                        And in number 3:

  11    "Strasan and Pholus.      More information regarding W&K."

  12         Do you see that?

  13    A.   Yes.

  14    Q.   Then he says:     "You have since asked for the director

  15    details and consents for W&K.               Attached.             You have all of the

  16    agreements between W&K and Wright and copies of judgments."

  17         Do you see that?

  18    A.   Yes.

  19    Q.   So on February 6th, 2014, the ATO was coming to you for

  20    information about W&K as part of its audit process, were they

  21    not?

  22    A.   This is not sort of the whole thing, but it's the beginning

  23    of a particular audit.        And they weren't coming to us.                     It was

  24    John responding.     But I -- if you're saying that John was

  25    responding on that date, then yes.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 105 of 177
                                                                                             105


   1    Q.   Can you read what I wrote, Dr. Wright?

   2    A.   Not really.    Can you read it out to me.

   3    Q.   "ATO asks about W&K February 6th, 2014."

   4    A.   Yes.

   5    Q.   I'm going to take you through our timeline here Dr. Wright.

   6    Dave Kleiman dies on March 26th, 2013 [sic].                          You find out on

   7    March 30th, 2013 [sic], correct?

   8    A.   About that, yes.     In American time.

   9    Q.   You first contact Louis Kleiman on February 11th, 2014,

  10    nine and a half months later, correct?

  11    A.   I first contacted the family before that, but Louis was

  12    later when I was given his details.

  13    Q.   You filed the lawsuit against W&K on July 25th, 2013,

  14    correct?

  15    A.   I don't remember the exact date, but around then.

  16    Q.   You file for GST refunds in September of 2013.                        The ATO

  17    tells you you're not going to get those refunds on January

  18    20th, 2014.     And the ATO starts asking questions about W&K on

  19    February 6th, 2014, exactly five days before you first reach

  20    out to Louis Kleiman; isn't that right?

  21    A.   No.    That's completely erroneous.                    You're missing that I

  22    contacted his fiancee in May.               You're missing that before I

  23    could close down and put in the GST I had a court case against

  24    MJF Mining Services in the Supreme Court of New South Wales.                               I

  25    could not take any of the action before the Supreme Court

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 106 of 177
                                                                                              106


   1    judgment was issued.      That Supreme Court judgment was issued.

   2         This is five days after the Supreme Court judgment had been

   3    finally handed down and given to my CFOs, et cetera.                          I believe

   4    if you read the full document there you will see that the

   5    Supreme Court judgment is noted in that communication with my

   6    CFO.   So the Supreme Court is not quick.                         So I'm sorry, but

   7    that's as fast as they move.

   8         Oh, and you're missing the June GST, and the March GST, and

   9    the next March GST, and the end-of-year filing, and actually

  10    eleven other tax filings.

  11               MR. FREEDMAN:      Ms. Vela, can you please bring up P117.

  12               This is in evidence.

  13               Can we please publish to the jury.                         And can we please

  14    focus in on Dr. Wright's message to Louis Kleiman.

  15    BY MR. FREEDMAN:

  16    Q.   Dr. Wright, five days after the ATO starts asking questions

  17    about W&K, you send this message to Louis Kleiman, Dave's late

  18    father; isn't that correct?

  19               MS. MCGOVERN:      Objection, Your Honor.                    Asked and

  20    answered.

  21               THE COURT:    Sustained.

  22    BY MR. FREEDMAN:

  23    Q.   You say in this email, Dr. Wright, in the second paragraph:

  24    "Please understand, I do not seek anything other than to give

  25    you information about your son."

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 107 of 177
                                                                                              107


   1         Do you see that?

   2    A.   I do.

   3    Q.   That wasn't true, was it, Dr. Wright?

   4    A.   No.    It was completely true.                But I actually tried to give

   5    the shares to them.      So I guess you could say I tried to give

   6    them something that was valuable.

   7    Q.   Dr. Wright, isn't it true the reason you reached out to

   8    Louis Kleiman was because you needed help responding to answers

   9    to the Australian Tax Office about W&K, which you knew Dave

  10    Kleiman's estate controlled?

  11    A.   Number one, Dave Kleiman's estate never controlled W&K.

  12    Dave Kleiman was not the person behind it.                             He didn't fund it.

  13    He didn't put it in.       The operating agreement, I don't have a

  14    copy of.     Lynn would.     Lynn was nominally in charge of the

  15    company, my ex-wife.

  16         So no, Dave Kleiman never controlled it.                           He was just the

  17    American person who needed to be there because I needed someone

  18    who was an American, a vet, because otherwise I didn't get to

  19    file those things.

  20    Q.   Dr. Wright, you finished the email saying:                           "When I can, I

  21    will let you know much more of Dave.                       I will also help you

  22    recover what Dave owned."

  23         Do you see that?

  24    A.   Yes.    Dave owned shares in that company, Coin-Exch.

  25    Q.   Dr. Wright, isn't it true that you had no real intention of

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 108 of 177
                                                                                               108


   1    helping them get what Dave owed?                  You just needed their help

   2    for the Australian Tax Office?

   3    A.   No.   Actually, if Dave had never been involved with me, my

   4    stuff with the tax office would have been way easier.                          Trying

   5    to document overseas transactions with a dead person is

   6    horrible.    If you imagine going before a Court and going:                        "A

   7    dead guy helped me" -- the worst thing I had was actually W&K

   8    on my books.

   9         I had a public company that we wanted to take to IPO.                         I

  10    had two external audit firms -- I'm sorry -- one external and

  11    one internal audit firm, both KPMG and PWC.                           We had Ernst &

  12    Young doing business advice.              We had others doing it.              So you

  13    could say controlled, but it was a large company group, as

  14    you've seen many little companies.

  15         So honestly, the best thing would have been to try and bury

  16    Dave and never mention him and never mention W&K.                          The entirety

  17    of the money that they said I owed is because of that.

  18    Q.   Dr. Wright, you also suggested that Ira should look for --

  19    sorry.     Strike that.

  20         Dr. Wright, you also, shortly after this, begin

  21    corresponding with Ira Kleiman, do you not?

  22    A.   I was put in contact with him.                    That was the first time

  23    because I didn't realize he was alive.                        Dave had told me he had

  24    one brother and that brother was dead.                        So I never looked for

  25    him.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 109 of 177
                                                                                            109


   1                MR. FREEDMAN:     Ms. Vela, can you please bring up P20,

   2    which is in evidence.

   3                Let's go to Page 6, please.

   4    BY MR. FREEDMAN:

   5    Q.   Dr. Wright, here on February 14th, 2014 -- so right here --

   6    February 14th, 2014, Ira Kleiman email.                         And in this email that

   7    occurs eight days after the ATO asks about W&K, you tell Ira

   8    Kleiman:     "Dave Kleiman was involved with the Bitcoin

   9    Whitepaper, that he had the Satoshi Nakamoto Vistomail account,

  10    and that he should be looking for private keys and wallet

  11    files."

  12         You see that?

  13    A.   Yes.    But that's not eight days after.                         That was a

  14    response.     As you note, that was a response to an ongoing

  15    audit.     So the audit was actually back going back to September.

  16    So a response that was done later is not eight days.                           So I'm

  17    sorry.     I can't say that this is a thing eight days later.

  18    Q.   Isn't it true, Dr. Wright, that you knew there would be no

  19    private keys or wallet files to be found, you just wanted Ira

  20    Kleiman's help controlling W&K?

  21    A.   No.    Actually, I would have preferred W&K was shut down.

  22    The -- what I told him, if he had anything from Dave's

  23    mining -- I don't know if he did or not -- would have been on

  24    those drives.     What Dave definitely had was intellectual

  25    property belonging to me.           What he did have was key slices that

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 110 of 177
                                                                                           110


   1    he was meant to return in 2020.                 So, unfortunately, though, all

   2    of those were deleted.

   3    Q.   Isn't it true you knew there would be no Bitcoin because

   4    they were in the trusts you guys mined into together?

   5    A.   No.   I didn't mine at any time together, as you're saying.

   6    In 2012, we set up a company.               It didn't happen.          I wanted to

   7    mine with Dave in 2011.         Didn't happen.

   8         I didn't have any joint mining with anyone in 2009 because

   9    that's not how Bitcoin works.               The idea was not to have

  10    partnerships, but to try and bootstrap the system.                       So it's a

  11    unilateral contract.      To explain that -- every first-year law

  12    student will know what that is, but they forget about it.                       So

  13    only silly academic lawyers like me use unilateral contracts.

  14         The idea to miners is:           "I've issued this Bitcoin stuff.

  15    And I will pay it to you for validating the network."                       That

  16    doesn't form groups.      That's not about all this joint mining

  17    stuff that people keep talking about.                       It's like a thing --

  18    finding a dog.     So if I put a notice up on the wall and I

  19    explain I've lost Fido and Fido is very dear to me.                       And if you

  20    bring back Fido, there's a $50 reward.                        All of you guys in the

  21    jury might want to try and find Fido, but only one of you gets

  22    rewarded.    That's how mining works.                   Whoever finds Fido first,

  23    the block, the validated block, gets paid.

  24         So the whole thing here is I set up a system where if I

  25    wanted, when I created, I could have made 40 million Bitcoin

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 111 of 177
                                                                                               111


   1    and kept half of them.        I could have made a hundred million

   2    Bitcoin and kept half of them.                I didn't.               I put every one of

   3    the just-under-21 million Bitcoin out there for people to earn.

   4         The only ones I got were the ones I mined individually at

   5    my own expense.     The only ones anyone else like Hell or Dave

   6    got, the only ones that Theymos got, the only ones that anyone

   7    got were the ones that they individually got for doing --

   8    basically going out there and finding the lost dog.                            Find lots

   9    of lost dogs, find lots of Bitcoin.                     That's the equivalent.

  10    That's what a unilateral contract is.

  11         So no.    The simple answer there is there was no way to

  12    joint mine in 2009.

  13    Q.   Dr. Wright, isn't it true if you kept all the Bitcoin, no

  14    one would want to buy it from you and it would have no value?

  15    You had to give it to the world with Dave Kleiman in order for

  16    it to become valuable.        It wasn't a generous act, correct?

  17    A.   No.   Actually, if you look at Ethereum, Ethereum has a

  18    pre-mine.     So 50 percent of the Ethereum coin is actually kept

  19    by Vitalik and his people.            So Vitalik now has billions of

  20    dollars, not because he worked on it, like I did; because he

  21    kept it.

  22         When I created Bitcoin, I gave it all out.                           But now newer

  23    coins are out there thinking that they can bootstrap this and

  24    just keep the money.      So I actually think that's wrong.                        I

  25    think you work for what you earn.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 112 of 177
                                                                                               112


   1         So what he's saying is utterly wrong.                            It was not like he's

   2    saying.     I needed to distribute it that way, but I couldn't

   3    keep any.     Hundreds of copies of my system, including one of

   4    the big ones, Ethereum, have bootstrapped by giving 50 percent

   5    to their founders.      Think about that.

   6         Imagine Bitcoin now -- I don't know -- 800 billion to the

   7    world.     Imagine, I could have kept 400 -- actually, it's more

   8    than that, trillions.       Half of that could have been kept.

   9    Could have just done that because I wanted to.                            So utterly

  10    wrong.

  11    Q.   Dr. Wright, on February 14th, 2014, you also tell Ira that:

  12    "If the drives and phones are encrypted, that will make this

  13    difficult to say the least."

  14         Do you say that?

  15    A.   Yes.    Because if you're breaking encryption, you would need

  16    to find passwords.      I have a password save, for instance,

  17    because I've got lots of complex funds.                         So you need to find

  18    that and try and find a way in.

  19    Q.   Dr. Wright, isn't it true -- you were Dave Kleiman's best

  20    friend -- you knew he encrypted his drives because he's a

  21    security expert and you were preparing Ira for the fact that

  22    you would say all of Dave's Bitcoin are on encrypted drives?

  23    A.   No.    Sorry.   Doesn't work that way.

  24                MR. FREEDMAN:     Thank you, Ms. -- thank you, Ms. Vela.

  25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 113 of 177
                                                                                               113


   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, you told Ira about your work with Dave Kleiman,

   3    did you not?

   4    A.   I told him a variety of things about what I was working on,

   5    yes.

   6    Q.   And you knew that that would mean Ira would rely on you for

   7    information and trust you, right?

   8    A.   No.   I think it was the other way around.                         I had a deep

   9    respect and trust for Dave.             As I said earlier, there's very

  10    few people I get on with, and I loved Dave.

  11         I don't know if you understand, but Dave was super

  12    charismatic.     Everyone -- everyone says:                       "Dave's my best

  13    friend."    I've never had anyone like that.                          So I utterly

  14    respected this guy and I trusted him because he's a brother.

  15    So no.     Wrong way around.

  16    Q.   You gained Ira's trust, did you not, Dr. Wright?

  17    A.   No.   Actually, I think Ira was basically trying to

  18    manipulate me into getting money out of me any way he could

  19    right from the beginning.           I think it's the other way around.

  20    I stopped trusting Ira when he started showing -- well, he was

  21    very manipulative.

  22               MR. FREEDMAN:      Ms. Vela, can you please put up 124.

  23               Can you zoom in to the bottom email.

  24               Is this in evidence?

  25

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 114 of 177
                                                                                         114


   1    BY MR. FREEDMAN:

   2    Q.   Dr. Wright, do you recognize this as an email from yourself

   3    to Ira Kleiman?

   4    A.   I do.

   5    Q.   Talking about his state of mind with you?

   6    A.   Yes.    Ira's basically setting me up to say:                    "Oh, you're so

   7    trusted."     And I'm actually completely stupid that way.                   I

   8    actually believe people.          My wife hates it.

   9                MR. FREEDMAN:     Your Honor, Plaintiffs offer P124 into

  10    evidence.

  11                MS. MCGOVERN:     No objection.

  12                THE COURT:   Admitted into evidence.

  13         (Plaintiffs' Exhibit 124 received into evidence.)

  14                THE COURT:   You may show the jury.

  15    BY MR. FREEDMAN:

  16    Q.   Dr. Wright, on February 18th, 2014, after you disclose the

  17    secrets of your and Dave Kleiman's work together, Ira responds:

  18    "After everything you have shared with me, I feel like I can

  19    completely trust you."

  20         You see that?

  21    A.   Yes.    Now I know how meaningless it was.

  22                MR. FREEDMAN:     Thank you, Ms. Vela.

  23    BY MR. FREEDMAN:

  24    Q.   Dr. Wright, you continued making Ira promises, didn't you?

  25    A.   No.    I made him offers.          In fact, later on, I offered him

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 115 of 177
                                                                                            115


   1    $12 million US for the shares.                I offered to pay him either

   2    completely up front in Bitcoin -- today's value of that

   3    Bitcoin, if he'd kept it, would be about $4.6 billion.                       Ira was

   4    offered $12 million either as Bitcoin or in three tranches,

   5    four million, four million, four million.

   6         Ira made a counteroffer.             He said:            "I want to keep the

   7    shares and the money."        And I said:               "It doesn't work that

   8    way." Ira then said:      "I want to do this in some special way

   9    where I don't pay tax." I have fought my life against the damn

  10    tax office, where I've got auditors and all the rest.                       No

  11    bloody way in hell was I not going to let him not pay tax to

  12    the damn IRS and not have a damn deduction.

  13         He turned down the $12 million at a time when I didn't have

  14    a lot of personal money myself.                 Company money is not mine.           My

  15    personal $12 million was nearly everything my family had.                        We

  16    scraped that together to get to him.                      And you can go, oh, my

  17    companies had it.      So bloody what?                 Company money is not mine.

  18               MR. FREEDMAN:      Your Honor, now's a good time for me to

  19    take a break, if it works for the Court.

  20               THE COURT:    All right.             Certainly.

  21               Ladies and Gentlemen, let's take our one-hour recess

  22    for lunch?

  23         (Jury not present, 12:59 p.m.)

  24               THE COURT:    Is there anything we need to address

  25    before we recess for lunch.

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 116 of 177
                                                                                           116


   1               MR. FREEDMAN:      Not from Plaintiffs, Your Honor.

   2               THE COURT:    All right.

   3               MS. MCGOVERN:      Not for Defendant.

   4               THE COURT:    Have a pleasant lunch.

   5         (Recess from 12:59 p.m. to 1:59 p.m.)

   6               THE COURT:    All right.             Welcome back.         I trust

   7    everyone had a pleasant lunch.

   8               Let me -- and go ahead and have a seat, everyone.

   9               Let me advise the attorneys that the courtroom deputy

  10    has advised me that Juror Number 7 is feeling ill and believes

  11    that she has a fever and would like to go home.

  12               MR. BRENNER:     Your Honor, what's the juror name on 7?

  13               MR. FREEDMAN:      Or where are they sitting?

  14               THE COURT:    Juror Number 7 is seated over on the first

  15    row, over to the right.         You should have your charts with

  16    regard to those individuals.

  17               MR. RIVERO:    Judge, that would be Ms. Coffie?

  18               THE COURT:    No.      Ms. Bustamante.

  19               MR. BRENNER:     Bustamante.

  20               THE COURT:    So we have own of two choices.                   We can

  21    adjourn early for the weekend or the parties can agree to

  22    excuse this individual.

  23               Now, let me remind you that we are on the heels of two

  24    days, one being a court holiday, second being a designated

  25    court holiday.     So that may give Ms. Bustamante an opportunity

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 117 of 177
                                                                                         117


   1    to recuperate.     But I did want to disclose that and hear from

   2    the attorneys.

   3               MR. FREEDMAN:      Your Honor, can we have just a minute

   4    or two to confer internally?

   5               THE COURT:    Yes.       Of course.

   6         (Pause in proceedings.)

   7               THE COURT:    Did you want Dr. Wright to join you at

   8    counsel table?

   9               MR. RIVERO:    Yes, Judge.               If --

  10               THE COURT:    Why don't you go ahead and do that, sir.

  11               MR. RIVERO:    Thank you.

  12               MR. FREEDMAN:      Your Honor, one last thing.                 We should

  13    have a seating chart.       We don't.             We are a little unclear as to

  14    who Ms. Bustamante is.

  15               THE COURT:    Do you have your seating chart that you

  16    can -- yeah.

  17               MR. RIVERO:    Judge, if it helps, she sits between

  18    Ms. Coffie on the far right and Mr. Cabrera, who's the next one

  19    to her left -- to her right.              Pardon me.

  20         (Pause in proceedings.)

  21               THE COURT:    All right.             Back on the record because it

  22    is after 2:00.     And as I stated, we do have a juror that

  23    feeling ill and would like to go home.                        So I would suggest is

  24    that since we only have three hours remaining, that it may be

  25    the better course to allow Ms. Bustamante to recuperate, to

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 118 of 177
                                                                                            118


   1    recess early.     It's unfortunate, but -- certainly we'll lose

   2    the three hours, and we can make that up as we progress next

   3    week.    Perhaps we can have the jury come in at 9:00 on certain

   4    mornings instead of 10:00.

   5               MR. RIVERO:    Judge, we've had a chance to consult and

   6    our view is that, especially in the middle of a pandemic -- we

   7    don't know what Ms. Bustamante's situation is.                        Of course,

   8    everybody hopes it's not COVID.                 We think it's better that she

   9    take care of what she needs to, we keep the group intact, and

  10    we certainly wouldn't want to get into a position where we

  11    start losing jurors later on.               I think it's wiser to see --

  12    hopefully, she can recover.

  13               MR. FREEDMAN:      Your Honor, Plaintiff agrees with you.

  14               THE COURT:    All right.             Then let's bring in the

  15    jurors.    We'll adjourn for the day and the week, and then we'll

  16    bring the jurors back on Monday at 10:00.

  17         (Before the Jury, 2:04 p.m.)

  18               THE COURT:    All right.             Welcome back, Ladies and

  19    Gentlemen.    Please be seated.

  20               And I was advised, Ms. Bustamante, that you are not

  21    feeling well.     And certainly we wish you well.                     And at this

  22    point in time I think the best course is for us to adjourn for

  23    the day, adjourn for the week.                Hopefully, everyone will remain

  24    healthy and safe.      And I certainly wish you well,

  25    Ms. Bustamante.     And I will see you on Monday morning -- on

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 119 of 177
                                                                                              119


   1    Monday morning, that is on the 15th, at 10:00 a.m.

   2               So I would ask that -- as with this morning, that you

   3    make your way into the building, be in the jury room by 9:45

   4    and ready to come into the courtroom.

   5               I wish each of you a pleasant holiday weekend.

   6               Please remember you're not to discuss this case with

   7    anyone, nor permit anyone to speak with you.                          You're not to

   8    conduct any independent research.                   Everything learned about the

   9    case is learned within the courtroom.

  10               Have a pleasant holiday weekend and I will see you

  11    here on Monday, November 15th, at 9:45.                         All right?

  12         (Jury not present, 2:06 p.m.)

  13               THE COURT:    All right.             Mr. Wright, go ahead and sit

  14    in counsel table with your attorneys.

  15               And go ahead and have a seat for just a moment.

  16               For purposes of scheduling, I was reminded by Liz that

  17    we -- recall that one of the jurors has a responsibility to

  18    take her child to school in the morning.                          And because of that,

  19    although we may be eager to start earlier than 10:00, it may

  20    not work on her end.      So I'm going to ask Liz to see when is

  21    the earliest.     But for Monday morning, the 15th, we'll plan

  22    on -- obviously, the courtroom will be open, but we'll plan on

  23    getting started at 10:00.           All right?

  24               Are there any issues that we need to address at this

  25    time?

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 120 of 177
                                                                                      120


   1               MR. BRENNER:     Judge, just one housekeeping matter.

   2               If you recall when we did the exhibit objections the

   3    other evening, we had five videos of Jimmy Nguyen.                    We've

   4    reached agreement.      We've withdrawn three and they don't object

   5    to the other two.      If I could read those in.

   6               THE COURT:    Certainly.

   7               MR. BRENNER:     So the two that are going -- this is the

   8    depo exhibits from Jimmy Nguyen -- it's our trial exhibits from

   9    Jimmy Nguyen's deposition.            The two that are going in are P511

  10    and P512.

  11               The ones that are being withdrawn are P460, P492, and

  12    P510.

  13               THE COURT:    All right.             Thank you, Mr. Brenner.

  14               MR. BRENNER:     I was making sure I'm reading my

  15    handwriting right.

  16               Yes.   I didn't know if I wrote a two or a seven.                  I

  17    had them right, Judge.

  18         (Plaintiffs' Exhibits 511 & 512 received into evidence.)

  19               THE COURT:    Okay.        Anything further on behalf of the

  20    Plaintiffs?

  21               MR. FREEDMAN:      No, Your Honor.

  22               THE COURT:    On behalf of the Defendant?

  23               MS. MCGOVERN:      (No verbal response.)

  24               MR. RIVERO:    (No verbal response.)

  25               THE COURT:    All right.             Everyone have a great weekend

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 121 of 177
                                                                              121


   1    and I'll see you bright and early Monday morning.

   2         (Proceedings concluded at 2:08 p.m.)

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Case 9:18-cv-80176-BB Document 844 Entered on FLSD Docket 12/20/2021 Page 122 of 177
                                                                              122


   1    UNITED STATES OF AMERICA                  )

   2    ss:

   3    SOUTHERN DISTRICT OF FLORIDA              )

   4                             C E R T I F I C A T E

   5                I, Yvette Hernandez, Certified Shorthand Reporter in

   6    and for the United States District Court for the Southern

   7    District of Florida, do hereby certify that I was present at

   8    and reported in machine shorthand the proceedings had the 10th

   9    day of November, 2021, in the above-mentioned court; and that

  10    the foregoing transcript is a true, correct, and complete

  11    transcript of my stenographic notes.

  12                I further certify that this transcript contains pages

  13    1 - 122.

  14                IN WITNESS WHEREOF, I have hereunto set my hand at

  15    Miami, Florida this 20th day of November, 2021.

  16

  17                            /s/Yvette Hernandez
                                Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
  18                            400 North Miami Avenue, 10-2
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                               63/18
Case 9:18-cv-80176-BB Document 844     69/12
                                   Entered      82/16
                                           on FLSD Docket 10:00   [5]Page118/4
                                                          12/20/2021      123 of 177
   COURT SECURITY              90/24                       118/16 119/1
                                                           119/19 119/23
   OFFICER: [1] 17/5          $                           10:08 [1] 17/10
   MR. BRENNER: [5]           $10 [1] 96/14
   116/12 116/19                                          10th [2] 11/18
                              $10.5 [1] 96/25              122/8
   120/1 120/7 120/14         $10.5 million [1]
   MR. FREEDMAN:                                          11 [2] 56/18 84/7
                               96/25                      114 [2] 2/13 2/13
   [203]                      $12 [4] 115/1
   MR. RIVERO: [6]                                        11:33 [2] 75/16
                               115/4 115/13                75/19
   116/17 117/9                115/15
   117/11 117/17                                          11:53 [2] 75/19
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   118/5 120/24                50/15
   MS. MCGOVERN: [75]                                     11th [5] 80/19
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   9/6 10/2 11/9               115/3
   11/23 12/17 18/4                                       120 [4] 2/14 2/14
                              $50 [2] 7/15                 2/14 2/14
   23/21 24/13 25/8            110/20
   25/21 27/7 29/3                                        122 [3] 1/8 2/2
   36/12 38/19 41/2           '                            122/13
   45/7 45/12 47/22           '17 [1] 50/5                124 [3] 2/13
   48/17 52/18 53/9           '7 [1] 63/21                 113/22 114/13
   54/2 54/4 55/21                                        12:59 [2] 115/23
   56/3 57/4 57/17
                              .                            116/5
   58/2 58/17 59/10           .net [1]      70/24         12th [1] 82/11
   59/13 62/20 63/16                                      13 [3] 32/16 51/1
                              /                            63/8
   64/13 64/25 65/13          /s/Yvette [1]
   66/20 68/12 69/10                                      14 [2] 28/5 84/8
                               122/17                     140 [2] 88/11 89/9
   72/23 73/3 74/8
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                               87/12
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   85/18 86/13 90/21                                       109/5 109/6 112/11
                               95/15
   93/5 93/9 93/20                                        151 [1] 42/13
                              10-2 [2] 1/24
   94/8 101/20 101/22          122/18                     152 [1] 43/1
   103/11 106/19                                          153 [1] 43/8
                              100 [1] 1/17
   114/11 116/3                                           15th [3] 119/1
                              1000 [1] 1/21
   120/23                                                  119/11 119/21
                              101 [1] 20/11
   THE COURT: [123]                                       16 [1] 71/11
                              101,000 [1] 89/11
   THE WITNESS: [10]                                      1652 [1] 97/1
                              102 [3] 21/16
   18/17 25/25 35/17                                      16th [3] 28/24
                               21/23 21/25
   52/23 57/18 59/15                                       29/11 30/21
                              103 [2] 2/13 2/13
                                                          17 [5] 2/6 33/25
                              99/4Entered
  1 9:18-cv-80176-BB Document 844
Case                                99/4on99/7
                                           FLSD Docket 2021         1/5
                                                              [3] Page
                                                       12/20/2021      124122/9
                                                                           of 177
  17... [3] 64/16     110/7                             122/15
   99/17 99/18       2012 [14] 28/12                   20th [5] 101/11
  175 [2] 2/13        28/13 38/13 44/17                 101/13 101/17
   103/13             46/21 49/7 50/2                   105/18 122/15
  18 [5] 47/17 55/14 64/1 64/10 89/8                   21 [1] 111/3
   91/6 91/16 96/22   99/8 99/9 99/9                   2113 [1] 56/18
  18th [2] 91/13      110/6                            215 [1] 28/5
   114/16            2013 [30] 31/12                   22 [1] 33/9
  19 [2] 35/7 65/4    38/13 39/11 44/17                222 [3] 44/22
  1998 [2] 63/19      46/21 49/7 50/14                  44/24 46/1
   63/25              62/15 64/11 77/24                222.1 [1] 60/11
  19th [1] 79/6       78/18 79/3 79/13                 222.2 [1] 44/24
  1:59 [1] 116/5      79/17 81/17 83/13                227 [1] 46/13
  1st [4] 11/17       91/20 95/10 96/10                22nd [2] 35/12
   11/20 44/17 49/7   96/11 99/13 99/14                 57/12
                      99/15 100/6 100/12               230 [1] 84/7
  2                   100/15 105/6 105/7               231 [1] 85/17
  2.1 [1] 45/20       105/13 105/16                    24 [1] 76/19
  2.3 million [1]    2014 [32] 28/24                   24th [2] 28/4
   87/12              29/11 30/21 33/9                  88/18
  20 [4] 23/14 71/11 35/13 65/19 68/21                 25 [2] 27/9 76/18
   71/22 75/17        70/11 76/11 80/19                2525 [1] 1/21
  20-minute [1]       81/8 81/18 82/11                 25th [2] 83/13
   75/15              82/11 88/18 91/13                 105/13
  200 [4] 1/14 89/9   99/16 100/20                     26 [5] 27/9 82/9
   102/19 102/21      100/23 101/11                     85/23 87/1 88/25
  2004 [3] 33/10      101/17 102/16                    26th [3] 77/24
   63/20 64/5         103/19 104/19                     78/17 105/6
  2006 [2] 63/21      105/3 105/9 105/18               27 [2] 67/11 68/8
   98/14              105/19 109/5 109/6               2800 [1] 1/17
  2008 [2] 27/19      112/11 114/16                    284 [1] 49/16
   27/24             2015 [9] 16/9                     28th [3] 65/19
  2009 [11] 49/25     48/22 54/17 56/11                 68/21 76/11
   92/9 92/9 92/10    56/14 57/11 57/13                29 [3] 2/9 2/9
   92/10 98/21 98/22  99/16 100/21                      24/8
   98/23 98/24 110/8 2016 [8] 38/1                     29th [1] 79/13
   111/12             43/24 47/11 47/12                2:00 [1] 117/22
  2010 [8] 49/25      48/13 48/22 50/5                 2:04 [1] 118/17
   72/8 89/3 92/10    60/8                             2:06 [1] 119/12
   92/10 92/10 92/11 2017 [1] 49/4                     2:08 [1] 121/2
   98/25             2019 [3] 28/4 84/7                2nd [4] 1/17 5/18
  2011 [8] 27/20      85/17                             6/9 6/9
   27/25 34/10 89/8  2020 [1] 110/1
  3 9:18-cv-80176-BB Document502
Case                              Entered56/17
                              844 [1]     on FLSD Docket 9:45         119/3
                                                                [2] Page
                                                         12/20/2021      125 of 177
  300 [1] 4/22               511 [2] 2/14                 119/11
  305 [1] 122/19              120/18                     9:50 [2]      1/6 3/1
                             512 [2] 2/14
  30th [16] 3/12
                              120/18
                                                         A
   5/17 6/8 6/8 39/11                          a.m [8] 1/6 3/1
   44/17 49/7 56/11          523-5698 [1]
                              122/19            17/10 75/16 75/19
   56/14 79/3 79/7                              75/19 75/25 119/1
   79/14 79/17 81/17         54 [1] 84/16
                             55 [3] 2/11 2/11  ability [2] 8/3
   82/10 105/7                                  87/24
  32 [2] 55/6 56/17           85/16
                             5500 [1] 1/14     able [9] 8/19 12/5
  33128 [2] 1/24                                12/6 12/20 48/4
   122/18                    565 [2] 2/10 48/1
                             5698 [1] 122/19    72/11 78/13 89/16
  33131 [2] 1/14                                95/17
   1/17                      5th [2] 11/20
                              31/12            about [64] 4/24
  33134 [1] 1/22                                8/4 8/5 9/10 11/6
  36 [1] 42/7                6                  11/6 11/14 13/8
  38 [2] 2/9 2/9             6,080,550 [3] 87/4 13/24 14/23 15/1
  39 [1] 51/2                 88/8 89/1         16/17 18/23 28/11
  4                          604 [2] 2/10 41/5  30/11 32/8 34/10
  40 [2] 2/10 110/25         606 [1] 56/21      37/7 38/6 44/23
  400 [3] 1/24 112/7         61 [2] 31/8 31/10  45/2 54/8 61/13
   122/18                    637 [3] 2/12 93/7  61/14 63/8 63/23
  403 [4] 4/6 13/22           94/12             64/18 65/10 70/22
   57/4 58/2                 68 [2] 2/11 2/11   72/14 73/9 74/22
  41 [2] 2/10 91/20          6th [5] 54/17      77/6 77/8 78/20
  43 [1] 26/6                 103/19 104/19     79/25 80/3 80/5
  44 [4] 44/20 45/25          105/3 105/19      80/7 80/12 80/12
                                                81/15 82/10 82/10
   60/1 60/10                7                  86/9 99/6 102/16
  45 [1] 28/3                744 [2] 2/9 29/5
  469 [2] 2/11 55/23                            104/20 105/3 105/8
                             795 [3] 2/9 38/23  105/18 106/17
  47 [7] 2/10 46/11           45/9
   67/9 68/4 68/6                               106/25 107/9 109/7
                             7th [1] 70/11      110/12 110/16
   69/2 76/16
  48 [1] 2/10                8                  110/17 112/5 113/2
  4th [5] 5/19 6/10          800 [1] 112/6      113/4 114/5 115/3
   6/10 84/7 85/16           851,000 [1] 87/13  119/8
                             86 [2] 2/12 2/12  above [3] 46/15
  5                          87 [1] 97/13       51/17 122/9
  50 [4] 16/9 34/21                            above-mentioned [1]
   111/18 112/4              9                   122/9
  50-50 [1] 34/21            94 [2] 2/12 2/12  absconding [1]
  50-percent [1]             9:00 [1] 118/3     59/2
   34/19                     9:18-cv-80176-BB  academic [3] 36/7
                              [1] 1/2
Case                          52/14
  A 9:18-cv-80176-BB Document 844     57/15
                                  Entered      59/21
                                          on FLSD         11/12 13/13
                                                  Docket 12/20/2021       13/18
                                                                    Page 126 of 177
  academic... [2]             60/15 66/4 67/17            23/22 29/4 38/22
   72/1 110/13                67/22 70/24 71/3            41/4 47/25 55/22
  Academy [1] 73/12           71/10 71/20 75/9            68/14 86/14 94/11
  accept [1] 60/16            77/20 83/24 86/23           103/12 114/12
  accepted [1] 72/1           87/23 87/24 89/16          admitting [1] 4/13
  access [15] 3/19            89/18 92/7 97/10           advance [4] 29/24
   3/24 3/25 4/7 4/11         106/9 107/4 108/3           62/5 63/1 79/4
   4/25 5/11 5/13             108/7 109/15               advice [2] 6/21
   5/21 5/22 8/2 8/3          109/21 111/17               108/12
   8/10 8/14 46/16            111/18 111/24              advise [1] 116/9
  accessed [1] 3/23           112/7 113/17 114/7         advised [7] 10/5
  account [12] 3/18           114/8                       10/7 10/7 10/14
   3/19 3/22 4/8 4/18        add [1] 3/15                 11/14 116/10
   5/3 5/4 5/6 5/11          addition [1] 32/5            118/20
   18/14 51/11 109/9         additional [1]              advising [1]
  acquired [4] 46/17          102/16                      101/12
   91/21 97/23 97/25         Additionally [1]            affairs [1] 43/3
  acquiring [1] 97/8          13/5                       affirmative [1]
  acquisition [2]            address [21] 3/6             78/15
   33/14 34/16                17/6 17/23 18/1            Africa [1] 72/15
  acquisitions [1]            18/11 19/6 19/17           after [27] 3/11
   97/21                      19/18 20/2 20/4             3/14 5/14 6/1 6/7
  acquitted [1]               20/5 22/20 22/21            12/12 12/16 27/20
   59/23                      37/5 55/3 55/6              27/25 53/4 57/13
  across [3] 4/22             56/18 56/23 75/21           59/19 64/23 67/17
   71/4 71/11                 115/24 119/24               76/24 76/25 90/18
  act [2] 97/1               addressed [4]                95/24 98/10 106/2
   111/16                     17/23 22/17 24/14           106/16 108/20
  acting [1] 13/10            41/10                       109/7 109/13
  action [7] 44/2            addresses [2]                114/16 114/18
   44/2 44/4 44/5             22/11 56/1                  117/22
   49/25 92/21 105/25        adjourn [4] 116/21          again [15] 12/24
  actual [6] 22/11            118/15 118/22               20/3 25/20 34/19
   34/9 44/10 44/13           118/23                      58/11 61/16 62/21
   92/21 99/22               administrative [1]           67/7 70/24 77/16
  actually [53] 9/16          49/16                       82/16 90/24 97/3
   18/12 19/15 20/25         admission [2] 4/4            99/13 99/14
   21/2 21/8 22/19            4/8                        against [13] 6/22
   24/25 26/3 32/1           admissions [3]               13/1 13/15 25/22
   34/13 36/25 37/1           3/21 6/18 10/9              40/8 40/13 83/14
   37/2 37/2 40/4            admit [3] 3/20               95/4 98/14 101/14
   40/5 40/11 50/3            71/9 72/3                   105/13 105/23
                             admitted [15] 2/8            115/9
                              118/18
  A 9:18-cv-80176-BB Document 844
Case                                   119/11
                                  Entered on FLSD Docket AMANDA     Page 1/20
                                                         12/20/2021[1]   127 of 177
  agents [1] 30/7             119/13 119/23              ambiguity [1] 12/8
  ago [2] 5/9 64/8            120/13 120/25              AMERICA [1] 122/1
  agree [1] 116/21           allegation [1]              American [4] 97/10
  agreement [4]               95/19                       105/8 107/17
   21/20 51/11 107/13        allegations [1]              107/18
   120/4                      61/17                      among [1] 92/5
  agreements [4]             allege [2] 42/21            amount [3] 13/11
   30/3 31/14 31/15           61/14                       87/11 87/16
   104/16                    alleged [2] 13/24           amounts [1] 97/5
  agrees [1] 118/13           14/8                       analysis [1] 42/3
  ahead [5] 3/4              allow [7] 15/18             analyzed [2] 60/24
   116/8 117/10               25/24 59/14 63/17           61/1
   119/13 119/15              65/14 102/6 117/25         ANDRES [1] 1/19
  Al [2] 87/19 89/18         allowed [2] 15/19           Andresen [1] 26/3
  algorithmic [1]             98/17                      ANDREW [18] 1/16
   70/21                     almost [1] 46/5              36/17 51/25 52/6
  alive [3] 76/23            along [4] 10/3               53/1 53/2 53/2
   77/4 108/23                20/9 20/19 87/6             53/17 65/18 67/3
  all [73] 3/4 4/10          alpha [1] 71/9               67/6 68/24 76/11
   4/16 4/20 4/21 5/1        already [11] 4/13            76/14 86/19 91/17
   7/21 9/4 11/24             5/1 10/23 35/7              91/19 103/25
   13/23 15/4 15/23           35/25 45/9 52/4            Andrew's [1] 52/13
   16/2 16/19 17/2            70/8 85/4 88/14            angry [1] 21/1
   17/4 17/14 20/7            100/3                      animosity [2] 15/5
   21/20 30/24 42/15         also [28] 18/10              15/5
   42/17 44/4 53/2            18/13 18/14 33/12          announcing [1]
   56/1 56/1 56/5             34/25 39/17 42/20           79/13
   58/21 59/21 61/1           43/4 47/8 49/20            annoyed [1] 35/24
   61/12 66/8 67/16           67/13 67/25 68/24          anomalies [1] 61/1
   71/4 71/25 73/7            70/1 73/6 73/11            another [5] 7/9
   75/14 75/17 75/20          73/13 76/13 81/13           25/1 98/23 99/2
   76/1 77/10 77/14           81/22 85/5 87/22            99/8
   77/18 78/6 78/11           92/5 94/4 107/21           ANSI [1] 87/7
   78/15 83/11 83/20          108/18 108/20              answer [11] 15/20
   84/1 85/10 85/11           112/11                      16/14 25/9 27/3
   88/8 92/7 94/16           altered [2] 43/9             52/19 52/21 69/7
   104/15 110/1               61/6                        74/1 85/10 99/20
   110/16 110/20             although [1]                 111/11
   111/13 111/22              119/19                     answered [11] 53/9
   112/22 115/10             always [2] 79/20             59/11 59/13 63/16
   115/20 116/2 116/6         79/20                       65/13 69/10 72/23
   117/21 118/14             am [3] 74/7 74/23            73/3 90/2 90/2
                              75/1                        106/20
  A 9:18-cv-80176-BB Documentapplications
Case                          844 Entered on FLSD         120/7 120/9
                                               [1]Docket 12/20/2021       120/9
                                                                    Page 128 of 177
  answers [2] 26/19           87/25                       120/11 120/11
   107/8                     apply [1] 97/4              arguable [1] 49/21
  Anti [1] 94/25             appointed [1] 49/3          argue [1] 60/17
  Anti-Avoidance [1]         appropriate [1]             argued [2] 50/5
   94/25                      15/11                       66/6
  any [27] 10/18             approved [1] 84/2           arguing [1] 8/23
   11/5 13/3 13/3            approximately [4]           argument [3] 11/2
   17/6 20/5 24/5             34/19 88/10 96/14           27/8 66/13
   24/5 28/15 35/24           96/25                      Argumentative [1]
   58/17 69/19 69/20         April [17] 28/4              64/13
   74/16 75/20 79/4           31/12 35/12 77/24          arises [4] 95/9
   80/12 95/13 97/4           78/17 79/3 79/6             100/6 100/11
   98/18 105/25 110/5         79/7 79/13 79/14            100/11
   110/8 112/3 113/18         79/17 81/17 82/9           arises for [1]
   119/8 119/24               82/10 84/7 85/16            100/11
  anyone [7] 83/21            88/18                      arose [1] 49/19
   110/8 111/5 111/6         architecture [1]            around [9] 14/6
   113/13 119/7 119/7         69/19                       79/16 86/2 92/4
  anything [17] 6/17         are [77] 3/6 3/17            92/8 105/15 113/8
   8/11 8/20 18/5             4/1 4/3 4/5 4/10            113/15 113/19
   26/1 26/4 58/12            4/12 4/14 4/17             article [3] 19/10
   79/25 80/3 80/7            4/20 4/21 4/21              19/23 20/1
   80/12 84/23 85/8           4/22 4/24 5/2 6/18         as [118] 1/3 3/20
   106/24 109/22              6/25 9/8 9/16 9/22          4/2 4/4 4/8 5/8
   115/24 120/19              10/16 10/25 11/9            7/22 8/24 8/25
  anywhere [1] 28/14          11/12 11/24 12/23           10/9 10/14 15/2
  apart [1] 59/1              13/14 15/19 15/23           15/15 15/17 16/11
  APIs [2] 88/1 88/2          16/19 16/22 18/11           18/23 19/13 21/3
  apologies [1]               18/14 20/22 20/22           22/9 22/13 22/19
   93/13                      21/20 21/22 23/2            24/16 24/18 27/8
  apologize [5]               26/2 30/2 31/12             27/24 28/12 28/23
   17/14 18/8 50/3            31/14 39/2 43/23            29/12 29/12 30/18
   53/3 74/13                 45/24 50/12 54/13           30/24 33/14 34/20
  appeal [1] 101/5            58/19 66/7 70/20            36/3 36/3 36/5
  appear [1] 8/23             70/21 71/13 72/5            36/16 37/11 37/21
  Appearances [1]             73/18 73/22 77/20           40/17 41/17 42/3
   1/12                       78/13 81/9 88/8             43/16 44/13 50/23
  appeared [1] 26/8           91/13 94/16 96/3            51/10 52/25 53/24
  appears [1] 8/15            100/15 104/9                54/13 55/2 55/12
  Apple [1] 21/10             111/23 112/12               56/18 58/23 59/15
  application [1]             112/22 116/13               59/23 60/23 61/2
   97/1                       116/23 117/13               63/18 67/2 67/6
                              118/20 119/24               67/6 67/7 68/23
                              40/8Entered
  A 9:18-cv-80176-BB Document 844
Case                                42/22    43/5Docket auditing
                                          on FLSD                   [1]12999/22
                                                        12/20/2021 Page    of 177
  as... [55] 69/15           43/8 44/8 44/14           auditor [5] 48/24
   69/20 70/16 72/19         46/20 47/18 48/24          49/1 49/3 59/17
   72/19 73/2 73/7           48/25 49/2 51/4            59/19
   73/21 74/23 75/8          51/9 58/25 59/2           auditors [3] 50/6
   76/13 76/13 79/3          60/13 60/19 60/20          50/24 115/10
   80/9 80/9 80/21           61/4 61/5 66/17           audits [19] 38/6
   81/19 82/6 82/13          76/12 94/22 95/24          98/14 98/24 98/25
   83/18 83/18 86/2          99/10 100/23               99/1 99/2 99/3
   86/7 87/5 87/18           101/17 102/4               99/4 99/5 99/6
   89/7 89/11 90/5           102/15 104/19              99/14 99/15 99/17
   92/17 92/24 94/23         105/3 105/16               99/18 100/16
   95/12 95/16 95/17         105/18 106/16              100/18 100/20
   96/6 100/22 101/13        109/7                      102/19 102/21
   102/12 102/15            ATO's [2] 42/2             Auscript [3] 67/23
   102/18 103/2 103/5        49/6                       68/19 91/11
   104/20 106/7 106/7       attach [2] 22/24           AusIndustry [1]
   108/13 109/14             29/21                      63/19
   110/5 113/9 114/2        attached [2] 66/17         Australia [10]
   115/4 117/13              104/15                     50/5 52/14 57/13
   117/22 118/2 119/2       attaches [1] 60/22          58/16 67/23 79/6
  ask [9] 13/20             attaching [3]               79/14 90/20 98/5
   15/12 15/19 16/4          36/20 36/22 65/22          99/21
   16/13 58/5 78/12         attachment [4]             Australian [64]
   119/2 119/20              29/13 37/17 44/11          28/12 36/17 37/8
  asked [16] 9/8             52/7                       37/11 37/22 38/5
   9/14 12/17 18/23         attempt [1] 51/9            39/3 39/3 39/18
   53/9 59/10 59/13         attempted [1] 61/2          40/3 40/17 40/18
   63/16 65/13 69/6         attempting [1]              41/8 41/8 41/15
   69/10 72/23 73/3          95/12                      41/23 42/8 43/14
   74/22 104/14             attend [1] 20/19            44/22 45/16 46/12
   106/19                   attended [1] 20/21          47/5 48/6 48/6
  asking [3] 5/20           attorneys [3]               50/19 51/19 52/13
   105/18 106/16             116/9 117/2 119/14         54/9 54/12 54/20
  asks [3] 76/23            audit [24] 37/8             55/4 57/9 58/11
   105/3 109/7               37/11 39/9 40/19           59/7 59/16 60/8
  ASM [1] 87/7               41/9 41/17 49/1            61/13 65/23 66/2
  assets [2] 80/8            58/21 98/11 98/14          67/2 68/20 76/10
   87/21                     98/19 98/20 98/21          76/22 83/25 91/12
  assignment [1]             98/22 98/23 99/13          92/6 92/18 93/1
   55/12                     99/23 102/15               93/17 94/18 94/18
  assume [1] 47/9            104/20 104/23              95/2 95/8 96/2
  ATO [36] 36/21             108/10 108/11              96/15 96/24 98/4
                             109/15 109/15              98/11 98/13 98/16
                              89/15
  A 9:18-cv-80176-BB Document 844
Case                                  89/16
                                  Entered                 109/19 110/3
                                          on FLSD Docket 12/20/2021 Page 130115/3
                                                                             of 177
  Australian... [4]  Baraka [2] 87/19                     116/17 117/24
   103/4 103/23 107/9 89/18                               118/19 119/3
   108/2             based [3] 51/6                       119/19 119/22
  authentication [7]  97/7 97/21                         BEACH [1] 1/2
   38/20 45/8 47/23  baseless [1] 59/24                  bearing [2] 13/9
   68/13 93/5 93/10  basically [11]                       13/13
   94/9               21/8 39/23 43/21                   beautiful [3]
  autism [1] 7/6      64/6 70/20 82/8                     17/12 73/18 73/19
  autistic [1] 14/24  97/3 99/10 111/8                   became [1] 82/6
  autonomous [1]      113/17 114/6                       because [42] 3/13
   30/7              basing [1] 88/2                      4/22 6/17 9/1 10/7
  Avenue [2] 1/24    basis [4] 21/4                       12/15 20/4 31/22
   122/18             51/17 59/12 101/21                  44/3 46/15 66/7
  average [1] 89/10  Batey [1] 60/21                      66/9 71/4 71/12
  Avoidance [1]      BB [1] 1/2                           72/9 74/3 80/2
   94/25             BBC [1] 20/21                        87/23 89/15 89/19
  aware [4] 4/15     be [87] 4/6 4/7                      91/17 92/12 95/20
   4/25 5/12 11/24    6/21 6/22 7/10                      98/22 99/9 101/19
  away [1] 77/24      8/24 8/25 10/6                      107/8 107/17
  AWK [1] 87/8        10/12 10/15 11/1                    107/18 108/17
  Ayre [4] 7/14 7/15  11/12 11/13 12/4                    108/23 110/3 110/8
   16/8 16/12         12/6 12/9 12/15                     111/20 111/20
                      12/17 12/24 12/25                   112/9 112/15
  B                   13/9 13/13 13/15                    112/17 112/20
  back [38] 3/4       13/16 13/16 13/17                   113/14 117/21
   17/15 26/9 33/4    13/18 13/20 13/21                   119/18
   38/9 39/20 43/20   16/18 17/11 23/19                  become [1] 111/16
   56/20 57/12 57/14  26/8 27/2 27/3                     becoming [1] 63/21
   57/21 60/7 60/9    28/15 29/23 32/7                   been [26] 3/22
   63/25 66/18 67/19  32/21 34/9 34/11                    3/25 4/13 9/8 9/9
   68/2 68/6 70/3     38/22 41/3 46/6                     9/18 11/10 14/9
   70/14 71/15 74/1   46/7 47/24 48/8                     14/23 27/10 41/16
   74/4 75/17 75/20   52/24 52/25 52/25                   43/9 46/7 51/8
   76/1 85/8 91/7     54/10 58/22 62/4                    54/7 57/14 58/1
   96/18 99/10 100/19 62/25 63/12 66/7                    69/6 91/21 100/15
   109/15 109/15      72/1 72/11 73/2                     106/2 108/3 108/4
   110/20 116/6       76/3 79/19 82/23                    108/15 109/23
   117/21 118/16      82/23 84/2 85/3                     112/8
   118/18             85/13 89/16 93/21                  before [37] 1/10
  bad [1] 13/10       94/11 95/16 95/17                   6/2 6/4 6/5 6/20
  badly [1] 14/6      95/17 95/21 96/6                    8/5 11/24 11/25
  banking [6] 87/19   98/17 107/17                        17/10 26/9 30/8
   87/19 88/6 89/7    109/10 109/18                       36/24 38/8 44/3
                              109/25
  B 9:18-cv-80176-BB Document 844
Case                                                      81/10 82/5
                                  Entered on FLSD Docket 12/20/2021 Page 82/10
                                                                         131 of 177
  before... [23]             below [3] 41/15              89/18 89/19 95/13
   44/15 46/10 48/5           41/17 79/12                 95/14 95/14 95/16
   48/8 58/19 58/20          beside [1] 9/20              95/21 97/4 98/22
   58/25 61/12 62/15         best [10] 6/6 90/6           98/23 109/8 110/3
   63/18 75/25 77/2           90/6 90/7 90/7              110/9 110/14
   77/6 80/11 82/2            90/8 108/15 112/19          110/25 111/2 111/3
   100/19 105/11              113/12 118/22               111/9 111/13
   105/19 105/22             betfair.com [1]              111/22 112/6
   105/25 108/6               87/2                        112/22 115/2 115/3
   115/25 118/17             BETH [1] 1/10                115/4
  beforehand [1]             betrayed [1] 21/4           bites [1] 49/3
   7/25                      better [9] 70/13            blamed [2] 20/25
  began [1] 11/17             71/3 71/10 73/23            21/5
  begin [1] 108/20            73/24 102/10               block [4] 30/8
  beginning [4]               102/11 117/25               31/18 110/23
   48/22 91/8 104/22          118/8                       110/23
   113/19                    between [22] 7/9            blockchain [3]
  behalf [5] 2/4              11/20 15/6 19/2             30/4 30/11 31/14
   46/18 76/12 120/19         19/3 31/6 35/9             bloody [2] 115/11
   120/22                     42/22 48/22 57/22           115/17
  behavior [1] 51/18          66/8 67/3 68/20            BLOOM [1] 1/10
  behind [4] 10/6             73/16 81/17 89/10          board [1] 102/7
   21/2 81/9 107/12           95/14 97/5 98/3            Bob [1] 34/9
  being [11] 3/21             98/4 104/16 117/17         BOIES [1] 1/15
   4/1 4/5 9/14 10/19        big [2] 69/13               bold [4] 25/2 25/4
   17/13 19/4 36/23           112/4                       26/11 47/16
   116/24 116/24             billion [4] 16/3            books [3] 27/20
   120/11                     72/12 112/6 115/3           27/25 108/8
  belief [1] 3/22            billions [1]                bootstrap [2]
  believe [20] 4/7            111/19                      110/10 111/23
   6/22 7/18 9/16            Biscayne [1] 1/14           bootstrapped [1]
   14/10 15/5 18/21          bit [3] 37/7 75/10           112/4
   31/19 31/22 40/2           86/3                       boss [1] 36/25
   54/10 57/12 58/6          Bitcoin [56] 13/3           both [9] 18/13
   75/9 76/6 77/20            16/23 30/3 30/8             34/20 50/6 50/24
   89/24 91/2 106/3           31/13 32/6 32/20            54/9 73/13 87/21
   114/8                      33/15 34/6 34/16            98/17 108/11
  believed [1] 8/9            36/2 49/25 63/12           bottom [7] 16/18
  believes [1]                64/20 69/9 70/18            25/3 35/12 79/2
   116/10                     70/21 71/7 71/21            87/13 91/16 113/23
  believing [1] 62/7          72/8 72/18 72/21           Boulevard [1] 1/21
  belonging [1]               73/17 75/1 77/13           brackets [1] 25/7
                              77/17 80/1 80/4            breach [2] 39/21
                              99/18
  B 9:18-cv-80176-BB Document 844
Case                              Entered on FLSD Docket Calvin     Page 7/14
                                                         12/20/2021[4]   132 of 177
  breach... [1]              build [6] 64/19     7/15 16/8 16/12
   43/21                      75/8 75/11 87/24  came [7] 32/9
  break [3] 26/8              87/25 88/1         39/20 43/20 52/23
   75/13 115/19              building [2] 14/7   58/14 73/22 98/14
  Breakdown [1] 87/5          119/3             camera [1] 10/19
  breaking [1]               built [1] 31/15    can [241]
   112/15                    bullets [1] 30/9   can't [10] 24/11
  BRENNER [2] 1/16           bullied [3] 14/5    66/13 67/17 80/5
   120/13                     14/24 15/2         87/24 92/8 97/9
  bright [1] 121/1           bullying [2] 14/25  102/3 102/5 109/17
  brighter [1] 79/21          15/3              cannot [5] 8/24
  Brigid [1] 60/20           burns [1] 14/7      8/25 46/6 60/23
  bring [49] 19/9            burnt [1] 16/19     78/5
   23/3 24/7 24/24           bury [1] 108/15    capacity [1] 53/24
   26/6 31/5 31/8            business [5] 32/25 capital [1] 84/1
   31/10 32/16 36/10          55/3 63/13 63/24  care [1] 118/9
   39/6 40/15 41/12           108/12            carried [1] 100/20
   42/6 44/2 44/2            Bustamante [7]     Carter [6] 78/20
   44/19 45/19 45/25          116/18 116/19      79/3 79/12 79/24
   46/11 49/10 54/24          116/25 117/14      82/3 82/12
   55/14 55/24 56/20          117/25 118/20     case [29] 1/2 4/9
   60/9 61/16 61/20           118/25             6/19 7/3 7/5 8/6
   63/4 63/9 64/15           Bustamante's [1]    10/10 11/10 11/12
   67/9 69/1 70/7             118/7              12/14 13/2 13/2
   75/24 76/5 76/16          buy [3] 66/9 89/14  13/3 13/6 13/7
   88/13 89/23 91/15          111/14             13/18 13/21 16/1
                                                 40/8 49/4 58/24
   95/23 96/18 101/8         C                   58/25 70/19 70/20
   102/23 106/11             Cabrera [1] 117/18 99/11 103/7 105/23
   109/1 110/20              Caley [2] 22/14
   118/14 118/16                                 119/6 119/9
                              25/16             casino [3] 77/14
  brings [1] 92/21           call [17] 3/1 21/8 77/17 87/1
  broad [1] 9/10              21/13 31/19 32/16 casinos [1] 77/19
  broadcasted [1]             33/25 39/7 46/1
   4/20                                         catch [2] 41/7
                              46/13 49/12 51/2   94/17
  broke [1] 58/15             72/6 72/10 88/20
  broken [1] 91/23                              categorically [1]
                              96/22 97/18 100/1  82/17
  brother [3] 108/24         called [9] 14/1
   108/24 113/14                                cc [1] 86/8
                              14/2 14/24 28/1   cc's [1] 103/25
  brother's [1]               47/5 48/9 63/19
   75/11                                        Celeste [1] 60/19
                              64/2 64/9         cell [2] 31/21
  brought [5] 48/24          calling [1] 92/1
   50/2 50/4 65/11                               31/23
                             callout [1] 90/12 cells [1] 31/22
                              117/15
  C 9:18-cv-80176-BB Document 844
Case                                                      21/25 28/3
                                  Entered on FLSD Docket 12/20/2021 Page 84/15
                                                                         133 of 177
  cent [2] 72/13             charts [1] 116/15            85/15
   72/16                     cherry [1] 49/4             close [3] 79/3
  certain [4] 37/12          Chesher [9] 36/18            81/11 105/23
   92/6 93/19 118/3           67/4 76/13 77/1            closed [3] 49/4
  certainly [8]               86/8 103/3 103/15           50/24 99/5
   15/11 93/12 115/20         103/22 104/3               closes [1] 59/20
   118/1 118/10              chief [1] 11/13             Cloudcroft [1]
   118/21 118/24             child [2] 15/2               96/3
   120/6                      119/18                     CLR [1] 122/17
  Certificate [1]            choices [1] 116/20          co [1] 61/14
   2/2                       circumstances [5]           co-created [1]
  Certified [1]               12/1 12/20 46/15            61/14
   122/5                      54/11 58/19                CO1N [8] 39/10
  certify [2] 122/7          citizen [1] 77/19            40/19 40/22 40/23
   122/12                    claim [16] 7/6               41/10 44/16 47/8
  cetera [2] 57/22            39/17 44/1 44/7             49/6
   106/3                      46/24 50/1 51/5            code [44] 35/5
  CFO [4] 36/18               51/10 51/16 61/9            36/4 36/6 36/9
   86/18 103/22 106/6         83/14 92/20 95/19           69/19 69/19 69/21
  CFOs [1] 106/3              98/6 98/17 100/11           70/3 70/5 70/6
  chain [2] 19/3             claim's [1] 59/24            70/16 70/18 71/9
   36/16                     claimed [4] 50/23            71/23 72/18 72/20
  chance [2] 25/13            51/21 58/10 96/14           73/7 73/8 73/15
   118/5                     claiming [5] 4/19            73/16 73/17 73/19
  changes [3] 40/10           8/25 10/1 10/21             84/20 85/1 85/2
   43/18 72/17                50/14                       85/2 85/3 85/7
  changing [1] 77/20         claims [9] 44/3              85/23 86/21 86/25
  channel [5] 8/2             92/5 95/9 96/10             87/3 88/9 88/24
   8/3 8/10 10/5              97/6 97/20 98/21            89/1 89/2 89/4
   74/23                      100/12 100/14               89/11 89/11 89/13
  character [3] 14/1         classify [1] 73/2            89/21 90/10 90/11
   14/3 14/3                 Clayton [3] 53/17            90/18
  characterized [1]           53/25 97/15                coded [3] 69/22
   24/16                     cleanly [1] 59/20            75/10 90/5
  charge [2] 50/22           clearly [4] 3/24            coder [14] 36/3
   107/14                     12/25 13/9 16/21            36/6 70/17 72/4
  charged [1] 36/25          click [1] 31/21              72/22 73/2 73/6
  charges [1] 59/22          client [7] 6/17              89/20 89/22 89/24
  charismatic [1]             10/17 10/18 10/19           89/25 90/1 90/6
   113/12                     11/5 11/22 12/10            90/9
  Charles [1] 73/11          client's [1] 6/22           coding [7] 36/6
  chart [2] 117/13           clip [8] 20/9                70/12 73/14 73/15
                              20/11 21/16 21/23           75/4 88/10 88/11
                              3/21Entered
  C 9:18-cv-80176-BB Document 844
Case                                4/1 on4/25
                                            FLSD Docket computers    [3]
                                                        12/20/2021 Page     66/7
                                                                        134 of 177
  Coffie [2] 116/17          community [1] 9/7           66/10 71/5
   117/18                    companies [28]             conceived [5] 34/3
  coin [16] 28/14             37/9 37/12 38/2            34/7 34/14 34/18
   28/16 31/15 33/17          38/13 40/22 41/11          64/19
   34/17 34/20 64/2           50/24 51/25 56/2          concept [3] 32/6
   64/9 64/21 81/16           56/13 56/15 57/24          32/20 63/11
   82/7 91/24 96/3            58/21 84/4 90/19          concluded [1]
   97/20 107/24               92/5 92/5 95/14            121/2
   111/18                     96/14 97/5 98/3           conclusion [4]
  Coin-Exch [13]              98/5 98/11 99/5            10/13 22/1 46/16
   28/14 28/16 33/17          100/24 101/2               58/14
   34/17 34/20 64/2           108/14 115/17             concurrent [2]
   64/9 64/21 81/16          companies' [1]              100/15 100/18
   82/7 91/24 96/3            99/19                     concurrently [1]
   107/24                    company [28] 28/1           102/22
  Coin-Exch.'s [1]            36/18 40/19 40/21         condition [1]
   97/20                      40/23 40/24 63/19          16/10
  coins [4] 16/2              64/1 64/1 64/8            conditions [1]
   16/18 16/22 111/23         64/9 77/13 77/14           31/16
  colleague [1] 79/5          77/17 77/17 83/22         conduct [2] 58/24
  collected [1]               83/25 87/20 88/2           119/8
   10/24                      97/7 99/8 107/15          conducted [3] 3/21
  Collectively [1]            107/24 108/9               37/8 98/11
   96/6                       108/13 110/6              confer [1] 117/4
  column [1] 87/11            115/14 115/17             conflated [1]
  come [9] 5/23 17/2         Compared [1] 72/5           58/22
   52/15 58/7 58/18          compares [1] 14/1          confuses [1] 35/4
   66/5 99/10 118/3          complete [3] 52/20         confusing [2] 85/5
   119/4                      90/8 122/10                85/25
  coming [3] 77/1            completed [1]              connected [4] 32/7
   104/19 104/23              98/15                      32/21 63/12 66/4
  comment [1] 26/12          completely [14]            connection [3]
  commerce [1] 72/17          28/9 29/22 58/22           13/3 13/8 20/23
  commissioned [1]            59/24 62/17 62/24         Conrad [6] 78/20
   60/21                      81/19 82/16 84/5           79/3 79/12 79/24
  commissioner [1]            105/21 107/4 114/7         82/3 82/12
   36/24                      114/19 115/2              consents [1]
  communicating [1]          completing [1]              104/15
   8/9                        98/15                     consider [5] 49/18
  communication [1]          complex [6] 36/5            49/19 49/21 51/17
   106/5                      72/19 89/7 89/11           73/17
  communications [3]          89/16 112/17              considers [1]
                             computer [1] 71/11          97/21
                              110/13
  C 9:18-cv-80176-BB Document 844
Case                                                      70/6 72/22
                                  Entered on FLSD Docket 12/20/2021 Page 74/24
                                                                         135 of 177
  constantly [1]             contradicting [1]            75/9 76/14 77/18
   14/5                       16/22                       78/18 78/19 78/21
  constitute [1]             control [8] 16/1             79/15 80/1 80/4
   3/10                       19/5 20/2 33/13             80/8 80/13 80/14
  constitutes [1]             34/15 56/4 56/7             80/19 80/20 81/18
   87/16                      90/19                       86/19 86/22 87/17
  consult [1] 118/5          controlled [11]              88/5 88/7 88/10
  contact [4] 80/18           42/20 56/14 95/10           90/20 94/24 95/11
   81/18 105/9 108/22         95/24 100/7 100/13          98/12 100/21
  contacted [2]               100/16 107/10               100/25 101/23
   105/11 105/22              107/11 107/16               102/4 105/7 105/10
  contain [1] 43/4            108/13                      105/14 106/18
  contains [1]               controlling [2]              111/16 122/10
   122/12                     57/23 109/20               correctly [1] 67/8
  contending [1]             controls [1] 56/2           correspondence [3]
   8/15                      conversation [2]             20/6 42/22 43/4
  content [2] 21/25           4/4 9/16                   corresponding [1]
   61/6                      conversations [2]            108/21
  contention [3]              3/18 32/19                 corruption [1]
   41/18 43/9 62/8           coordinate [1]               36/25
  contentions [2]             22/15                      cost [1] 72/13
   43/10 46/5                copies [2] 104/16           costs [1] 97/7
  contents [1] 93/23          112/3                      could [26] 10/6
  context [4] 4/6            copy [2] 87/22               18/16 35/3 48/8
   10/3 10/9 10/14            107/14                      52/18 58/18 69/25
  continue [7] 17/16         Coral [1] 1/22               70/6 70/13 70/25
   23/25 52/22 76/4          core [4] 87/19               71/10 71/15 73/7
   77/13 101/12               88/6 89/7 89/14             89/14 102/6 105/23
   101/24                    cores [2] 66/8               105/25 107/5
  continued [4] 2/6           71/11                       108/13 110/25
   17/18 43/24 114/24        corner [2] 39/4              111/1 112/7 112/8
  continues [2] 6/18          94/19                       112/9 113/18 120/5
   96/24                     correct [69] 9/2            couldn't [3] 7/16
  continuing [1]              9/3 21/7 26/16              70/5 112/2
   100/18                     27/17 27/23 29/20          counsel [17] 6/14
  contract [4] 30/3           30/14 30/17 30/23           10/18 19/10 20/14
   31/13 110/11               33/23 34/8 34/9             21/20 22/6 28/18
   111/10                     43/15 43/16 50/21           74/5 74/7 77/25
  contracted [3]              52/12 54/17 54/22           80/16 84/6 86/5
   29/24 62/5 62/25           58/12 59/9 60/15            93/14 102/24 117/8
  contracts [5] 32/7          61/15 64/20 64/22           119/14
   32/20 33/9 63/12           64/24 66/3 66/19           counsel's [2] 7/8
                              67/24 68/4 70/5             14/25
  C 9:18-cv-80176-BB Documentcraig.wright
Case                                                      48/15 56/9
                                               [1]Docket 12/20/2021
                              844 Entered on FLSD                   Page 57/12
                                                                         136 of 177
  counteroffer [1]            18/12              78/18 103/19
   115/6                     Craigs [1] 18/11    104/25 105/15
  countries [1]              create [7] 29/22   dated [7] 28/24
   57/22                      30/7 62/17 62/24   29/11 38/15 60/8
  couple [1] 91/7             69/8 69/12 80/2    70/11 79/3 88/18
  course [7] 12/14           created [6] 46/19 Dave [114] 13/3
   32/19 41/17 117/5          51/9 61/14 84/3    27/16 27/22 28/2
   117/25 118/7               110/25 111/22      28/8 28/14 29/18
   118/22                    creating [7] 28/9   30/14 30/23 30/24
  court [45] 1/1              29/18 30/14 30/17  32/2 32/5 32/9
   1/23 1/23 3/1 7/25         30/23 62/4 69/18   33/1 33/10 33/12
   8/23 10/14 11/5           creation [1] 80/1   34/6 34/10 34/11
   11/14 14/15 16/1          credible [1] 54/10 34/11 34/25 35/2
   17/17 21/21 24/15         credit [3] 35/14    35/15 35/21 35/23
   44/4 46/10 48/23           35/14 65/7         36/1 36/8 61/15
   48/25 49/3 50/2           credits [2] 37/13   61/24 62/3 62/15
   50/2 50/5 59/17            97/20              62/16 62/23 63/20
   59/18 73/25 78/3          cross [1] 12/10     63/22 64/1 64/5
   94/10 95/1 95/3           cross-examine [1]   64/9 64/19 64/23
   98/16 99/9 99/11           12/10              65/8 67/11 68/4
   105/23 105/24             CRR [1] 122/17      68/8 69/8 69/12
   105/25 106/1 106/2        crud [4] 70/12      69/12 69/19 70/5
   106/5 106/6 108/6          70/16 71/12 73/20  70/6 70/13 71/15
   115/19 116/24             CSR [1] 122/17      71/21 71/25 73/6
   116/25 122/6 122/9        CSW [1] 74/23       73/7 73/7 74/15
  Court's [2] 8/22           cured [1] 12/9      75/4 75/8 75/9
   25/22                     cursor [1] 24/25    75/11 76/23 77/17
  courtroom [5] 9/13         cut [2] 7/13 31/22 77/24 78/17 79/4
   116/9 119/4 119/9         cv [1] 1/2          79/17 79/19 79/20
   119/22                    CW [4] 26/16 95/10 80/5 80/12 80/24
  covered [1] 7/10            100/13 100/16      81/9 81/10 81/13
                                                 81/13 81/16 82/4
  covers [1] 38/12           D                   82/11 85/11 89/2
  COVID [1] 118/8            D042 [1] 78/23
  CPU [2] 71/5 71/6                              89/8 89/13 89/20
                             D61 [1] 31/23       89/22 89/23 89/25
  CPUs [1] 71/6              daily [1] 21/4
  craig [20] 1/7 2/5                             90/1 90/5 90/6
                             damages [1] 13/2    105/6 107/9 107/11
   17/23 18/12 18/24         damn [3] 115/9
   19/6 20/2 22/19                               107/12 107/16
                              115/12 115/12      107/21 107/22
   22/21 26/25 27/3          data [2] 33/14
   31/12 55/16 76/13                             107/24 108/1 108/3
                              34/16              108/16 108/23
   95/10 95/25 97/24         date [11] 5/25
   97/24 98/4 100/7                              109/8 109/24 110/7
                              33/5 47/10 48/13   111/5 111/15
  D 9:18-cv-80176-BB Documentdecision
Case                          844 Entered[18]             53/25 54/1
                                          on FLSD Docket 12/20/2021 Page 54/11
                                                                         137 of 177
  Dave... [6] 112/19          37/21 38/14 39/2            54/14 56/2 56/7
   113/2 113/9 113/10         44/14 45/17 45/17           56/7 63/19
   113/11 114/17              45/23 46/12 59/8           Denariuz [1] 96/5
  Dave's [16] 16/18           60/5 60/7 92/17            department [1]
   69/20 76/25 77/3           92/19 92/22 96/25           40/10
   77/19 79/13 79/25          100/24 101/3               depo [1] 120/8
   80/3 80/8 80/9             101/14                     deposition [9]
   80/12 80/18 106/17        decisions [2]                20/9 21/17 21/21
   109/22 112/22              48/16 48/20                 28/4 28/5 84/6
   113/12                    deduct [1] 98/18             85/16 85/17 120/9
  David [6] 1/4 34/3         deduction [2]               deputy [1] 116/9
   34/14 34/18 35/2           66/10 115/12               Des [6] 39/25 67/3
   63/14                     deed [1] 55/12               76/12 103/3 103/22
  day [10] 1/9 6/1           deep [1] 113/8               104/3
   6/2 21/25 48/19           Defendant [8] 1/8           described [1]
   82/8 118/15 118/23         1/18 3/11 6/18 7/3          46/17
   122/9 122/15               75/23 116/3 120/22         describing [1]
  days [9] 78/21             Defendant's [1]              64/7
   105/19 106/2               10/25                      designated [1]
   106/16 109/7              Defendants [6]               116/24
   109/13 109/16              3/10 3/16 4/14             Despite [1] 60/25
   109/17 116/24              4/24 5/10 6/20             detail [1] 35/24
  de [1] 1/21                Defense [4] 1/4             details [4] 20/3
  dead [4] 15/25              86/9 86/22 91/22            28/25 104/15
   108/5 108/7 108/24        definitely [2]               105/12
  deal [5] 7/13 7/16          19/19 109/24               determination [2]
   7/17 16/8 16/12           definition [1]               25/23 40/11
  dear [3] 53/12              44/6                       determine [2] 6/15
   79/5 110/19               degree [1] 98/15             39/9
  death [3] 76/24            degrees [1] 98/18           determined [2]
   76/25 79/13               delay [1] 17/14              13/17 27/10
  debugging [1] 87/5         deleted [1] 110/2           develop [6] 34/11
  decade [3] 32/6            Delhi [2] 55/6               34/15 35/3 64/10
   33/1 63/14                 56/17                       64/23 73/14
  deceased [1] 78/18         deliberately [1]            developed [12]
  deceive [1] 46/20           51/8                        27/21 28/1 32/25
  December [8] 43/24         demonstrated [5]             34/25 35/16 35/21
   57/13 92/10 92/11          40/6 40/9 43/18             63/13 63/24 63/25
   98/24 99/2 99/6            44/3 52/25                  64/5 65/8 70/22
   99/9                      demonstrates [1]            developers [1]
  decided [2] 53/25           51/18                       70/2
   99/21                     DeMorgan [11]               developing [5]
                              40/23 53/12 53/13           28/13 32/6 35/5
                              107/12
  D 9:18-cv-80176-BB Document 844
Case                                   107/13
                                  Entered on FLSD Docket discussion
                                                         12/20/2021 Page[1]
                                                                         138 of 177
  developing... [2]           107/18 108/23               59/5
   63/18 73/16                110/5 110/6 110/7          dishonestly [1]
  development [3]             110/8 111/2 114/24          51/8
   33/13 36/4 69/18           115/13 120/16              disprove [1] 60/22
  DEVIN [1] 1/13             died [3] 62/15              disputed [1] 8/2
  devised [1] 83/25           77/2 77/6                  disputes [1] 54/12
  did [62] 4/11 5/13         dies [4] 78/17              disregard [2]
   5/21 5/22 5/23             79/17 82/9 105/6            49/20 51/19
   8/11 8/20 19/5            difference [4]              distribute [1]
   19/15 19/20 20/1           35/4 69/13 73/16            112/2
   20/19 26/20 26/22          83/21                      distributed [3]
   29/12 32/7 35/1           different [7]                30/2 31/13 92/4
   36/6 37/9 37/10            10/19 18/15 33/16          DISTRICT [7] 1/1
   39/18 39/25 46/8           57/22 85/23 90/2            1/1 1/10 1/23
   49/21 50/23 51/6           90/3                        122/3 122/6 122/7
   51/13 52/2 53/3           differently [3]             DIVISION [3] 1/2
   53/8 54/18 56/7            9/5 11/18 11/21             49/16 97/1
   56/10 57/9 60/13          difficult [1]               DKIM [2] 61/3 61/6
   61/4 61/5 61/5             112/13                     do [163]
   64/5 64/23 69/8           digital [1] 87/21           document [55]
   69/12 69/24 72/3          diligence [2]                17/22 20/8 20/14
   72/8 76/23 80/5            11/25 12/19                 23/11 23/18 23/22
   83/17 84/20 84/22         direct [3] 2/6               23/24 24/11 25/14
   84/23 96/15 100/5          17/18 93/24                 26/1 26/4 26/5
   101/3 109/23              directly [3] 12/13           26/17 26/21 27/11
   109/25 111/20              13/5 13/6                   27/21 28/2 29/21
   113/3 113/16 117/1        director [4] 53/12           35/22 36/19 36/22
   117/7 120/2                53/25 55/17 104/14          38/1 38/7 38/7
  didn't [52] 6/11           directors [1]                39/5 40/10 40/18
   8/4 8/15 9/17 10/6         42/23                       40/20 41/9 42/2
   10/17 19/14 19/19         directors/represent          44/18 45/18 47/4
   20/3 28/14 31/1           atives [1] 42/23             47/7 48/5 48/8
   31/3 31/4 31/19           disagree [1] 8/1             48/11 49/9 50/7
   35/3 35/24 44/2           disclose [5] 6/11            54/2 54/4 55/2
   48/17 52/11 53/4           6/16 8/22 114/16            56/25 62/20 67/13
   57/17 58/12 60/14          117/1                       68/25 72/2 74/17
   60/15 62/8 66/3           disclosed [3] 9/1            89/3 92/1 93/24
   66/15 67/24 71/11          11/13 11/13                 94/17 97/13 106/4
   73/24 77/16 79/25         disclosure [1]               108/5
   80/2 80/3 80/7             7/25                       documentation [9]
   85/8 89/25 89/25          discuss [1] 119/6            35/2 35/3 46/19
   101/4 102/17              discussed [3] 16/8           69/14 69/17 69/25
                              32/19 63/11                 73/19 73/21 99/20
                              69/6Entered
  D 9:18-cv-80176-BB Document 844
Case                                71/5on73/17         85/16 106/14
                                           FLSD Docket 12/20/2021 Page 139 of 177
  documented [1]              74/3 75/7 76/18           drawn [1] 104/10
   87/4                       80/5 80/6 82/23           dressed [1] 21/9
  documents [18]              89/10 89/15 93/23         drives [4] 109/24
   23/1 40/1 40/4             93/23 101/5 102/5          112/12 112/20
   40/7 40/14 43/14           102/18 102/22              112/22
   43/23 51/8 52/11           105/15 107/13             dropped [3] 40/8
   52/15 52/23 53/8           109/23 112/6               40/13 44/4
   54/8 58/15 59/8            113/11 115/9              due [2] 11/25
   61/12 61/13 74/9           117/10 117/13              12/19
  does [13] 19/5              118/7 120/4               during [7] 3/12
   19/7 19/16 19/25          done [14] 3/25              3/20 13/11 13/19
   22/25 25/13 26/18          12/19 13/20 39/23          14/22 43/25 48/23
                              40/6 58/9 70/24
   35/23 48/21 65/25
                              71/3 71/10 73/23
                                                        E
   69/15 89/10 95/21                                    each [11] 13/14
  doesn't [14] 7/25           77/9 87/20 109/16
                              112/9                      17/11 17/12 21/25
   9/15 10/10 35/23                                      34/19 38/21 61/3
   48/16 48/20 60/18         door [1] 15/1
                             down [38] 14/7              71/6 83/19 101/11
   62/9 64/12 89/19                                      119/5
   97/10 110/16               14/15 14/16 16/11
                              19/9 19/22 21/14          eager [1] 119/19
   112/23 115/7                                         earlier [5] 6/12
  dog [2] 110/18              21/22 27/14 34/23
                              37/4 39/15 42/17           6/23 95/12 113/9
   111/8                                                 119/19
  dogs [1] 111/9              47/1 50/24 51/22
                              55/8 57/6 66/18           earliest [1]
  doing [11] 11/25                                       119/21
   31/19 34/12 47/18          69/3 74/14 75/3
                              75/11 77/22 81/20         early [4] 71/17
   72/16 73/22 82/23                                     116/21 118/1 121/1
   99/21 108/12               87/11 87/13 90/12
                              90/14 90/15 98/8          earn [2] 111/3
   108/12 111/7                                          111/25
  doll [1] 21/12              99/5 99/6 99/19
                              105/23 106/3              earth [1] 90/6
  dollars [1] 111/20                                    easel [1] 78/14
  domains [1] 18/15           109/21 115/13
                             Dr [11] 5/8 23/6           easier [3] 32/17
  don't [58] 5/25                                        42/15 108/4
   13/4 14/10 17/25           30/20 39/2 47/4
                              51/25 58/10 78/17         Economist [1]
   18/18 19/3 19/4                                       20/21
   20/5 20/25 21/2            96/14 105/5 114/24
                             Dr. [214]                  edit [3] 35/3
   22/3 22/16 22/23                                      70/13 71/15
   23/1 24/6 24/17           Dr. Craig [2]
                              97/24 97/24               edited [3] 35/23
   26/5 26/17 26/17                                      43/14 69/13
   31/3 31/19 32/4           Dr. Wright [201]
                             Dr. Wright's [11]          editing [3] 35/4
   37/24 38/1 38/8                                       69/13 69/17
   38/15 40/20 48/8           7/6 9/22 16/22
                              21/17 28/4 31/6           Edman [1] 5/8
   53/19 57/11 66/14                                    education [1]
                              74/2 74/2 74/15
                              103/3
  E 9:18-cv-80176-BB Document 844
Case                                  103/5
                                  Entered      103/15
                                          on FLSD         97/9 100/7
                                                  Docket 12/20/2021 Page 100/13
                                                                         140 of 177
  education... [1]            103/19 103/22               100/16 101/12
   98/17                      104/3 106/23                103/6
  effective [1]               107/20 109/6 109/6         entitled [5] 23/6
   54/14                      113/23 114/2                29/11 37/12 50/16
  Effectively [1]            emails [12] 33/5             88/18
   99/19                      42/21 43/3 43/8            entitlement [1]
  eight [5] 100/14            43/9 43/18 60/19            51/14
   109/7 109/13               60/22 60/23 61/1           entity [1] 98/4
   109/16 109/17              61/2 61/4                  entry [1] 24/17
  eighth [1] 98/15           encrypted [3]               environment [1]
  either [5] 18/4             112/12 112/20               9/15
   43/8 61/4 115/1            112/22                     equity [2] 53/20
   115/4                     encryption [1]               53/22
  electronic [3]              112/15                     equivalent [6]
   42/9 45/2 46/5            end [12] 14/7                44/1 44/6 44/7
  electronically [1]          14/16 44/7 48/22            45/24 50/22 111/9
   44/23                      59/5 89/12 89/12           Ernst [1] 108/11
  elegant [2] 73/16           92/12 92/12 100/23         erroneous [1]
   73/17                      106/9 119/20                105/21
  eleven [1] 106/10          ended [5] 30/15             error [2] 82/25
  elicited [3] 8/7            34/12 36/23 39/11           87/18
   9/8 12/5                   99/17                      errors [1] 26/2
  eligibility [1]            ends [1] 54/19              especially [1]
   39/10                     engaged [1] 43/17            118/6
  else [3] 7/17              engagement [3]              ESQ [9] 1/13 1/13
   83/21 111/5                53/13 54/1 54/13            1/16 1/16 1/19
  email [58] 17/23           enhance [1] 69/24            1/19 1/20 1/20
   18/1 18/11 18/24          enhanced [4] 36/1            1/21
   19/1 19/3 19/4             69/8 77/9 77/17            estate [6] 1/4
   19/6 19/14 19/15          enhancement [2]              13/4 80/8 80/10
   19/17 19/18 19/21          69/25 70/4                  107/10 107/11
   20/2 22/9 22/11           enough [2] 68/1             estimate [1] 16/9
   22/13 22/16 22/24          101/7                      et [2] 57/22 106/3
   23/4 28/23 29/7           enterprise [1]              Ethereum [4]
   29/10 30/21 35/9           50/1                        111/17 111/17
   35/12 36/14 36/16         entire [4] 14/5              111/18 112/4
   36/17 42/22 60/21          69/21 73/8 89/14           ethics [1] 6/15
   61/23 62/3 65/15          entirety [1]                evaluated [1]
   65/22 70/10 79/12          108/16                      37/11
   80/21 82/2 86/7           entities [16] 7/13          even [7] 9/23 13/4
   86/10 86/18 88/4           42/20 43/3 43/11            19/20 36/9 60/24
   88/17 88/21 103/2          91/23 95/10 95/24           71/18 95/14
                              96/3 96/6 96/7             evening [1] 120/3
                              68/11
  E 9:18-cv-80176-BB Document 844
Case                                  68/15
                                  Entered      68/16
                                          on FLSD         116/22 Page 141 of 177
                                                  Docket 12/20/2021
  event [1] 67/17            70/8 76/6 78/24           execute [1] 57/9
  events [2] 20/23           79/9 79/10 81/2           executed [3] 57/16
   22/15                     81/2 81/4 81/5             57/20 58/15
  eventually [5]             81/22 82/13 86/12         exhibit [29] 3/11
   14/6 21/6 28/14           86/14 86/15 88/14          3/13 3/14 3/16
   58/11 72/11               90/22 91/2 93/3            4/14 4/16 4/24 5/2
  eventuated [1]             93/7 94/7 94/11            5/10 5/14 9/1
   37/2                      94/12 94/13 100/9          10/23 11/10 12/15
  ever [4] 21/11             103/10 103/12              18/23 24/18 29/5
   57/23 90/1 90/10          103/13 106/12              38/23 41/5 48/1
  every [9] 67/16            109/2 113/24               55/23 62/11 68/16
   86/3 92/7 92/7            114/10 114/12              74/6 86/15 94/12
   92/12 95/18 99/18         114/13 120/18              103/13 114/13
   110/11 111/2             ex [2] 2/8 107/15           120/2
  everybody [1]             ex-wife [1] 107/15         exhibits [9] 3/9
   118/8                    exact [5] 5/25 7/2          4/17 8/22 11/9
  everyone [10] 3/2          49/24 50/1 105/15          11/11 11/24 120/8
   3/3 56/17 78/15          exactly [5] 12/1            120/8 120/18
   113/12 113/12             12/3 12/19 82/25          exist [5] 19/20
   116/7 116/8 118/23        105/19                     62/8 62/9 66/1
   120/25                   EXAMINATION [2]             66/3
  everything [6]             2/6 17/18                 expense [1] 111/5
   21/5 40/13 58/13         examine [1] 12/10          experience [1]
   114/18 115/15            example [5] 12/3            69/20
   119/8                     12/5 21/23 21/25          expert [4] 6/15
  evidence [86] 4/14         28/8                       60/13 66/5 112/21
   7/22 8/25 9/19           Except [1] 64/12           experts [1] 43/17
   10/10 15/16 15/18        Exch [13] 28/14            explain [3] 14/21
   18/21 23/23 24/18         28/16 33/17 34/17          110/11 110/19
   27/6 29/2 29/4            34/20 64/2 64/9           explained [1]
   29/5 31/9 32/11           64/21 81/16 82/7           28/25
   35/7 36/11 38/18          91/24 96/3 107/24         explaining [1]
   38/22 38/23 39/18        Exch.'s [1] 97/20           69/16
   41/1 41/4 41/5           exchange [8] 32/6          explains [2] 41/23
   42/9 45/3 45/6            32/20 33/15 33/18          49/5
   45/10 46/6 47/21          34/16 35/9 63/12          explanation [2]
   47/25 48/1 48/25          64/20                      9/12 41/19
   49/1 50/4 50/7           exclude [1] 13/22          exploited [1]
   52/4 54/5 55/20          excluded [1] 4/6            85/14
   55/22 55/23 57/3         excluding [1] 87/1         explore [3] 30/2
   58/13 60/2 60/17         exclusively [1]             31/12 82/21
   60/17 62/1 65/20          46/5                      extend [1] 72/11
                            excuse [2] 27/7            extended [1] 72/8
                              98/5Entered
  E 9:18-cv-80176-BB Document 844
Case                                105/11     115/15
                                          on FLSD         110/21 110/22
                                                  Docket 12/20/2021 Page 142 of 177
  extent [5] 13/5            far [2] 80/9                Fifty [1] 52/12
   13/14 15/12 15/20          117/18                     figure [1] 12/19
   28/16                     fast [1] 106/7              file [4] 23/4
  external [3] 85/12         father [1] 106/18            92/13 105/16
   108/10 108/10             fault [2] 17/14              107/19
  extra [1] 56/15             43/22                      filed [8] 83/13
  extrapolate [1]            February [19]                83/18 92/5 92/7
   10/13                      28/24 29/11 30/21           92/9 92/9 93/19
  extremely [1] 36/4          80/19 81/8 81/18            105/13
  eyes [1] 14/4               82/11 82/11 91/13          files [2] 109/11
                              102/16 103/19               109/19
  F                           104/19 105/3 105/9         filing [3] 19/20
  fabricate [1]               105/19 109/5 109/6          22/1 106/9
   58/12                      112/11 114/16              filings [2] 63/20
  fabricated [8]             February 11th [5]            106/10
   39/18 39/25 40/4           80/19 81/8 81/18           fill [1] 20/3
   40/7 46/7 52/24            82/11 105/9                final [2] 65/15
   53/7 58/14                February 12th [1]            92/22
  fabricating [1]             82/11                      finalization [2]
   52/10                     February 14th [3]            3/11 3/14
  Facebook [1] 90/7           109/5 109/6 112/11         finalized [1] 5/15
  fact [22] 9/22             February 16th [2]           finally [2] 64/11
   10/8 13/17 13/18           28/24 29/11                 106/3
   13/21 18/10 19/17         February 18th [2]           find [13] 11/3
   20/1 24/12 25/15           91/13 114/16                12/6 78/20 79/17
   25/22 26/18 27/10         February 6th [4]             80/8 82/9 105/6
   41/18 58/14 60/16          103/19 104/19               110/21 111/8 111/9
   63/8 64/18 66/10           105/3 105/19                112/16 112/17
   85/23 112/21              February of [1]              112/18
   114/25                     102/16                     finding [7] 50/25
  facts [5] 42/3             feel [1] 114/18              59/18 59/21 59/23
   45/22 45/24 51/5          feeling [3] 116/10           59/23 110/18 111/8
   51/17                      117/23 118/21              finds [1] 110/22
  factual [1] 58/20          felt [2] 6/16 6/21          fine [2] 78/2
  fair [2] 73/2              FERNANDEZ [1] 1/21           94/21
   101/7                     Ferrier [4] 31/1            finish [1] 89/6
  false [10] 44/3             31/4 31/7 62/15            finished [1]
   46/20 49/18 50/11         fever [1] 116/11             107/20
   50/12 50/13 50/19         few [2] 54/20               fire [3] 49/2
   50/20 53/2 98/6            113/10                      54/17 54/18
  family [10] 80/12          fiancee [1] 105/22          fired [6] 37/1
   80/18 91/22 97/22         Fido [5] 110/19              37/2 48/25 52/10
   97/22 98/3 98/3            110/19 110/20               53/7 59/19
                              94/5Entered
  F 9:18-cv-80176-BB Document 844
Case                                95/23                 38/19 45/7
                                          on FLSD Docket 12/20/2021 Page 47/22
                                                                         143 of 177
  firm [7] 49/1              foregoing [1]                68/13 93/6 93/10
   52/13 53/17 53/21          122/10                      93/11 93/21 94/8
   53/23 54/7 108/11         foreign [1] 97/9            founder [1] 21/10
  firms [1] 108/10           forensic [9] 39/22          founders [1] 112/5
  first [39] 11/19            40/6 40/6 40/8             founding [2] 34/20
   12/2 12/6 26/11            43/17 43/23 48/21           34/21
   26/11 26/14 29/8           60/19 60/25                four [14] 4/17
   34/1 37/16 38/10          forensics [1]                11/10 61/1 78/20
   39/7 44/10 44/18           69/22                       87/1 88/6 98/24
   47/7 47/16 47/16          forged [2] 59/8              99/1 99/4 99/5
   48/24 55/5 56/25           61/13                       99/8 115/5 115/5
   59/19 60/4 66/24          forget [1] 110/12            115/5
   67/13 67/19 71/20         Forgive [1] 82/9            frame [1] 82/17
   74/1 74/2 80/18           forgotten [1]               frankly [3] 6/14
   82/3 98/14 100/3           31/18                       70/12 72/21
   104/6 105/9 105/11        form [8] 28/9               fraud [7] 36/25
   105/19 108/22              29/23 30/3 31/13            48/25 49/2 50/7
   110/11 110/22              62/17 62/24 95/1            50/25 59/18 59/20
   116/14                     110/16                     fraudulently [1]
  first-year [1]             formal [2] 94/23             46/20
   110/11                     95/3                       freak [1] 14/24
  five [9] 3/9 3/15          formalized [1]              FREEDMAN [9] 1/12
   99/2 99/9 102/19           64/11                       1/13 2/6 9/9 10/14
   105/19 106/2              forth [4] 26/9               12/23 13/23 17/21
   106/16 120/3               27/8 57/13 57/21            21/19
  five-year [1]              Fortran [1] 87/8            friend [4] 79/5
   102/19                    forum [1] 9/7                79/20 112/20
  fled [1] 58/16             forward [3] 17/3             113/13
  FLEXNER [1] 1/15            21/24 58/7                 friendly [1] 83/18
  FLORIDA [9] 1/1            forwarded [1]               friends [3] 63/21
   1/14 1/17 1/22             80/23                       79/3 79/25
   1/24 122/3 122/7          forwarding [1]              friendship [1]
   122/15 122/18              103/3                       81/15
  flsd.uscourts.gov          fought [2] 95/22            front [8] 14/10
   [2] 1/25 122/19            115/9                       22/3 52/1 58/22
  flying [1] 57/12           found [13] 40/4              68/5 94/23 95/2
  focus [1] 106/14            43/14 48/25 49/1            115/2
  following [4] 32/2          50/19 53/3 58/11           full [2] 15/10
   62/16 62/23 104/9          59/8 60/25 66/2             106/4
  follows [1] 87/5            66/4 78/18 109/19          fun [1] 7/7
  font [1] 25/2              foundation [15]             function [1] 69/15
  Footnote [3] 94/4           13/16 13/20 20/8           fund [1] 107/12
                              23/25 25/9 25/11           funded [1] 84/1
                              106/3
  F 9:18-cv-80176-BB Document 844
Case                              Entered on FLSD Docket good   [16]Page3/2
                                                         12/20/2021          3/2
                                                                         144 of 177
  funds [1] 112/17   gives [1] 7/3                        17/11 17/12 17/20
  Funny [1] 67/18    giving [2] 26/19                     17/21 36/9 69/22
  further [4] 34/11   112/4                               71/12 71/13 72/20
   98/18 120/19      glasses [1] 14/3                     75/12 79/20 89/24
   122/12            global [1] 72/17                     89/25 115/18
                     go [46] 3/4 20/14                   goods [1] 95/17
  G                   23/14 25/6 28/20                   Google [1] 90/7
  GAAR [4] 92/18      31/24 32/10 32/11                  got [26] 6/6 6/8
   94/22 94/23 94/25  33/19 35/7 35/24                    6/9 6/10 7/15
  Gables [1] 1/22     37/16 38/3 38/9                     14/23 23/1 29/13
  gained [1] 113/16   42/18 44/10 46/13                   53/2 67/16 72/6
  Games [1] 56/8      48/4 50/8 51/1                      84/3 84/23 85/11
  gave [2] 71/17      52/6 60/1 60/4                      86/21 86/25 87/6
   111/22             62/11 66/15 66/24                   88/24 91/16 111/4
  Gavin [5] 26/3      67/19 68/6 70/8                     111/6 111/6 111/7
   36/4 70/17 72/6    81/24 88/15 91/5                    111/7 112/17
   73/21              91/6 93/15 95/6                     115/10
  general [3] 75/1    96/20 99/17 99/25                  government [38]
   79/5 94/25         109/3 115/16 116/8                  28/12 37/8 39/3
  generous [1]        116/11 117/10                       39/18 39/20 39/22
   111/16             117/23 119/13                       39/23 39/23 40/3
  Gentlemen [5]       119/15                              40/9 40/12 40/17
   75/14 76/2 78/13  goes [6] 7/1 7/6                     41/8 41/23 43/14
   115/21 118/19      7/9 25/22 59/17                     44/1 44/2 45/2
  genuine [1] 61/2    100/19                              46/4 46/12 47/5
  get [22] 7/16 10/8 going [46] 3/12                      48/6 49/5 50/19
   16/10 17/15 20/5   6/13 10/12 10/14                    54/20 55/4 57/9
   20/8 24/11 25/10   10/19 12/14 12/24                   58/11 59/7 59/16
   29/8 66/11 71/1    12/25 13/9 13/15                    60/8 92/6 94/18
   71/13 71/25 72/15  13/18 14/16 15/4                    95/15 98/11 98/13
   84/23 104/4 105/17 15/7 15/17 20/7                     98/16 101/6
   107/18 108/1       20/8 23/21 24/10                   government's [3]
   113/10 115/16      24/13 27/3 28/15                    42/8 45/16 95/2
   118/10             29/11 29/17 57/21                  GQ [5] 20/22 21/6
  gets [2] 110/21     58/22 59/3 59/18                    21/7 21/12 23/20
   110/23             62/11 64/21 65/20                  great [2] 75/4
  getting [3] 70/2    66/23 72/11 82/20                   120/25
   113/18 119/23      84/6 92/11 105/5                   Greyfog [5] 27/21
  give [9] 41/7       105/17 108/6 108/6                  28/2 83/25 85/4
   60/13 60/17 60/17  109/15 111/8                        86/2
   106/24 107/4 107/5 115/11 119/20                      ground [1] 38/21
   111/15 116/25      120/7 120/9                        group [7] 4/13
  given [2] 105/12   gone [1] 46/10                       4/23 5/10 26/24
Case                          99/11
  G 9:18-cv-80176-BB Document 844     99/13
                                  Entered      99/14
                                          on FLSD         54/12 57/14
                                                  Docket 12/20/2021       59/22
                                                                    Page 145 of 177
  group... [3] 91/23          99/19 101/13       69/13 73/7 75/9
   108/13 118/9               105/23 106/2       83/19 83/20 87/4
  groups [2] 4/22             107/25 108/3 108/7 88/3 90/5 90/10
   110/16                     108/9 108/10       94/10 101/6 111/17
  GSC [1] 97/1                108/11 108/12      111/19 116/10
  GST [20] 93/19              108/23 108/23      116/11 119/17
   95/9 95/13 95/19           109/9 109/22      hates [1] 114/8
   95/21 95/21 96/10          109/24 111/15     have [107] 3/4
   96/11 97/4 97/9            113/8 113/13       3/22 4/15 5/1 5/10
   98/5 98/6 98/21            115/15 115/17      8/2 8/7 8/8 8/10
   100/6 100/12               116/7 118/5 120/3  9/4 9/8 9/9 9/18
   105/16 105/23              120/17 122/8       10/5 10/17 11/4
   106/8 106/8 106/9         hadn't [1] 58/10    11/18 11/21 12/18
  guess [2] 6/6              half [8] 29/8       12/19 13/25 14/9
   107/5                      81/17 82/21 100/3  14/10 17/4 18/12
  guy [3] 14/14               105/10 111/1 111/2 18/13 18/18 20/9
   108/7 113/14               112/8              21/1 22/3 23/1
  guy's [1] 36/25            halfway [1] 74/14   23/23 25/13 26/2
  guys [4] 72/6 72/7         hand [6] 69/18      28/14 32/4 36/4
   110/4 110/20               71/17 87/6 87/15   41/16 45/22 49/2
                              88/13 122/14       49/21 51/8 51/12
  H                          handed [1] 106/3    57/14 58/9 58/21
  hacked [3] 39/24           handwrite [2]       66/8 68/5 70/25
   40/12 43/22                71/18 71/20        71/3 71/5 71/6
  had [85] 6/16 9/5          handwriting [3]     71/10 72/5 72/19
   10/4 11/4 11/19            82/9 101/19 120/15 73/10 73/20 73/23
   11/21 16/10 25/13         Hao [1] 60/20       79/2 79/5 80/9
   26/23 26/24 27/1          happen [6] 8/6      83/22 87/1 87/21
   31/18 32/25 34/10          26/20 26/22 77/16  88/25 89/9 89/19
   37/14 39/25 40/4           110/6 110/7        95/21 95/21 96/17
   40/5 42/21 48/21          happened [10] 7/16 100/14 104/14
   48/25 49/3 51/13           9/6 26/1 26/24     104/15 107/13
   53/3 61/6 63/13            40/12 68/23 77/12  108/4 108/15
   63/24 64/4 64/6            82/24 83/2 83/2    109/21 109/23
   66/5 66/6 69/19           happening [1] 8/5   109/25 110/8 110/9
   70/12 70/24 71/3          happens [3] 54/20   110/25 111/1
   71/10 71/10 73/23          82/8 82/21         111/14 112/4 112/7
   75/4 77/9 82/4            hardly [1] 63/20    112/8 112/9 112/16
   85/4 85/4 87/22           has [33] 9/9 10/14 114/18 115/9
   87/24 89/3 91/12           11/10 12/23 13/8   115/12 115/13
   91/21 95/15 97/24          13/8 13/12 14/23   116/4 116/8 116/15
   98/5 98/17 99/8            36/8 38/14 43/9    116/20 117/3
   99/9 99/10 99/10           46/7 53/25 54/7    117/13 117/15
Case                          113/20
  H 9:18-cv-80176-BB Document 844      113/20
                                  Entered                 63/23 73/15
                                          on FLSD Docket 12/20/2021       73/20
                                                                    Page 146 of 177
  have... [7] 117/22          115/6 115/13                76/22 77/20 78/1
   117/24 118/3              he'd [1] 115/3               78/4 85/10 93/17
   119/10 119/15             he's [12] 5/6                105/5 109/5 109/5
   120/25 122/14              36/20 36/22 53/22           110/24 119/11
  haven't [5] 26/3            58/16 72/10 73/9           hereby [1] 122/7
   44/15 48/8 57/14           80/25 112/1 112/1          hereunto [1]
   58/1                       112/20 113/14               122/14
  having [3] 12/9            healthy [1] 118/24          hernandez [6] 1/23
   102/20 102/21             hear [3] 48/17               1/25 122/5 122/17
  he [95] 7/6 7/7             57/17 117/1                 122/17 122/19
   7/13 7/15 7/16            heard [1] 39/17             hiding [1] 15/25
   7/17 8/8 8/9 8/18         hearing [1] 27/9            high [1] 89/12
   9/13 9/15 14/1            hearsay [9] 38/20           highlight [22]
   14/4 14/4 14/5             41/2 45/7 47/22             24/20 24/22 25/2
   14/24 15/2 15/2            57/4 68/12 93/6             25/4 25/7 26/13
   16/11 19/20 21/1           93/9 94/9                   30/20 32/15 32/22
   27/20 27/24 28/15         heels [1] 116/23             34/1 35/15 41/13
   30/15 30/17 30/18         hell [6] 70/14               41/22 42/7 45/20
   34/7 34/12 34/12           71/15 73/22 89/24           46/1 48/12 49/11
   35/3 35/25 36/9            111/5 115/11                50/9 96/9 97/17
   40/2 52/2 53/3            Hello [2] 22/21              104/6
   53/19 53/20 53/20          86/21                      highly [1] 4/6
   58/11 58/12 58/14         help [17] 19/5              him [24] 7/15 14/1
   58/15 58/16 61/3           19/16 19/25 20/1            14/25 27/19 31/20
   69/22 69/22 69/24          25/13 26/18 34/11           71/17 72/9 73/10
   70/1 71/15 72/2            34/13 53/4 61/19            73/10 80/3 81/10
   72/3 72/3 73/6             72/18 80/7 81/13            81/15 100/16
   73/9 75/3 75/7             107/8 107/21 108/1          108/16 108/22
   77/2 77/4 77/6             109/20                      108/25 109/22
   77/9 79/19 79/20          helped [7] 27/21             113/4 113/14
   80/2 82/4 85/11            30/15 35/2 73/14            114/25 114/25
   85/14 88/2 89/2            81/16 89/8 108/7            115/1 115/11
   90/6 90/9 91/18           helpful [1] 10/8             115/16
   91/20 104/5 104/9         helping [2] 28/15           himself [3] 31/6
   104/14 107/12              108/1                       70/1 85/12
   107/13 107/16             helps [2] 25/14             hire [1] 71/13
   108/23 108/23              117/17                     hired [3] 22/15
   109/9 109/10              her [4] 117/19               25/17 72/8
   109/22 109/23              117/19 119/18              his [27] 5/6 5/8
   109/25 110/1               119/20                      7/13 10/1 10/6
   111/20 111/20             here [22] 8/4 9/6            14/4 27/19 28/16
   112/20 113/18              14/24 23/24 33/4            36/8 52/20 69/21
                              38/7 43/25 52/7             70/13 71/15 73/8
                              66/20
  H 9:18-cv-80176-BB Document 844
Case                                  68/10
                                  Entered      68/12
                                          on FLSD Docket hunt
                                                         12/20/2021   37/14
                                                                [1] Page 147 of 177
                              74/8 75/12 75/22
  his... [13] 75/10
                              75/23 78/3 78/12
                                                         I
   75/11 76/24 78/20                                     I'll [8] 15/18
   79/25 80/8 90/5            84/11 85/18 86/11
                              93/5 93/9 93/20             25/24 59/14 62/21
   90/9 105/12 105/22                                     63/17 65/14 75/17
   111/19 112/20              94/6 94/8 101/20
                              102/12 103/9                121/1
   114/5                                                 I'm [65] 5/20 9/24
  history [1] 90/10           106/19 114/9
                              115/18 116/1                10/22 11/3 12/11
  Hmm [1] 77/7                                            15/4 15/7 15/17
  hobby [1] 50/1              116/12 117/3
                              117/12 118/13               18/3 18/7 18/17
  hold [2] 58/4                                           20/7 22/1 23/21
   101/12                     120/21
                             HONORABLE [1] 1/10           24/10 24/13 29/11
  holdings [2] 56/8                                       29/17 31/19 43/1
   95/15                     hopefully [2]
                              118/12 118/23               45/9 48/17 52/25
  holiday [4] 116/24                                      54/3 57/17 59/2
   116/25 119/5              hopes [1] 118/8
                             horrible [2] 21/11           59/12 60/7 61/17
   119/10                                                 62/7 62/9 62/9
  home [3] 36/5               108/6
                             horribly [2] 71/8            63/23 65/20 66/23
   116/11 117/23                                          67/5 70/17 70/17
  honestly [1]                71/8
                             Hotwire [3] 91/23            71/12 71/12 71/17
   108/15                                                 73/19 73/25 74/14
  Honor [99] 3/7 3/9          96/4 96/4
                             hour [1] 115/21              74/18 81/1 82/20
   3/17 4/9 4/12 6/1                                      83/2 83/6 84/6
   6/3 6/6 6/14 6/24         hours [2] 117/24
                              118/2                       84/7 86/21 86/25
   7/1 7/19 7/20 7/24                                     88/24 93/8 93/11
   8/1 8/6 8/13 8/17         housekeeping [1]
                              120/1                       100/14 101/19
   9/3 9/6 9/11 9/17                                      105/5 106/6 108/10
   10/3 11/9 11/11           how [27] 3/24 4/11
                              9/4 10/18 10/22             109/16 114/7
   11/16 11/23 12/17                                      119/20 120/14
   12/22 13/15 13/22          11/18 11/20 12/3
                              12/17 13/1 13/4            I've [13] 21/11
   14/11 14/13 14/18                                      38/7 44/18 47/7
   14/22 15/9 15/16           14/23 15/2 15/2
                              26/22 26/25 27/3            55/5 56/25 72/6
   15/22 15/24 16/7                                       102/18 110/14
   17/1 17/7 18/6             29/14 37/7 54/19
                              69/14 72/16 73/15           110/19 112/17
   18/17 24/13 25/8                                       113/13 115/10
   27/5 27/7 27/7             89/15 110/9 110/22
                              114/21                     IaaS [1] 51/10
   27/9 29/1 38/17                                       ICU [1] 74/23
   40/25 41/2 45/5           however [3] 53/2
                              61/6 99/14                 ID [6] 85/25 86/9
   45/7 45/13 47/20                                       86/22 86/25 87/17
   47/22 55/19 56/3          huh [1] 75/2
                             human [2] 88/11              88/25
   56/4 57/2 57/4                                        idea [20] 8/7 8/8
   58/2 58/5 58/9             90/10
                             hundred [1] 111/1            23/1 32/25 34/3
   58/17 59/10 64/25                                      34/7 34/14 63/13
                             Hundreds [1] 112/3
  I 9:18-cv-80176-BB Document 844
Case                                                      106/25 113/7
                              16/1Entered on FLSD Docket 12/20/2021 Page 148 of 177
  idea... [12] 63/19         inappropriately [1]         input [1] 97/20
   63/24 63/25 64/5            13/11                     inside [2] 39/23
   64/7 64/9 64/19           Inaudible [3]                71/6
   72/20 95/16 96/17          24/21 24/23 25/4           insolvency [1]
   110/9 110/14              include [1] 84/22            48/24
  ideas [1] 64/10            included [2] 77/13          instance [4] 26/2
  identified [1]              84/19                       61/3 88/1 112/16
   41/17                     includes [2] 36/17          instances [1] 46/7
  identify [1] 60/23          85/6                       instead [1] 118/4
  ill [2] 116/10             including [4] 3/12          intact [1] 118/9
   117/23                     85/1 87/2 112/3            integrate [1] 66/8
  illegal [1] 58/23          income [3] 39/9             integrated [2]
  illicit [1] 8/20            46/21 50/14                 33/13 34/15
  image [1] 14/16            inconsistent [3]            integration [1]
  imagine [3] 108/6           15/12 15/20 16/15           88/2
   112/6 112/7               incorrect [5]               integrity [1] 54/8
  immediately [1]             19/15 26/4 59/15           intellectual [27]
   54/14                      81/19 97/11                 7/2 7/4 7/11 7/12
  impeach [1] 74/18          increased [1]                10/13 15/10 27/16
  impeachment [12]            99/16                       27/20 27/22 28/1
   7/23 7/25 8/24            incredibly [1]               34/25 64/8 83/16
   15/13 15/19 15/21          70/23                       83/19 83/20 83/23
   16/5 16/14 16/25          incurred [1] 97/7            83/24 84/2 84/19
   74/6 84/12 85/19          independent [2]              85/5 85/7 85/9
  implement [1]               46/6 119/8                  85/10 91/21 97/8
   64/21                     indicate [1] 51/5            97/23 109/24
  implies [1] 16/21          individual [2]              Intelligence [2]
  important [2]               12/5 116/22                 96/4 96/5
   21/23 22/2                individually [2]            intention [1]
  improper [5] 4/7            111/4 111/7                 107/25
   10/22 10/22 84/11         individuals [1]             intentional [2]
   85/18                      116/16                      49/20 51/19
  improperly [1]             inefficient [3]             intentionally [1]
   24/16                      70/19 70/23 71/8            3/25
  improved [5] 84/3          infer [2] 46/17             interest [5] 6/22
   84/4 85/3 85/3             51/7                        47/5 48/9 49/6
   85/11                     Info [3] 1/4 86/9            89/19
  improvement [1]             91/22                      Interestingly [1]
   72/21                     inform [1] 53/24             67/15
  inaccurate [1]             information [9]             internal [2] 40/9
   4/20                       10/23 54/7 54/10            108/11
  inadequate [1]              86/22 102/16               internally [1]
                              104/11 104/20               117/4
  I 9:18-cv-80176-BB DocumentIP844[7]
Case                                    7/3
                                   Entered    7/10Docket issued
                                           on FLSD                  Page 37/22
                                                         12/20/2021[8]   149 of 177
  Internet [2] 4/20           13/2 55/12 61/14            39/2 53/1 98/13
   77/19                      65/25 92/5                  101/11 106/1 106/1
  interrupt [1]              IPO [1] 108/9                110/14
   52/19                     IRA [39] 1/3 7/7            issues [9] 11/6
  interrupts [1]              7/8 7/16 7/16               12/14 13/14 17/6
   25/1                       13/24 14/13 15/6            41/16 54/21 66/17
  interview [7] 21/8          16/10 16/11 28/24           75/20 119/24
   21/13 24/4 24/8            29/10 30/21 35/9           it [256]
   25/1 25/15 65/19           35/25 61/23 70/10          it's [86] 4/18
  interviewed [1]             70/11 85/14 88/1            5/10 5/12 8/21
   21/6                       88/17 89/2 108/18           10/8 11/4 11/15
  interviewer [1]             108/21 109/6 109/7          11/15 11/15 12/12
   24/23                      109/19 112/11               13/1 13/18 14/22
  interviews [2]              112/21 113/2 113/6          15/9 15/12 16/2
   20/19 24/5                 113/17 113/20               17/12 18/2 19/15
  introduce [3] 7/22          114/3 114/17                19/21 20/5 22/17
   14/20 15/15                114/24 115/3 115/6          23/1 23/6 27/9
  introduced [2]              115/8                       29/11 29/12 31/9
   9/19 11/1                 Ira should [1]               32/16 36/5 36/7
  introduction [1]            108/18                      36/12 37/3 38/1
   15/18                     Ira's [2] 113/16             38/15 41/10 43/22
  invented [1] 72/7           114/6                       44/18 46/10 46/10
  invention [2]              irrelevant [3]               47/5 47/7 47/11
   73/24 81/11                6/18 66/9 66/11             48/9 49/25 52/4
  investigated [1]           IRS [1] 115/12               54/5 58/22 59/3
   98/13                     is [291]                     60/5 66/12 66/13
  investigation [1]          isn't [30] 9/11              69/6 72/20 73/17
   43/23                      9/12 18/5 27/1              75/8 79/6 79/8
  investment [1]              27/4 33/12 34/7             79/14 81/4 81/5
   16/9                       36/1 36/6 40/3              83/1 83/6 83/23
  invited [2] 34/10           49/25 50/21 54/21           84/24 85/13 86/24
   34/11                      59/7 59/9 59/16             87/22 87/23 89/11
  involved [14] 28/8          80/1 80/4 80/8              89/12 94/13 95/1
   29/18 30/14 30/17          80/13 80/19 91/18           98/18 100/9 103/22
   30/23 38/2 40/2            105/20 106/18               104/22 110/10
   48/21 62/4 64/1            107/7 107/25                110/17 112/7
   70/1 98/6 108/3            109/18 110/3                113/19 118/1 118/8
   109/8                      111/13 112/19               118/8 118/11 120/8
  involvement [3]            issue [12] 4/17             item [1] 65/2
   28/15 28/16 30/25          7/2 7/4 13/5 13/6          items [1] 3/6
  involving [1]               13/7 13/21 49/12           its [11] 15/18
   76/11                      49/15 56/4 58/24            24/17 39/10 46/21
                              103/6                       50/14 54/12 56/18
  I 9:18-cv-80176-BB Documentjuror
Case                                [4] on116/10
                              844 Entered  FLSD Docket K
                                                       12/20/2021 Page 150 of 177
  its...  [4] 83/19    116/12 116/14                    K's [1] 16/21
   83/20  87/21 104/20 117/22                           KASS [1] 1/20
  itself  [4] 29/7    jurors [6] 17/4                   Katherine [1] 33/6
   31/15  54/2 54/4    75/24 118/11                     keep [8] 14/16
                       118/15 118/16                     77/3 92/11 110/17
  J                    119/17                            111/24 112/3 115/6
  January [4] 101/11 jury [38] 1/11                      118/9
   101/13 101/17       10/15 17/10 31/9                 keeps [1] 47/18
   105/17              38/25 41/7 45/14                 Ken [1] 21/12
  Java [1] 87/7        48/2 48/4 52/25                  kept [10] 36/23
  Jennifer [2] 67/4    55/25 58/20 58/20                 82/4 111/1 111/2
   76/12               58/23 58/25 60/3                  111/13 111/18
  Jimmy [3] 120/3      61/25 74/20 75/16                 111/21 112/7 112/8
   120/8 120/9         75/25 76/8 78/12                  115/3
  John [11] 36/18      81/6 81/23 88/21                 key [3] 81/9 81/10
   65/18 67/4 76/13    91/4 93/4 94/14                   109/25
   86/8 103/3 103/15   94/16 100/8 106/13               keys [3] 16/20
   103/22 104/3        110/21 114/14                     109/10 109/19
   104/24 104/24       115/23 118/3                     Khuu [1] 60/20
  join [1] 117/7       118/17 119/3                     kids [1] 57/14
  joint [8] 4/14       119/12                           Kinloch [1] 60/20
   4/16 4/24 5/1      just [50] 3/14                    KLEIMAN [55] 1/3
   10/23 110/8 110/16 4/19 7/15 7/24                     1/4 7/5 7/7 7/8
   111/12              10/14 11/14 12/11                 12/25 13/8 13/24
  JORGE [1] 1/19       12/23 19/10 21/19                 15/6 16/10 27/17
  JUDGE [9] 1/10       22/5 25/17 26/13                  27/23 28/8 28/24
   17/5 59/20 116/17   27/24 28/18 28/19                 29/10 30/21 33/1
   117/9 117/17 118/5 28/25 29/8 30/18                   33/10 34/6 35/10
   120/1 120/17        30/24 31/23 42/14                 61/15 61/23 63/14
  judgment [4] 106/1 52/20 58/13 58/22                   64/5 64/19 68/4
   106/1 106/2 106/5   59/16 61/12 62/7                  70/5 70/6 70/10
  judgments [1]        64/7 66/23 69/16                  73/6 77/17 77/24
   104/16              74/5 82/20 83/3                   78/17 80/22 81/8
  July [6] 38/13       83/6 93/14 93/24                  81/18 82/10 83/21
   44/17 49/7 54/17    100/18 100/22                     88/17 89/2 105/6
   83/13 105/13        102/18 102/24                     105/9 105/20
  jumping [1] 100/14 107/16 108/1                        106/14 106/17
  June [15] 16/8       109/19 111/3                      107/8 107/12
   38/13 39/11 44/17   111/24 112/9 117/3                107/16 108/21
   49/7 56/11 56/14    119/15 120/1                      109/6 109/8 109/8
   92/9 92/10 98/22   just-under-21 [1]                  111/15 113/2 114/3
   98/25 99/4 99/8     111/3                            Kleiman's [6] 13/3
   99/14 106/8
                              11/15
  K 9:18-cv-80176-BB Document 844
Case                                  16/16
                                  Entered      16/17
                                          on FLSD Docket left-hand    [2]
                                                         12/20/2021 Page     87/6
                                                                         151 of 177
  Kleiman's... [5]    25/4 30/8 65/6                      88/13
   107/10 107/11      88/21 117/12                       legacy [1] 75/11
   109/20 112/19     late [2] 11/15                      legal [1] 77/20
   114/17             106/17                             Leon [1] 1/21
  knew [9] 8/5 11/14 lately [1] 26/3                     let [14] 14/12
   63/20 70/22 107/9 later [13] 52/24                     15/8 21/19 52/18
   109/18 110/3       53/1 53/2 54/20                     52/20 75/9 79/4
   112/20 113/6       78/21 82/6 99/15                    81/12 89/24 107/21
  know [33] 5/25 8/4  105/10 105/12                       115/11 116/8 116/9
   9/17 10/6 11/7     109/16 109/17                       116/23
   20/25 21/2 23/1    114/25 118/11                      let's [27] 17/9
   26/17 35/4 48/8   Laughs [1] 25/7                      25/10 32/11 35/7
   53/19 57/11 69/3  law [8] 49/20                        37/4 37/5 40/14
   71/19 73/15 79/4   52/13 53/17 53/21                   41/7 44/9 48/4
   80/5 80/6 80/9     53/22 58/15 101/4                   49/11 54/19 61/19
   81/12 82/20 89/15  110/11                              68/6 70/8 75/14
   102/5 102/20      laws [1] 51/19                       75/24 88/15 91/5
   107/21 109/23     lawsuit [2] 83/19                    91/6 94/17 96/20
   110/12 112/6       105/13                              99/24 101/23 109/3
   113/11 114/21     lawsuits [1] 83/13                   115/21 118/14
   118/7 120/16      lawyer [6] 68/24                    letter [3] 52/6
  knowledge [6]       76/14 86/19 91/17                   97/15 101/11
   69/21 73/8 84/23   91/19 103/25                       letterhead [2]
   84/24 85/6 85/9   lawyers [6] 52/10                    53/15 53/17
  known [6] 9/5 10/4  53/7 54/17 60/17                   level [4] 36/7
   11/21 33/14 51/12  97/15 110/13                        55/6 56/17 73/13
   83/18             lay [3] 20/7 23/25                  Lex [1] 87/8
  KPMG [1] 108/11     93/11                              liable [2] 49/15
  KYLE [1] 1/13      laying [1] 25/9                      50/12
                     leading [1] 84/21                   Liberty [1] 51/11
  L                  learn [1] 73/9                      lie [1] 9/25
  lack [1] 15/5      learned [4] 36/8                    life [10] 21/11
  Ladies [5] 75/14    84/24 119/8 119/9                   36/8 69/21 73/8
   76/1 78/13 115/21 least [2] 99/20                      75/10 90/5 90/9
   118/18             112/13                              90/11 102/21 115/9
  laid [1] 13/16     leave [2] 23/7                      lifetime [1] 89/14
  language [4] 46/9   88/12                              like [27] 3/15
   87/5 87/12 87/15  lecture [1] 73/12                    13/10 14/21 21/9
  languages [1] 87/7 led [5] 6/21 12/1                    21/10 21/10 26/23
  large [2] 60/25     15/2 50/14 66/18                    35/1 70/21 70/24
   108/13            left [8] 29/7 53/4                   72/1 72/6 90/8
  largest [1] 52/14   87/6 88/13 88/24                    92/20 92/20 95/22
  last [10] 3/9 8/5   90/14 94/19 117/19                  100/18 101/5
  L 9:18-cv-80176-BB DocumentLiz
Case                              Entered119/16
                              844 [2]     on FLSD Docket LTD        41/10
                                                               [4] Page
                                                         12/20/2021     152 of 177
  like... [9] 110/13          119/20                     44/16 49/6 67/23
   110/17 111/5              LLC [1] 1/4                lunch [4] 115/22
   111/20 112/1              LLP [2] 1/12 1/18           115/25 116/4 116/7
   113/13 114/18             lodged [1] 28/12           lurch [1] 53/5
   116/11 117/23             log [1] 66/5               Lynn [2] 107/14
  Limited [9] 40/23          logo [4] 37/22              107/14
                              37/25 48/6 94/20
   53/12 53/13 53/25
                             Logo's [1] 94/21
                                                        M
   54/1 54/11 54/14                                     MacGregor [2] 19/2
   56/2 56/7                 long [2] 64/7
                              91/16                      20/24
  line [21] 9/11                                        machine [1] 122/8
   10/8 10/12 21/24          longer [2] 54/11
                              61/7                      machines [3] 66/5
   25/4 26/14 31/8                                       66/8 66/15
   31/10 36/8 39/13          look [9] 13/10
                              21/9 25/13 40/14          Madam [1] 73/25
   42/12 43/13 67/11                                    made [46] 3/10
   68/8 68/9 69/21            44/9 70/18 90/8
                              108/18 111/17              3/14 4/1 4/5 5/14
   73/8 76/18 90/5                                       5/17 5/18 5/21 6/1
   91/20 96/22               looked [4] 61/23
                              62/3 62/14 108/24          6/7 6/7 6/9 6/10
  lines [18] 20/19                                       8/18 9/9 9/9 9/23
   22/3 28/5 84/7            looking [11] 7/8
                              26/9 39/2 41/8             9/24 10/15 11/22
   85/17 85/17 87/11                                     12/3 12/4 12/12
   87/13 88/8 88/9            68/19 74/7 74/14
                              76/10 91/5 91/11           12/12 12/16 12/24
   89/1 89/2 89/4                                        13/25 14/9 40/10
   89/11 89/13 89/21          109/10
                             looks [1] 14/4              44/14 45/17 46/18
   90/10 90/11                                           46/21 49/18 50/3
  links [1] 18/14            lose [1] 118/1
                             losing [1] 118/11           50/13 50/19 50/20
  list [14] 3/11                                         61/17 79/21 90/6
   3/13 3/14 3/16            lost [7] 44/8
                              67/17 67/25 79/5           97/22 110/25 111/1
   5/11 5/14 9/1                                         114/25 115/6
   11/10 12/15 20/17          110/19 111/8 111/9
                             lot [10] 20/25             magazine [1] 23/20
   30/8 56/13 56/15                                     magnifies [1] 14/3
   87/6                       70/21 71/18 71/19
                              71/20 71/23 71/23         major [1] 40/24
  listed [4] 20/19                                      majority [1]
   46/15 55/3 56/23           72/19 72/21 115/14
                             lots [3] 111/8              100/16
  lists [1] 56/17                                       make [12] 6/18
  literally [1] 7/3           111/9 112/17
                             louder [1] 18/16            8/16 11/5 13/9
  litigants [2] 11/7                                     21/9 22/4 49/12
   12/13                     Louis [10] 80/21
                              81/8 81/18 82/10           50/12 60/18 112/12
  little [11] 18/16                                      118/2 119/3
   37/7 37/22 37/25           105/9 105/11
                              105/20 106/14             making [6] 7/7
   48/6 71/6 75/10                                       10/20 11/2 104/4
   79/21 100/14               106/17 107/8
                             loved [1] 113/10            114/24 120/14
   108/14 117/13                                        malleable [4] 28/9
                             lower [1] 89/12
Case                          116/25
  M 9:18-cv-80176-BB Document 844      117/24
                                  Entered                 95/13 110/1
                                          on FLSD Docket 12/20/2021 Page 153 of 177
  malleable... [3]            119/19 119/19              media [7] 9/7 9/15
   29/23 62/17 62/24         maybe [1] 63/21              22/25 23/10 23/16
  managing [1] 70/2          MCGOVERN [3] 1/20            25/18 27/11
  manipulate [1]              14/23 78/9                 meeting [7] 20/21
   113/18                    McGurk [2] 21/6              36/20 67/3 68/20
  manipulative [1]            23/20                       76/11 91/12 104/10
   113/21                    McMaster [7] 39/25          members [1] 72/5
  manner [1] 10/24            67/3 76/12 76/22           memory [2] 19/5
  many [6] 9/18 21/2          103/4 103/22 104/3          26/20
   61/17 71/6 71/16          McMasters [1] 77/5          mention [9] 31/3
   108/14                    me [56] 13/1 14/11           31/4 79/25 80/3
  March [24] 16/8             14/12 14/14 15/8            80/5 80/7 82/3
   28/13 38/1 38/15           16/11 21/3 21/4             108/16 108/16
   47/11 47/12 48/13          21/9 21/9 21/12            mentioned [5] 31/3
   60/8 62/15 65/19           21/19 22/3 27/7             31/18 64/10 67/12
   68/21 70/11 76/11          34/3 34/14 34/18            122/9
   92/9 92/10 98/21           40/8 40/13 41/13           mentions [2] 68/4
   98/25 99/4 99/8            49/24 52/8 54/18            80/24
   99/13 105/6 105/7          57/23 60/1 61/16           merely [1] 8/24
   106/8 106/9                64/23 65/23 68/5           message [6] 4/13
  Marco [2] 19/18             71/16 71/25 73/19           4/19 5/9 81/12
   19/20                      89/8 89/17 90/24            106/14 106/17
  Mark [4] 31/1 31/6          95/4 98/14 98/16           messages [4] 5/9
   32/19 62/14                99/22 105/2 108/3           7/7 7/19 31/6
  marketplace [2]             108/7 108/23               MESTRE [2] 1/18
   77/14 77/18                109/25 110/13               1/19
  master's [3] 36/7           110/19 113/18              metadata [1] 74/22
   73/13 98/15                113/18 114/6               Miami [7] 1/14
  Masters [1] 77/7            114/18 115/18               1/17 1/24 1/24
  material [1] 93/21          116/8 116/9 116/10          122/15 122/18
  math [2] 70/12              116/23 117/19               122/18
   71/24                     mean [6] 9/11               MICHAEL [1] 1/21
  matter [6] 60/16            12/11 20/25 53/4           middle [2] 87/11
   95/9 100/6 100/11          61/16 113/6                 118/6
   100/11 120/1              meaning [3] 10/5            might [3] 9/8 9/9
  Matthews [1] 7/14           12/4 67/23                  110/21
  may [19] 6/24              meaningless [1]             Miller [3] 36/17
   15/11 15/13 15/20          114/21                      67/3 76/12
   16/4 16/13 16/14          means [5] 53/22             million [22] 7/15
   16/24 17/17 52/22          59/23 72/14 90/3            16/9 87/12 87/12
   78/12 79/10 84/14          90/3                        89/2 89/4 89/13
   105/22 114/14             meant [6] 33/17              89/21 90/9 90/11
                              34/6 34/12 85/2             96/15 96/25 110/25
  M 9:18-cv-80176-BB Documentmixing
Case                                        77/3Docket 12/20/2021
                                      [1]on FLSD
                              844 Entered               74/12 118/25
                                                                  Page 154119/1
                                                                           of 177
  million... [9]            MJF [1] 105/24              119/2 119/18
   111/1 111/3 115/1        mock [3] 24/3 24/5          119/21 121/1
   115/4 115/5 115/5         25/15                     mornings [1] 118/4
   115/5 115/13             modern [2] 71/5            most [2] 11/7 89/9
   115/15                    71/11                     move [4] 13/22
  Milton [2] 14/2           module [2] 7/10             66/23 99/21 106/7
   14/18                     58/10                     moved [1] 57/11
  mind [1] 114/5            moment [6] 14/11           movement [1] 95/18
  mine [10] 17/14            33/5 41/7 44/20           movie [3] 14/2
   18/4 19/21 29/17          55/9 119/15                14/5 14/7
   110/5 110/7 111/12       Monday [8] 6/5             MR [2] 2/6 8/15
   111/18 115/14             104/4 118/16              Mr. [13] 9/9 10/14
   115/17                    118/25 119/1               12/23 12/25 13/8
  mined [4] 16/23            119/11 119/21              13/23 17/21 21/19
   82/4 110/4 111/4          121/1                      76/22 83/21 117/18
  miners [1] 110/14         money [18] 28/10            119/13 120/13
  mining [6] 80/3            29/23 29/23 31/15         Mr. Brenner [1]
   105/24 109/23             62/4 62/18 62/25           120/13
   110/8 110/16              62/25 95/16 95/17         Mr. Cabrera [1]
   110/22                    95/22 108/17               117/18
  minute [6] 37/5            111/24 113/18             Mr. Freedman [6]
   53/15 69/4 75/15          115/7 115/14               9/9 10/14 12/23
   90/14 117/3               115/14 115/17              13/23 17/21 21/19
  minutes [1] 75/18         monitored [1] 3/25         Mr. Kleiman [3]
  mischaracterizing         monitoring [1]              12/25 13/8 83/21
   [1] 86/23                 10/4                      Mr. McMaster [1]
  Misfit [1] 56/8           month [2] 99/17             76/22
  misleading [7]             99/17                     Mr. Wright [1]
   46/21 49/18 50/11        monthly [2] 92/12           119/13
   50/12 50/13 50/19         92/14                     Ms [10] 30/20
   50/20                    months [10] 5/8             44/24 46/25 49/11
  missed [1] 79/19           5/8 5/9 54/20              51/1 53/12 59/25
  missing [5] 62/9           80/11 81/17 82/21          65/12 96/9 112/24
   98/2 105/21 105/22        82/22 99/18 105/10        Ms. [142]
   106/8                    more [13] 14/17            Ms. Bustamante [6]
  Misstates [5] 56/3         16/7 21/1 25/2             116/18 116/25
   62/20 64/25 82/13         38/9 71/23 71/23           117/14 117/25
   90/21                     81/12 81/15 91/9           118/20 118/25
  misstating [3]             104/11 107/21             Ms. Bustamante's
   82/16 84/5 90/24          112/7                      [1] 118/7
  misunderstood [1]         morning [14] 3/2           Ms. Coffie [2]
   10/6                      3/6 17/11 17/13            116/17 117/18
                             17/20 17/21 74/10         Ms. McGovern [2]
Case                          31/19
  M 9:18-cv-80176-BB Document 844     55/17
                                  Entered      116/12
                                          on FLSD         108/16 108/24
                                                  Docket 12/20/2021 Page 155 of 177
                    named [2] 7/14
  Ms. McGovern... [2]                                     113/13
    14/23 78/9       75/3                                new [9] 5/11 32/14
  Ms. Vela [129]    names [1] 18/13                       33/6 33/23 56/18
  Ms. Watts [2]     narrative [2] 9/12                    63/7 64/4 73/11
   53/13 103/3       25/21                                105/24
  much [4] 34/12    native [3] 22/10                     newer [1] 111/22
   71/3 98/17 107/21 23/4 62/12                          next [15] 25/6
  multi [1] 71/1    nature [4] 23/22                      28/20 32/22 37/18
  multi-threaded [1] 25/21 46/16 72/17                    52/7 61/21 62/11
   71/1             nChain [3] 18/12                      64/18 82/8 91/5
  multiple [2] 30/24 18/12 18/13                          98/20 99/6 106/9
   71/14            nCrypt [3] 18/24                      117/18 118/2
  must [3] 32/4      19/19 22/19                         Nguyen [2] 120/3
   51/12 54/1       ncrypt.com [3]                        120/8
  my [65] 4/24 6/6   17/23 19/6 20/2                     Nguyen's [1] 120/9
   18/3 18/13 19/15 nearly [1] 115/15                    Nick [2] 22/13
   20/5 21/11 22/20 necessarily [1]                       25/16
   26/20 30/25 32/25 67/25                               night [4] 3/9 8/5
   36/6 57/14 57/14 need [10] 17/6                        11/15 11/25
   60/17 63/13 63/24 27/1 61/16 66/14                    nine [5] 80/11
   66/13 69/21 70/16 66/14 72/18 112/15                   81/17 82/21 82/21
   71/16 71/18 71/20 112/17 115/24                        105/10
   72/18 72/20 73/8  119/24                              NIST [1] 73/14
   73/19 73/20 73/23needed [7] 6/15                      no [141]
   74/1 79/22 79/22  72/21 107/8 107/17                  nobody's [2] 8/11
   81/15 82/9 84/4   107/17 108/1 112/2                   8/19
   85/9 85/9 89/14  needs [1] 118/9                      nodding [1] 78/15
   91/19 93/13 95/14nefarious [1]                        node [1] 72/10
   98/3 98/5 98/15   58/23                               nominally [1]
   98/19 98/20 99/11neglecting [1]                        107/14
   99/19 101/19 106/348/23                               non [1] 70/20
                    Neither [1] 60/22
   106/5 107/15 108/3                                    non-parallelizble
   108/8 111/5 112/3network [1] 110/15                    [1] 70/20
                    never [29] 16/23
   113/12 114/8 115/9                                    none [3] 37/2 67/7
   115/14 115/15     24/5 28/13 34/12                     69/19
   115/16 120/14     36/8 38/7 43/8                      Normal [1] 71/25
   122/11 122/14     46/17 58/9 58/16                    North [3] 1/24
  myself [3] 19/4    59/8 68/23 69/20                     56/18 122/18
   34/10 115/14      69/22 73/7 75/9                     not [182]
                     77/12 84/3 85/8                     note [4] 46/4 61/1
  N                  85/13 90/5 90/10                     67/15 109/14
  Nakamoto [1] 109/9 107/11 107/16                       noted [3] 67/13
  name [4] 27/19     108/3 108/16                         80/25 106/5
                              93/9Entered
  N 9:18-cv-80176-BB Document 844
Case                                101/2    101/14
                                          on FLSD         43/24 57/11
                                                  Docket 12/20/2021       57/12
                                                                    Page 156 of 177
  notes [3] 26/10     120/4                               100/15
   86/1 122/11       objection [49]                      October 14th [3]
  nothing [4] 80/9    11/11 23/23 25/21                   23/23 24/15 25/23
   82/24 99/12 99/13  27/12 29/3 38/19                   October 2013 [1]
  notice [2] 6/20     38/21 41/3 45/12                    100/15
   110/18             47/24 53/9 54/2                    October 30th [1]
  notification [1]    54/3 55/21 56/3                     6/8
   79/2               57/5 58/2 58/4                     October of [1]
  noting [1] 43/20    59/4 59/10 62/20                    57/11
  November [14] 1/5   63/16 64/13 64/25                  off [5] 23/19
   5/18 5/18 6/9 6/9  65/13 66/20 68/12                   31/22 32/1 74/15
   6/10 6/10 11/17    68/14 69/10 69/11                   91/17
   11/18 11/20 11/20  72/23 73/3 74/16                   offer [14] 27/5
   119/11 122/9       74/19 82/13 83/4                    29/1 38/17 40/25
   122/15             83/9 84/11 85/18                    45/5 47/20 55/19
  now [28] 4/3 9/17   86/13 90/21 93/5                    57/2 68/10 81/2
   15/2 21/16 22/4    93/20 94/8 94/11                    86/11 94/6 103/9
   23/8 24/24 24/25   101/20 103/11                       114/9
   26/8 26/9 29/6     106/19 114/11                      offered [5] 2/8
   43/1 65/9 66/18   objections [1]                       16/11 114/25 115/1
   70/20 71/22 77/21  120/2                               115/4
   78/7 80/11 91/7   obligation [1]                      offers [1] 114/25
   94/13 94/16 100/14 6/17                               office [56] 14/2
   111/19 111/22     obtain [1] 4/11                      14/14 36/18 37/1
   112/6 114/21      obtained [6] 3/19                    37/11 37/22 38/6
   116/23             3/24 8/14 11/19                     39/3 40/7 40/18
  now's [2] 75/12     83/16 90/18                         41/9 41/15 43/19
   115/18            obtaining [1]                        43/20 44/22 48/6
  NSA [2] 73/14 90/8  10/21                               50/23 52/1 52/13
  number [14] 12/21  obviously [1]                        52/16 52/24 53/1
   12/22 24/18 27/18  119/22                              54/9 54/10 54/13
   38/5 51/8 84/16   occasional [1]                       59/16 59/19 61/13
   85/16 94/5 99/5    63/22                               62/8 65/23 66/2
   104/10 107/11     occasionally [1]                     66/18 67/2 68/21
   116/10 116/14      35/2                                76/10 76/23 91/12
  numerous [2] 4/22  occur [3] 51/6                       92/18 93/1 93/18
   5/9                51/13 76/23                         94/18 95/8 95/12
                     occurred [2] 43/18                   95/20 96/2 96/15
  O                   53/3                                96/24 97/3 97/16
  oath [2] 9/13 9/19 occurs [1] 109/7                     98/20 103/4 103/23
  object [11] 3/16   October [12] 3/12                    107/9 108/2 108/4
   3/17 23/21 24/13   5/17 6/8 6/8 23/23                  115/10
   25/8 27/8 74/8     24/15 25/23 27/9                   officer [2] 40/21
                              66/5Entered
  O 9:18-cv-80176-BB Document 844
Case                                66/6on66/9
                                           FLSD Docket opportunity
                                                       12/20/2021 Page [4]
                                                                       157 of 177
  officer... [1]              67/15 67/16 70/17          10/17 11/5 12/9
   41/10                      71/8 71/8 71/17            116/25
  officers [2] 42/22          72/6 72/7 74/11           opposite [2] 58/13
   43/5                       84/9 84/22 90/9            82/25
  offset [3] 39/10            90/10 90/11 91/9          order [5] 3/1 8/22
   50/15 51/14                99/11 99/20 107/11         46/19 70/23 111/15
  oh [8] 40/12 43/21          108/10 108/11             Organisation [3]
   72/20 79/8 93/8            108/24 110/21              20/24 22/14 25/17
   106/8 114/6 115/16         111/2 111/14 112/3        organization [2]
  Okane [9] 28/11             115/21 116/24              22/14 97/10
   29/13 29/16 29/17          117/12 117/18             organizations [1]
   29/22 32/2 62/4            119/17 120/1               92/13
   62/16 62/24               one-hour [1]               organized [1]
  okay [32] 17/8              115/21                     20/24
   19/8 22/24 27/13          one-line [3] 9/11          organizing [1]
   32/5 36/13 37/19           10/8 10/12                 70/1
   45/11 45/12 70/18         one-page [2] 3/9           original [5] 70/18
   72/4 72/22 73/2            3/15                       71/21 72/18 83/20
   73/6 73/17 75/7           ones [11] 15/8              84/3
   75/24 77/5 78/2            56/16 74/11 111/4         originally [2]
   78/9 78/11 78/17           111/4 111/5 111/6          43/10 85/4
   79/24 82/22 83/1           111/6 111/7 112/4         originate [3] 61/4
   89/20 89/22 89/23          120/11                     61/5 61/5
   90/1 90/15 91/9           ongoing [4] 6/16           other [29] 4/17
   120/19                     11/6 102/15 109/14         5/18 7/13 8/18
  old [1] 71/17              online [1] 63/22            13/14 15/8 15/23
  omission [1] 60/25         only [17] 4/7 5/6           16/6 17/6 18/11
  once [3] 36/8               21/11 36/3 61/2            19/14 36/3 37/1
   43/16 71/4                 71/7 74/23 83/23           43/3 63/22 69/18
  one [75] 3/7 3/9            89/17 99/2 110/13          70/1 70/2 73/21
   3/15 4/14 5/7 5/17         110/21 111/4 111/5         89/22 89/24 91/23
   6/7 6/8 6/9 7/1            111/6 111/6 117/24         98/21 106/10
   7/6 7/9 9/11 10/8         opcodes [1] 70/23           106/24 113/8
   10/12 12/13 12/13         open [5] 28/9               113/19 120/3 120/5
   12/21 13/12 14/13          29/22 31/23 62/24         others [1] 108/12
   14/17 14/25 15/9           119/22                    otherwise [2]
   15/14 15/24 16/7          openable [1] 62/17          33/14 107/18
   16/8 16/10 16/16          opened [1] 15/1            our [29] 3/13 5/10
   16/17 18/18 24/25         opening [1] 14/22           6/17 6/21 6/22
   26/24 33/16 38/9          operating [2]               11/11 12/18 13/19
   40/22 41/11 59/19          99/19 107/13               17/4 32/19 39/22
   61/17 63/25 65/25         opinion [1] 13/19           41/16 41/19 43/22
                             opponents [1] 4/9           45/23 46/15 54/1
                              82/15
  O 9:18-cv-80176-BB Document 844
Case                                  84/13
                                  Entered      85/20
                                          on FLSD Docket P464
                                                         12/20/2021   32/10
                                                                [2] Page 158 of 177
  our... [12] 54/7            90/23 94/11         63/4
   54/9 54/13 65/19          overseas [1] 108/5  P469 [2] 55/10
   75/24 92/7 92/13          owed [2] 108/1       55/19
   104/10 105/5               108/17             P492 [1] 120/11
   115/21 118/6 120/8        own [7] 15/10       P510 [1] 120/12
  out [45] 4/5 7/12           43/15 52/10 53/7   P511 [1] 120/9
   10/9 10/13 11/3            83/19 111/5 116/20 P512 [1] 120/10
   11/5 12/6 12/19           owned [5] 40/23     P565 [2] 47/2
   20/3 23/7 28/19            81/13 87/23 107/22  47/20
   32/16 33/4 33/25           107/24             P604 [2] 40/15
   39/7 39/22 41/15          owner [3] 51/11      40/25
   41/17 42/2 46/1            53/21 53/22        P606 [3] 54/24
   46/13 49/12 51/2          ownership [2]        56/21 57/2
   53/3 53/14 68/20           16/19 34/19        P637 [4] 92/15
                                                  94/6 96/19 99/24
   71/2 78/20 79/17          P                   P744 [3] 28/17
   82/9 88/20 96/22          p.m [6] 115/23
   97/4 97/18 99/21                               29/1 61/20
                              116/5 116/5 118/17 P795 [5] 37/15
   100/1 105/2 105/6          119/12 121/2
   105/20 107/7 111/3                             38/17 44/9 45/5
                             P117 [4] 80/15       59/25
   111/8 111/22               81/2 81/2 106/11
   111/23 113/18                                 packages [5] 85/24
                             P122 [1] 81/22       87/1 87/16 88/4
  outset [1] 46/4            P124 [1] 114/9
  outside [5] 6/14                                88/25
                             P127 [1] 91/1       page [77] 2/4 3/9
   10/19 20/24 22/14         P139 [1] 70/7
   25/16                                          3/15 20/14 20/17
                             P143 [5] 36/10       20/18 20/20 21/24
  outweighs [1]               65/11 66/24 68/10
   58/17                                          23/3 23/14 24/8
                              76/5                24/24 25/3 25/6
  over [21] 4/20             P147 [2] 86/4
   4/21 4/22 25/14                                26/6 28/5 28/20
                              86/11               29/8 32/11 33/7
   32/6 33/1 58/10           P160 [3] 35/6
   58/10 58/10 63/14                              33/19 35/7 37/16
                              64/24 88/13         37/18 38/3 38/10
   66/4 72/12 77/19          P175 [2] 102/23
   89/4 98/16 98/20                               39/7 41/13 42/7
                              103/9               42/15 44/10 44/11
   98/21 102/19              P20 [1] 109/1
   102/19 116/14                                  44/20 45/19 45/25
                             P318 [5] 22/5 23/4 46/11 47/14 49/10
   116/15                     24/19 24/21 27/5
  overheard [1] 4/3                               49/11 50/8 51/1
                             P333 [1] 18/19       52/7 55/14 55/24
  overruled [17]             P340 [1] 52/3
   24/1 25/24 38/21                               60/1 60/4 60/9
                             P359 [1] 20/14       61/21 63/5 64/15
   41/3 47/24 50/3           P459 [2] 31/5
   54/5 59/14 63/17                               65/4 65/6 65/16
                              62/12               66/24 67/9 67/13
   65/14 68/14 69/11         P460 [1] 120/11      67/20 68/4 68/6
                              24/23
  P 9:18-cv-80176-BB Document 844
Case                                  25/1
                                  Entered                 95/14 Page 159 of 177
                                          on FLSD Docket 12/20/2021
  page... [18] 69/2         part [12] 5/8 9/16        PDF [3] 23/4 33/19
   69/16 70/8 76/16          34/12 37/11 53/21         50/9
   81/24 84/7 85/17          53/22 81/10 97/7         penalties [2]
   88/15 91/5 91/6           98/18 99/15 102/15        49/15 49/16
   91/16 93/15 95/6          104/20                   penalty [7] 47/5
   96/20 97/13 99/25        participated [2]           47/16 48/9 49/6
   101/8 109/3               24/4 25/15                50/11 50/12 51/4
  pages [6] 1/8 27/9        participating [1]         pending [3] 11/10
   71/23 91/7 99/20          23/12                     96/25 101/22
   122/12                   particular [2]            people [35] 4/22
  paid [1] 110/23            61/1 104/23               19/14 20/4 20/22
  Paige [3] 79/24           particularly [1]           26/23 26/24 30/3
   82/3 82/12                25/22                     31/14 35/4 36/3
  PALM [1] 1/2              parties [5] 8/22           37/1 48/21 69/14
  pandemic [1] 118/6         46/6 85/12 87/21          70/1 70/2 71/13
  panel [7] 92/18            116/21                    71/19 71/25 72/14
   92/23 92/24 94/22        partner [6] 33/1           72/15 72/19 72/19
   94/23 94/25 94/25         53/19 53/20 53/22         73/18 73/22 73/23
  paper [16] 27/18           63/14 63/25               75/9 81/9 89/10
   27/24 38/12 40/19        partnership [2]            89/17 89/24 110/17
   41/10 41/24 42/2          13/2 58/24                111/3 111/19
   42/7 43/25 47/6          partnerships [1]           113/10 114/8
   47/10 48/9 49/5           110/10                   percent [8] 34/19
   51/4 60/7 72/2           party [6] 3/20 4/4         52/12 70/17 72/6
  papers [3] 71/16           4/8 34/20 83/19           87/15 95/15 111/18
   71/18 71/20               83/19                     112/4
  paragraph [25]            passes [1] 77/24          Perfect [1] 103/17
   26/11 30/8 32/16         passing [1] 78/20         perhaps [3] 4/2
   33/25 38/5 39/7          password [1]               13/10 118/3
   41/13 41/23 42/13         112/16                   period [9] 33/1
   50/9 60/11 63/8          passwords [1]              38/12 38/14 43/25
   64/16 88/21 91/16         112/16                    44/17 49/7 63/14
   93/19 94/2 94/3          past [2] 8/3 71/16         97/21 102/19
   95/5 95/8 100/1          path [1] 66/18            Perl [2] 36/9 87/7
   100/3 101/9 103/6        pathetic [2] 14/4         permit [7] 15/4
   106/23                    14/4                      15/7 15/17 59/3
  parallelization [1]       Patrick [4] 79/4           101/4 101/5 119/7
    71/13                    79/24 82/3 82/12         permitted [1]
  parallelizble [2]         Pause [3] 84/10            101/2
   70/20 71/1                117/6 117/20             person [14] 12/7
  Pardon [1] 117/19         pay [4] 110/15             13/10 14/5 21/3
  parenthetical [2]          115/1 115/9 115/11        21/4 26/25 57/23
                            payment [2] 46/18          90/6 90/7 90/7
                              85/15
  P 9:18-cv-80176-BB Document 844
Case                              Entered on FLSD Docket plus
                                                         12/20/2021   16/19
                                                                [2] Page 160 of 177
  person... [4] 90/8         played [6] 20/12             56/15
   107/12 107/17              21/12 21/18 28/6           point [12] 4/24
   108/5                      84/17 85/21                 8/4 9/20 21/23
  personal [3] 1/3           playing [2] 21/21            24/1 25/24 56/10
   115/14 115/15              26/25                       56/11 62/9 65/3
  perspective [1]            pleasant [4] 116/4           66/11 118/22
   66/9                       116/7 119/5 119/10         pointed [1] 39/22
  pertaining [1]             please [102] 14/15          points [1] 104/9
   43/3                       17/11 17/17 18/19          police [7] 32/14
  Pholus [2] 96/5             19/10 20/11 20/13           33/6 33/23 63/7
   104/11                     20/15 21/16 22/5            63/11 64/4 73/12
  phones [1] 112/12           24/7 24/20 25/2            Ponce [1] 1/21
  picks [1] 36/5              25/5 27/14 28/3            pool [1] 72/7
  place [4] 7/11              28/17 30/20 31/5           portion [1] 93/24
   12/2 12/6 68/20            31/10 32/11 33/20          portions [1] 21/21
  PLAINTIFF [6] 1/12          35/6 36/10 36/13           posed [2] 75/4
   2/4 3/23 8/19 8/20         36/14 37/15 37/16           84/22
   118/13                     39/6 40/15 41/12           position [18]
  Plaintiffs [25]             41/22 42/6 44/10            40/19 41/9 41/16
   1/5 3/8 3/19 8/10          44/19 45/14 46/13           41/19 41/24 42/2
   9/16 10/8 17/7             47/2 47/13 48/2             42/7 42/8 43/25
   24/15 27/5 38/17           51/1 51/2 52/3              47/6 48/9 49/6
   40/25 45/5 47/20           52/6 52/17 52/18            49/17 49/22 93/18
   55/19 57/2 61/14           54/24 56/20 59/25           94/23 95/2 118/10
   68/10 75/22 81/2           60/3 60/4 61/20            positions [1]
   86/11 94/6 103/9           62/12 63/4 65/12            43/15
   114/9 116/1 120/20         66/24 68/17 69/1           possession [1]
  Plaintiffs' [23]            70/7 74/6 74/20             5/23
   2/9 2/9 2/10 2/10          76/3 76/5 76/8             possibly [1] 58/18
   2/11 2/11 2/12             78/23 80/15 81/6           post [1] 74/23
   2/12 2/13 2/13             81/21 81/23 84/9           postdates [2]
   2/14 2/14 29/5             84/15 85/15 86/4            48/15 48/19
   38/23 41/5 48/1            86/16 88/13 91/1           posted [1] 7/7
   55/23 68/16 86/15          91/4 91/6 91/15            posting [1] 79/5
   94/12 103/13               92/15 93/3 93/14           posts [2] 5/7 14/2
   114/13 120/18              93/15 94/13 95/6           PR [1] 22/14
  plan [2] 119/21             96/18 96/21 97/12          pre [1] 111/18
   119/22                     97/17 99/25 100/9          pre-mine [1]
  platform [2] 87/20          102/23 103/16               111/18
   89/15                      106/11 106/13              precise [1] 13/24
  play [5] 20/11              106/13 106/24              predicate [1]
   21/16 28/3 84/15           109/1 109/3 113/22          58/20
                              118/19 119/6               Preemptive [1]
                              3/19Entered
  P 9:18-cv-80176-BB Document 844
Case                                4/1 on4/4  4/8
                                            FLSD Docket proper     Page 13/16
                                                        12/20/2021[3]   161 of 177
  Preemptive... [1]           4/19 4/23 8/9              25/9 74/9
   96/4                       16/20 109/10              properly [1] 11/13
  preferred [1]               109/19                    property [28] 7/2
   109/21                    probably [5] 6/8            7/4 7/11 7/12
  prejudice [8] 9/21          16/2 20/5 29/14            10/13 15/10 27/16
   9/25 10/2 11/3             71/22                      27/20 27/22 28/1
   11/4 12/21 12/22          probative [1]               30/11 35/1 62/5
   58/17                      58/18                      64/8 83/16 83/20
  prejudiced [1]             problems [1] 70/21          83/21 83/24 84/2
   12/18                     procedural [5]              84/19 85/5 85/7
  prejudicial [4]             9/21 9/25 11/2             85/9 85/10 91/21
   4/6 11/16 12/25            11/3 11/11                 97/8 97/23 109/25
   59/3                      proceed [1] 84/14          property's [1]
  preliminary [3]            proceedings [5]             83/23
   92/19 94/22 100/23         84/10 117/6 117/20        proposed [1] 24/17
  premises [2] 54/21          121/2 122/8               prosecution [1]
   57/10                     process [5] 26/1            59/22
  prepare [2] 11/25           95/1 95/3 102/15          protocol [1] 16/2
   25/17                      104/20                    prove [1] 66/13
  prepared [5] 9/4           produced [1] 43/17         proved [1] 46/10
   11/18 11/21 12/18         professional [1]           proven [1] 46/7
   20/10                      36/6                      provide [3] 21/25
  preparing [1]              profitably [1]              70/3 85/8
   112/21                     72/16                     provided [6] 42/21
  present [6] 68/24          program [2] 30/2            51/7 54/7 54/8
   75/16 76/13 115/23         31/13                      60/23 85/7
   119/12 122/7              programmer [1]             provider [1] 52/14
  presented [4]               89/10                     providing [1]
   11/24 13/15 27/8          programming [3]             26/10
   82/14                      87/12 88/11 89/9          PTY [7] 41/10
  presents [1] 59/17         programs [1] 71/7           44/16 49/6 67/23
  press [1] 20/23            progress [1] 118/2          96/5 96/5 96/5
  pressure [1] 52/15         project [3] 28/12          public [4] 40/23
  pretending [3]              70/1 82/4                  41/10 84/1 108/9
   23/19 27/2 27/2           projects [1] 87/1          publication [2]
  pretty [2] 31/4            promised [1] 7/15           19/13 20/4
   73/18                     promises [1]               publicly [1] 16/19
  prevent [1] 4/8             114/24                    publish [21] 31/9
  previous [1] 21/20         prompt [1] 17/13            38/24 45/14 48/2
  previously [1]             pronounce [1]               52/17 55/25 60/3
   94/10                      29/15                      61/25 68/17 76/8
  private [11] 3/18          proof [1] 66/6              79/8 81/5 81/23
                             proofs [1] 16/19            86/16 91/4 93/4
  P 9:18-cv-80176-BB Documentquarter
Case                                   [8]
                              844 Entered      92/7
                                          on FLSD Docket reach   [1]Page105/19
                                                         12/20/2021      162 of 177
  publish... [5]              95/10 99/6 99/11           reached [3] 100/23
   94/14 96/21 100/8          99/18 99/21 100/7           107/7 120/4
   103/16 106/13              100/12                     reaching [1] 45/23
  published [3]              quarterly [1]               read [14] 42/16
   19/19 27/19 27/25          92/11                       62/21 65/20 72/1
  pull [2] 14/11             question [26] 8/21           74/1 74/4 78/11
   86/4                       9/20 10/25 12/4             78/12 100/3 102/2
  purchase [2] 87/18          13/12 15/12 15/19           105/1 105/2 106/4
   89/17                      16/4 16/13 24/21            120/5
  purport [1] 36/22           24/22 25/4 25/9            reading [1] 120/14
  purported [7] 3/18          35/17 48/17 52/19          reads [1] 72/1
   43/4 51/6 51/10            57/17 69/6 74/1            ready [3] 17/4
   51/11 51/12 60/13          75/4 83/10 84/22            17/15 119/4
  purports [1] 22/24          90/2 90/3 101/18           real [2] 100/9
  purpose [2] 8/8             101/22                      107/25
   13/19                     questioner [1]              realize [3] 89/10
  purposes [8] 7/23           27/2                        89/15 108/23
   15/13 15/18 15/21         questioning [2]             really [8] 63/21
   16/5 16/14 16/24           17/16 76/4                  70/13 71/13 79/7
   119/16                    questions [10] 9/8           79/22 83/6 84/21
  put [38] 6/20               9/14 25/10 25/18            105/2
   17/22 18/19 19/10          25/19 26/19 54/8           reason [4] 35/13
   19/14 19/18 19/20          88/18 105/18                38/14 65/6 107/7
   19/23 20/4 22/5            106/16                     reasonably [1]
   28/17 35/6 37/15          quick [2] 58/5               49/21
   39/14 47/2 52/3            106/6                      reasons [8] 37/21
   52/15 55/10 59/25         quickly [1] 94/17            39/2 41/19 44/13
   61/20 68/5 73/20          quite [3] 35/24              45/16 46/12 60/5
   74/6 78/23 80/15           61/17 72/21                 60/7
                                                         rebates [1] 37/12
   81/22 82/25 86/2          R                           rebroadcasted [2]
   91/1 92/15 97/9           Raah [2] 74/14
   99/24 105/23                                           4/21 4/21
                              75/3                       recall [17] 17/23
   107/13 108/22             Radvanovsky [1]
   110/18 111/2                                           22/16 23/12 24/3
                              34/9                        24/6 25/14 62/6
   113/22                    raises [1] 54/7
  putting [4] 43/25                                       63/2 63/3 63/15
                             Ramona [5] 22/17             65/9 65/10 65/23
   86/21 86/25 88/24          22/21 53/12 86/8
  PWC [1] 108/11                                          69/7 83/14 119/17
                              86/19                       120/2
  Python [1] 87/7            ran [2] 30/18               receipts [1] 16/19
  Q                           30/25                      receive [1] 79/12
  qualifications [1]         ranges [1] 12/23            received [17] 5/10
   69/20                     RCJBR [1] 18/13              25/16 29/5 38/23
  R 9:18-cv-80176-BB Documentrecovered
Case                                      [1]
                              844 Entered on              43/11 44/16
                                             FLSD Docket 12/20/2021       47/8
                                                                    Page 163 of 177
  received... [13]            16/18                       96/6
   41/5 43/10 43/16          recuperate [2]              relates [2] 12/13
   48/1 55/23 65/18           117/1 117/25                13/1
   68/16 85/8 86/15          refer [2] 24/17             relation [1] 41/16
   94/12 103/13               93/23                      relationship [1]
   114/13 120/18             reference [3]                15/6
  recess [6] 75/15            21/24 56/4 103/6           Relevance [3] 57/4
   75/19 115/21              referenced [1]               58/3 94/9
   115/25 116/5 118/1         95/24                      relevant [9] 13/4
  reciprocating [1]          references [3] 5/2           13/18 14/22 15/7
   15/3                       5/3 10/23                   16/13 58/6 96/3
  reciting [1] 93/18         referencing [1]              97/13 97/20
  recognize [29]              61/18                      relied [1] 45/22
   19/13 22/9 22/13          referred [4] 74/10          rely [2] 46/5
   22/23 26/5 26/17           74/11 93/21 96/6            113/6
   26/21 28/23 33/22         refresh [6] 19/5            remain [1] 118/23
   36/16 36/19 37/21          19/16 19/25 20/1           remaining [1]
   38/1 38/8 38/15            26/18 61/19                 117/24
   40/20 44/13 55/2          refreshes [1]               remains [3] 85/11
   55/12 66/1 67/2            26/20                       85/12 86/3
   80/21 86/7 86/10          refundable [2]              remedy [1] 4/7
   92/17 92/24 103/2          39/10 50/15                remember [9] 19/4
   103/5 114/2               refunds [18] 92/6            19/4 24/11 32/13
  recollect [1] 32/4          93/19 95/9 95/19            74/3 102/18 102/22
  recollection [4]            96/10 96/11 96/15           105/15 119/6
   19/16 19/25 20/1           96/24 97/6 98/10           remind [3] 21/19
   26/18                      100/6 100/12                21/20 116/23
  record [10] 3/5             100/24 101/13              reminded [1]
   56/4 58/8 65/1             101/17 102/4                119/16
   67/24 82/14 84/1           105/16 105/17              reminds [1] 14/14
   90/21 90/22 117/21        regard [4] 12/10            renew [1] 23/24
  recorded [3] 67/14          25/10 59/2 116/16          Rephrase [2] 56/5
   67/16 67/23               regarding [4]                66/22
  recording [2]               10/13 13/7 58/19           replace [1] 49/1
   67/18 67/25                104/11                     replies [1] 79/24
  recordings [1]             regards [1] 40/19           reply [1] 79/22
   67/16                     regret [1] 53/24            report [6] 5/8
  records [2] 43/8           rejected [3] 36/23           39/22 40/6 40/6
   60/19                      60/14 60/18                 40/8 60/5
  recover [4] 81/13          relate [3] 13/6             reported [1] 122/8
   81/16 107/22               36/2 69/8                  reporter [4] 1/23
   118/12                    related [8] 13/6             21/21 73/25 122/5
                              13/21 42/20 43/4           reports [5] 43/17
Case                          109/16
  R 9:18-cv-80176-BB Document 844      120/23
                                  Entered                 83/11 87/15
                                          on FLSD Docket 12/20/2021       89/1
                                                                    Page 164 of 177
  reports... [4]              120/24                      90/13 92/11 92/23
   43/18 60/13 60/21         responses [1] 9/8            94/16 94/19 97/18
   60/25                     responsibility [1]           100/19 101/13
  represent [2]               119/17                      105/20 109/5 113/7
   42/22 54/11               rest [2] 77/10               113/19 115/20
  representative [1]          115/10                      116/2 116/6 116/15
   1/3                       result [2] 44/7              117/18 117/19
  representatives [1]         50/6                        117/21 118/14
    42/23                    resulted [1] 51/18           118/18 119/11
  represented [1]            retain [1] 96/24             119/13 119/23
   51/25                     retracted [3]                120/13 120/15
  request [1] 13/16           48/15 48/19 58/12           120/17 120/25
  requested [2]              return [3] 46/22            right-hand [1]
   98/10 102/16               50/14 110/1                 87/15
  require [2] 7/25           returned [1] 58/16          rights [3] 83/20
   95/15                     returns [1] 92/14            87/20 88/3
  required [3] 89/17         revalidate [1]              RIVERO [2] 1/18
   92/13 95/13                61/2                        1/19
  requirement [1]            reversed [1] 59/8           RMR [1] 122/17
   101/4                     review [3] 94/25            Road [2] 55/6
  reraised [1] 66/17          97/21 100/15                56/18
  research [3] 1/4           revolutionize [1]           Robert [5] 19/2
   86/9 119/8                 81/11                       20/24 20/25 21/3
  Reserve [1] 51/11          reward [1] 110/20            21/5
  resigned [1] 56/12         rewarded [1]                ROCHE [2] 1/12
  respect [6] 8/1             110/22                      1/13
   12/25 13/12 58/21         RF1 [1] 74/6                room [2] 1/24
   58/24 113/9               rid [4] 7/16 7/16            119/3
  respected [1]               16/10 71/25                rooms [1] 9/13
   113/14                    ridiculously [1]            row [1] 116/15
  respond [7] 6/24            102/20                     RPR [1] 122/17
   25/19 25/20 75/7          right [66] 3/4              rule [1] 101/6
   79/6 79/13 82/15           4/10 4/16 5/1 7/21         ruled [1] 94/10
  responding [3]              9/4 13/23 15/4             rules [1] 77/21
   104/24 104/25              15/23 17/2 18/11           run [7] 28/15 71/7
   107/8                      20/7 22/4 22/22             71/7 83/22 83/22
  responds [1]                24/22 24/25 29/7            89/16 102/21
   114/17                     29/19 44/17 48/7           running [2] 30/16
  response [11]               53/18 53/21 56/5            71/5
   12/18 26/19 74/2           63/25 72/2 73/13           Ryde [1] 56/18
                              75/4 75/14 75/17
   74/15 79/19 79/22
                              75/20 76/1 78/6
                                                         S
   109/14 109/14                                         safe [1]      118/24
                              78/15 79/17 82/5
                              90/1Entered
  S 9:18-cv-80176-BB Document 844
Case                                92/8on95/13
                                           FLSD Docket scriptable
                                                       12/20/2021 Page[4]
                                                                       165 of 177
  saga [1] 54/19              97/3 106/23 107/5          28/9 29/23 62/17
  said [53] 19/3              108/13 109/17              62/25
   22/19 30/18 30/24          112/13 112/14             scroll [2] 14/15
   32/8 36/4 39/20            112/22 114/6               90/14
   39/21 39/23 40/12         saying [25] 8/11           search [9] 54/21
   43/21 48/15 48/19          8/19 15/25 26/21           54/21 55/2 56/24
   48/21 49/3 49/24           26/25 32/1 32/4            57/10 57/16 57/20
   49/25 50/6 53/1            54/23 61/23 62/3           58/15 58/19
   59/15 62/8 63/18           62/7 65/23 71/12          seat [3] 3/4 116/8
   64/7 65/18 66/12           80/11 82/24 84/21          119/15
   67/7 67/14 68/23           86/23 95/20 98/16         seated [4] 17/12
   69/20 70/17 72/20          101/5 104/24               76/3 116/14 118/19
   73/7 74/23 75/8            107/20 110/5 112/1        seating [2] 117/13
   81/19 82/17 82/17          112/2                      117/15
   82/24 83/1 83/24          says [36] 7/4 7/15         second [11] 15/14
   89/3 89/7 89/22            16/18 16/21 18/24          49/1 49/2 59/18
   89/24 90/5 98/18           22/19 22/21 23/10          65/6 72/12 84/9
   100/18 104/5               23/16 23/18 25/1           84/22 88/21 106/23
   108/17 113/9 115/6         29/12 29/21 34/14          116/24
   115/7 115/8                35/22 42/8 46/4           Secondly [1] 4/5
  saleable [1] 87/23          49/5 51/4 55/13           secret [1] 82/4
  Salem [1] 60/19             59/19 67/22 77/1          secrets [1] 114/17
  salient [1] 104/9           77/5 77/7 79/6            secure [2] 73/14
  same [13] 4/2 4/18          86/24 88/4 91/20           73/15
   10/23 10/24 18/14          95/8 96/3 101/17          security [3] 39/21
   25/3 31/1 46/9             102/4 104/9 104/14         43/21 112/21
   50/4 50/6 56/23            113/12                    sed [1] 87/8
   77/8 92/4                 SCADA [8] 33/14            see [158]
  Satoshi [3] 15/25           33/17 34/6 34/16          seeing [2] 10/22
   15/25 109/9                64/19 87/22 88/2           94/17
  Saudis [1] 89/18            88/7                      seek [2] 30/7
  save [1] 112/16            scalability [1]             106/24
  saw [2] 50/1 50/6           72/11                     seeking [5] 3/20
  say [38] 6/17 6/23         schedule [2] 20/17          7/21 14/20 30/2
   9/10 29/14 29/18           49/16                      31/12
   30/7 35/13 35/23          scheduling [1]             seeks [3] 29/22
   39/25 46/10 52/25          119/16                     62/16 62/24
   53/20 62/15 64/12         SCHILLER [1] 1/15          seem [2] 82/23
   65/25 66/14 69/25         school [1] 119/18           82/23
   70/5 70/11 76/25          scraped [1] 115/16         seems [1] 71/19
   77/3 77/6 77/9            screen [5] 18/3            seen [12] 8/6 10/3
   88/8 89/25 90/1            18/5 18/20 52/4            38/7 44/15 44/18
                              54/25                      47/7 48/8 55/5
  S 9:18-cv-80176-BB Documentseveral
Case                                   [1]
                              844 Entered      27/20
                                          on FLSD         61/4
                                                  Docket 12/20/2021 Page 166 of 177
  seen... [4] 56/25          severed [1] 84/2            shut [2] 99/19
   58/22 82/2 108/14         Shadders [1] 72/7            109/21
  sell [2] 87/25             shared [1] 114/18           sic [2] 105/6
   89/17                     shareholder [2]              105/7
  send [1] 106/17             16/11 40/24                side [11] 26/25
  sent [7] 3/9 40/5          shareholders [1]             28/20 28/21 29/7
   43/9 43/10 52/6            34/20                       29/7 61/20 61/21
   60/20 71/20               shares [6] 34/21             87/6 87/15 88/13
  sentence [5] 32/23          81/16 107/5 107/24          90/13
   34/1 64/6 65/6             115/1 115/7                sidebar [3] 58/6
   104/7                     Sharples [2] 60/21           58/8 59/5
  separate [3] 26/23          61/2                       Siemens [2] 87/23
   59/1 102/21               she [5] 116/11               87/25
  separately [1]              117/17 118/8 118/9         signatory [1]
   22/1                       118/12                      51/10
  September [13]             sheet [1] 50/22             signature [2]
   33/9 91/20 92/9           short [2] 64/6               55/16 61/6
   92/10 95/10 96/10          71/22                      significant [1]
   96/11 98/23 99/1          shortfall [1]                51/7
   100/6 100/12               51/18                      silly [1] 110/13
   105/16 109/15             shorthand [2]               similar [1] 5/2
  series [1] 42/21            122/5 122/8                simple [4] 60/16
  serious [1] 54/8           shortly [4] 6/1              63/23 85/10 111/11
  served [1] 57/23            6/7 24/21 108/20           simpler [1] 89/12
  servers [4] 30/15          should [15] 4/6             simplified [1]
   30/18 30/24 43/21          8/10 11/13 13/6             72/2
  services [4] 51/7           13/13 21/1 93/21           Simplify [1] 71/16
   52/14 95/17 105/24         95/16 95/17 95/21          simply [3] 13/20
  session [3] 22/25           95/21 108/18                15/24 70/16
   23/10 23/16                109/10 116/15              simultaneously [1]
  sessions [1] 25/18          117/12                      71/7
  set [10] 27/8              shouldn't [1]               since [8] 33/10
   28/16 30/15 30/18          98/17                       58/1 64/5 69/6
   30/24 41/15 41/17         show [9] 20/13               98/14 100/15
   110/6 110/24               28/20 33/5 43/8             104/14 117/24
   122/14                     60/19 65/2 74/20           single [4] 36/3
  sets [1] 42/2               83/2 114/14                 36/8 71/5 99/11
  setting [1] 114/6          showed [1] 64/23            sir [2] 52/22
  settlement [1]             showing [3] 18/7             117/10
   99/10                      45/9 113/20                sit [1] 119/13
  seven [2] 99/4             shown [2] 13/16             site [1] 39/23
   120/16                     52/24                      sits [1] 117/17
                             shows [2] 58/13             sitting [2] 7/8
  S 9:18-cv-80176-BB Documentsomebody
Case                          844 Entered[6]    7/14
                                          on FLSD         87/3 90/18
                                                  Docket 12/20/2021 Page 167 of 177
  sitting... [1]              7/17 16/18 23/19           sourced [1] 85/25
   116/13                     26/9 75/3                  South [9] 1/14
  situation [1]              somehow [1] 3/19             32/14 33/6 33/23
   118/7                     someone [6] 4/2              56/18 63/7 64/4
  six [4] 88/4 89/4           27/2 27/2 36/5              73/11 105/24
   89/13 89/21                59/22 107/17               Southeast [1] 1/17
  size [1] 92/13             something [14]              SOUTHERN [3] 1/1
  skill [1] 75/4              6/23 11/7 18/8              122/3 122/6
  skills [1] 70/12            21/10 36/5 40/5            Space [1] 14/2
  Skype [1] 31/6              40/11 59/17 59/20          span [1] 90/9
  Slack [6] 4/13 5/9          70/24 82/25 83/2           speak [4] 10/18
   8/2 8/3 10/4 74/22         89/13 107/6                 12/5 18/16 119/7
  slices [1] 109/25          sometime [1] 6/8            speaking [1] 4/2
  smart [6] 30/11            somewhat [1] 9/20           speaks [2] 54/2
   32/7 32/20 33/9           Sommer [11] 51/25            54/4
   62/5 63/12                 52/6 53/18 67/6            special [1] 115/8
  snappy [1] 71/22            68/24 76/14 86/19          specifically [1]
  so [144]                    91/17 91/17 91/19           39/20
  social [2] 9/7              103/25                     speed [1] 20/9
   9/15                      son [2] 81/9                spoke [1] 21/4
  software [32]               106/25                     spoken [2] 21/22
   33/14 34/16 35/1          sorry [33] 18/2              26/2
   35/3 35/14 36/2            18/3 18/7 18/17            Sportsbook [1]
   64/20 64/23 65/8           23/12 38/1 48/17            87/2
   69/8 69/12 69/13           49/4 49/11 49/12           squashed [1]
   69/24 72/7 77/1            50/24 54/3 57/17            102/21
   77/3 77/7 77/8             59/12 60/18 62/9           ss [1] 122/2
   84/4 85/24 86/3            65/20 67/5 68/2            staff [1] 72/5
   87/2 87/2 87/7             68/5 73/20 73/25           stage [1] 35/25
   87/16 87/19 87/22          77/3 88/15 93/8            stamp [2] 39/4
   87/25 88/4 89/8            93/11 94/14 96/4            94/18
   97/23 97/25                106/6 108/10               stand [3] 5/5 9/24
  solely [2] 11/4             108/19 109/17               14/25
   13/17                      112/23                     standard [1] 88/10
  somber [1] 9/13            sort [8] 9/10               standards [1]
  some [18] 9/23              12/23 53/4 57/21            73/14
   12/8 12/19 20/22           58/23 102/20               stapler [1] 14/14
   30/15 30/18 31/22          102/20 104/22              start [5] 9/23
   35/2 37/8 46/7            sought [2] 6/14              12/12 49/11 118/11
   56/10 56/15 58/23          64/8                        119/19
   70/12 70/13 71/20         source [9] 84/19            started [19] 28/13
   72/5 115/8                 85/1 85/1 85/2              63/18 63/21 64/7
                              85/3 85/7 85/23             64/8 64/11 66/19
Case                          50/11
  S 9:18-cv-80176-BB Document 844     50/20
                                  Entered      50/20
                                          on FLSD         92/20 92/23
                                                  Docket 12/20/2021       92/24
                                                                    Page 168 of 177
  started... [12]             70/19 70/20                 94/22
   70/22 98/19 98/20         states [7] 1/1              submitted [4] 42/9
   98/21 98/22 98/23          1/10 70/16 77/19            51/9 94/23 95/4
   98/24 98/25 99/15          79/14 122/1 122/6          subsequent [1]
   99/16 113/20              stating [1] 24/15            9/23
   119/23                    stayed [2] 84/3             subsidiaries [1]
  starting [1] 3/11           84/4                        54/12
  starts [6] 23/19           Stefan [1] 7/14             substance [3] 6/25
   32/1 74/15 91/17          stenographic [1]             7/18 14/19
   105/18 106/16              122/11                     substantiate [2]
  state [2] 45/24            STEPHEN [1] 1/16             10/11 51/9
   114/5                     Steve [1] 72/6              substantive [8]
  stated [14] 12/23          Steven [1] 55/16             7/22 7/24 8/25
   13/8 27/24 43/16          stick [1] 29/17              10/10 13/19 15/15
   50/23 82/6 83/18          still [5] 33/22              15/17 23/22
   86/3 87/18 95/12           71/18 85/13 85/13          substantively [2]
   95/20 100/22               99/7                        11/12 93/22
   102/18 117/22             stopped [2] 99/22           such [5] 36/3
  statement [32]              113/20                      54/13 60/23 61/6
   5/20 9/10 10/12           strangely [1] 68/1           89/11
   10/20 12/2 12/6           Strasan [2] 96/5            suggest [1] 117/23
   12/9 12/12 12/14           104/11                     suggested [1]
   12/15 12/24 13/7          Street [1] 1/17              108/18
   13/24 14/8 14/12          stress [1] 13/11            Suite [3] 1/14
   14/22 16/14 32/13         Strike [2] 23/13             1/17 1/21
   33/6 33/22 41/18           108/19                     suited [1] 89/18
   44/1 44/7 45/22           stripping [1] 7/12          Sukuriputo [9]
   47/16 47/17 50/13         struck [1] 7/17              28/11 29/13 29/16
   50/13 62/14 63/7          structs [1] 70/25            29/17 29/22 32/2
   83/14 92/20               structured [1]               62/4 62/16 62/23
  statements [42]             71/4                       sum [1] 7/18
   3/10 3/15 3/20 4/1        structures [1]              summary [1] 41/18
   4/5 4/10 4/12 5/2          70/25                      super [1] 113/11
   5/13 5/24 6/12            Stuart [2] 21/6             supercomputer [7]
   6/25 7/1 7/22 8/7          23/19                       46/16 51/12 66/3
   8/14 8/18 8/24 9/5        student [1] 110/12           66/7 66/7 66/12
   9/10 9/11 9/18            stuff [7] 72/8               66/13
   9/22 10/1 10/6             77/14 77/18 84/3           supervisory [2]
   10/9 10/16 10/21           108/4 110/14                33/13 34/15
   11/1 11/6 11/19            110/17                     supplied [1] 91/22
   11/22 12/10 12/23         stupid [1] 114/7            support [3] 43/10
   46/21 49/19 49/19         Sturt [1] 73/11              43/15 46/20
                             submission [4]              supposedly [1]
  S 9:18-cv-80176-BB Documenttalked
Case                          844 Entered   14/23
                                      [7]on FLSD         49/15 49/18
                                                 Docket 12/20/2021       49/21
                                                                   Page 169 of 177
  supposedly... [1]   34/10 37/7 63/8                    50/13 51/13
   97/7               64/18 65/10 73/9                  taxpayer's [5]
  Supreme [6] 105/24 talking [14] 15/1                   42/23 46/5 49/20
   105/25 106/1 106/2 21/3 28/11 32/8                    51/5 51/10
   106/5 106/6        38/6 44/22 45/2                   TcL [1] 87/8
  sure [8] 6/13 22/1 61/14 63/23 77/8                   teach [1] 73/12
   22/4 31/4 52/25    86/8 91/18 110/17                 tearing [1] 75/11
   61/17 81/1 120/14  114/5                             technical [1]
  sustained [12]     taught [3] 36/7                     69/16
   27/12 53/10 57/5   73/10 73/12                       technically [3]
   58/4 59/4 64/14   tax [47] 35/14                      53/19 54/23 86/1
   65/3 66/21 72/24   37/1 37/11 37/12                  tell [7] 11/5
   73/4 83/8 106/21   39/10 40/7 41/16                   81/10 82/10 82/12
  Swap [2] 77/14      43/19 43/20 48/6                   89/2 109/7 112/11
   77/18              50/14 50/15 50/23                 telling [2] 11/14
  system [6] 33/13    51/18 52/13 52/14                  101/19
   34/15 89/16 110/10 52/16 52/24 53/1                  tells [1] 105/17
   110/24 112/3       59/16 59/19 62/8                  tenth [1] 72/16
  systems [2] 33/17   63/20 65/7 66/9                   terminate [1] 54/1
   88/2               66/11 66/17 76/10                 terminating [1]
                      92/6 92/7 95/12                    54/13
  T                   95/15 95/20 96/11                 termination [1]
  table [4] 7/8       97/3 97/6 97/16                    53/13
   14/25 117/8 119/14 97/20 98/20 100/24                terms [2] 59/2
  take [28] 19/22     106/10 107/9 108/2                 104/10
   21/14 24/10 27/13  108/4 115/9 115/10                Terra [1] 72/10
   34/22 37/4 44/9    115/11                            terribly [1] 70/19
   46/25 47/13 51/22 taxable [1] 39/9                   testified [4] 5/6
   55/8 57/6 69/3    taxation [30]                       18/10 19/1 25/17
   75/13 75/15 77/22  36/17 37/22 38/6                  testifying [1]
   81/20 90/12 90/15  39/3 40/18 41/9                    9/24
   97/12 98/7 105/5   41/15 44/22 49/20                 testimony [2] 15/1
   105/25 108/9       51/19 52/1 54/9                    16/23
   115/19 115/21      54/13 61/13 65/23                 testing [1] 85/9
   118/9 119/18       66/2 67/2 68/21                   tests [4] 30/16
  taken [4] 10/9      76/22 91/12 92/18                  30/19 30/25 87/5
   51/4 85/13 85/14   93/1 93/17 94/18                  text [2] 35/5
  taking [8] 7/11     95/8 96/2 96/15                    42/14
   21/22 72/18 86/1   96/24 103/4 103/23                texts [1] 42/15
   86/2 87/16 87/21  taxed [1] 95/18                    than [7] 10/19
   93/18             taxpayer [12] 42/9                  21/1 63/22 70/13
  talk [2] 30/11      42/20 43/4 43/11                   106/24 112/8
   79/20              46/17 46/18 46/19                  119/19
Case                          94/23
  T 9:18-cv-80176-BB Document 844     108/1
                                  Entered      112/5
                                          on FLSD         100/15 101/23
                                                  Docket 12/20/2021 Page 170 of 177
  thank [26] 15/22   them [30] 3/15      106/4 107/17
   17/1 17/13 21/15   4/14 5/17 5/21 6/7 109/18 110/3 111/3
   31/24 34/22 37/19  6/14 6/20 6/21 7/6 111/8 111/11
   39/14 42/18 46/25  8/19 9/23 11/14    111/11 111/23
   51/23 57/6 61/10   28/20 42/3 50/3    115/24 119/24
   76/20 78/2 81/25   50/3 59/22 60/14  there's [21] 10/22
   90/16 92/2 96/12   60/16 70/25 71/19  11/2 12/8 13/12
   98/7 102/8 112/24  80/7 80/12 90/15   16/7 24/25 25/2
   112/24 114/22      107/5 107/6 108/1  25/9 26/8 26/12
   117/11 120/13      111/1 111/2 120/17 35/3 36/3 59/23
  thanks [1] 104/3   then [39] 5/18      66/14 69/13 73/16
  that [590]          12/14 14/6 15/12   80/25 87/21 101/22
  that's [65] 3/25    17/8 20/22 24/21   110/20 113/9
   4/19 7/18 9/3 9/20 25/3 29/7 29/21   these [38] 3/17
   10/12 11/7 11/23   30/7 33/17 40/8    3/20 4/12 4/20
   12/20 12/24 12/25  40/12 40/13 43/20  4/25 5/13 5/23
   13/4 14/8 14/13    53/2 59/20 59/20   6/11 7/7 7/22 8/18
   15/11 18/21 19/15  59/22 62/14 65/11  8/23 9/5 9/7 10/8
   20/5 22/19 28/4    66/10 77/13 82/6   11/9 20/6 27/1
   29/14 29/20 34/19  84/21 87/11 88/8   31/14 37/12 43/8
   35/22 42/15 44/24  89/23 91/23 92/12  43/18 51/5 54/10
   52/12 55/5 55/13   99/16 99/22 104/14 61/12 67/7 67/16
   59/1 59/15 59/21   104/25 105/15      74/9 80/13 82/21
   64/6 64/22 66/9    115/8 118/14       87/4 88/25 89/3
   66/10 70/6 71/12   118/15             89/25 96/6 97/6
   78/2 80/14 80/23  there [66] 3/6 3/7 100/14 100/20
   81/19 84/5 84/21   4/17 4/22 4/25    they [107] 3/13
   84/24 87/18 87/23  5/12 12/24 16/1    3/13 3/22 4/3 4/3
   88/7 88/10 94/20   16/10 16/22 18/5   4/20 4/21 5/14 6/1
   95/4 97/10 99/22   18/10 19/14 19/18  6/7 6/16 8/5 8/11
   101/4 101/5 101/23 24/5 26/2 26/11    8/14 8/25 9/1 9/22
   105/21 106/7       26/23 31/24 32/9   9/22 10/1 10/4
   109/13 110/9       38/15 39/7 39/21   10/16 11/1 11/14
   110/16 110/22      42/14 42/18 43/20  11/24 12/3 12/4
   111/9 111/10       50/9 56/15 57/15   18/14 20/4 21/8
   111/24             57/16 57/18 57/20  23/2 25/18 25/19
  theater [1] 26/24   57/21 58/1 64/9    36/22 36/23 37/14
  their [17] 4/8 8/2 66/15 66/16 70/21   38/6 39/24 40/5
   11/12 38/6 40/18   71/23 71/23 73/10  42/21 43/21 44/4
   43/21 44/3 45/17   73/18 73/22 75/3   44/4 45/17 48/15
   48/16 48/19 51/4   79/20 80/25 84/21  48/19 49/24 49/24
   59/8 90/11 94/20   84/24 85/13 97/18  50/1 50/4 50/5
                      99/1 99/1 99/11    50/20 51/21 52/11
                              69/16
  T 9:18-cv-80176-BB Document 844
Case                                  70/3
                                  Entered on FLSD        27/25 37/1
                                             71/5Docket 12/20/2021 Page 81/9
                                                                        171 of 177
  they... [54] 52/15          71/14 71/17 71/18          99/6 99/7 99/18
   53/8 54/18 57/16           80/6 80/13 84/24           115/4 117/24 118/2
   57/20 58/14 58/15          85/5 85/11 89/12           120/4
   59/8 60/14 60/14           89/25 107/19 113/4        through [16] 1/8
   60/15 60/22 61/4          think [24] 5/18             7/13 24/10 28/5
   61/5 66/4 66/4             9/20 10/2 10/7             40/5 44/17 48/4
   66/5 66/6 66/6             11/7 11/23 13/12           61/12 63/2 63/3
   66/12 66/15 67/23          18/13 20/5 31/3            70/13 71/15 84/8
   67/24 70/25 78/12          72/14 72/16 72/19          85/17 102/18 105/5
   80/9 95/4 95/22            99/1 102/19 111/24        throughout [2]
   96/16 97/6 98/18           111/25 112/5 113/8         14/5 100/20
   98/19 98/21 98/22          113/17 113/19             throw [2] 25/18
   98/23 98/24 98/25          118/8 118/11               25/19
   99/18 99/18 99/22          118/22                    thrown [1] 14/6
   101/2 101/3 101/4         thinking [1]               thus [1] 90/3
   101/13 104/20              111/23                    till [3] 43/24
   104/23 106/7              third [4] 46/6              63/20 63/25
   108/17 110/4               49/2 72/15 75/3           time [35] 8/9 11/1
   110/12 111/7              this [219]                  12/16 19/19 21/2
   111/23 116/13             those [25] 3/21             21/11 36/24 38/9
   120/4                      4/1 8/7 9/10 10/25         38/12 40/21 44/18
  they're [9] 3/14            11/22 12/10 19/3           47/7 55/5 56/25
   4/18 5/11 9/11             20/19 38/13 43/17          57/14 64/7 75/12
   11/14 33/16 46/9           57/23 69/19 71/21          75/21 79/18 80/18
   52/13 77/20                85/5 88/3 88/6             81/15 82/3 82/17
  They've [1] 11/13           88/8 98/10 105/17          92/4 92/8 100/9
  Theymos [1] 111/6           107/19 109/24              104/4 104/10 105/8
  thing [26] 4/2              110/2 116/16 120/5         108/22 110/5
   5/11 26/23 28/11          though [2] 4/2              115/13 115/18
   31/1 34/9 47/18            110/1                      118/22 119/25
   48/24 49/24 50/4          thought [3] 18/7           timeline [1] 105/5
   63/23 64/18 71/1           21/4 21/11                timely [1] 11/13
   71/8 71/22 89/23          thousand [5] 66/5          times [2] 20/22
   90/4 92/1 92/21            66/6 66/10 66/14           30/24
   104/22 108/7               99/20                     title [1] 47/4
   108/15 109/17             thousandth [1]             titled [2] 29/13
   110/17 110/24              72/12                      41/9
   117/12                    thread [2] 71/8            Today [1] 11/17
  things [25] 19/3            75/1                      today's [2] 7/10
   21/1 21/3 27/1            threaded [1] 71/1           115/2
   27/18 33/16 33/16         threads [2] 71/4           together [8] 51/5
   62/10 63/22 67/15          71/6                       86/25 88/25 104/4
                             three [11] 15/23            110/4 110/5 114/17
  T 9:18-cv-80176-BB Documenttranscript
Case                          844 Entered on[23]          109/18 110/3
                                             FLSD Docket 12/20/2021 Page 172 of 177
  together... [1]             1/9 24/3 24/5               111/13 112/19
   115/16                     24/12 24/14 24/16           122/10
  told [14] 31/1              25/15 25/25 27/10          truly [1] 15/5
   63/11 64/4 64/23           36/20 36/23 37/3           trust [11] 91/22
   65/22 66/16 71/16          65/18 65/22 66/16           97/22 97/23 98/3
   71/25 73/21 81/15          67/3 68/19 76/11            98/4 98/5 113/7
   108/23 109/22              76/17 91/11 122/10          113/9 113/16
   113/2 113/4                122/11 122/12               114/19 116/6
  too [3] 11/15 25/5         transcripts [1]             trusted [2] 113/14
   98/17                      22/24                       114/7
  took [7] 27/20             transfer [6] 35/13          trusting [1]
   44/4 49/24 68/20           65/7 87/20 95/13            113/20
   71/15 89/2 98/16           98/2 98/4                  trusts [1] 110/4
  top [14] 14/13             transferred [5]             truth [1] 60/18
   15/9 15/24 16/7            28/2 84/1 85/2             try [8] 20/7 20/8
   23/6 23/10 23/16           90/19 91/23                 24/10 102/21
   37/23 37/25 39/4          transformed [2]              108/15 110/10
   48/7 70/17 72/6            89/3 89/21                  110/21 112/18
   94/19                     transition [1]              trying [10] 9/24
  top-one-percent [1]         83/6                        11/3 12/11 36/24
    70/17                    treated [3] 14/6             80/7 83/3 83/6
  topic [1] 42/7              95/16 95/22                 90/1 108/4 113/17
  total [3] 87/4             tremendous [1]              Tulip [1] 18/14
   88/8 88/25                 13/11                      turn [1] 97/22
  totally [1] 60/15          trial [17] 1/9              turned [2] 16/11
  toward [1] 100/23           3/12 3/20 9/5 9/23          115/13
  Trading [1] 18/14           11/2 11/6 11/7             turtleneck [1]
  trail [1] 99/23             11/17 11/19 11/20           21/12
  training [3] 22/25          11/21 12/12 13/8           turtlenecks [1]
   23/10 23/16                13/20 22/2 120/8            21/9
  tranches [1] 115/4         tried [5] 21/9              Twenty [2] 88/4
  transacting [1]             49/2 75/11 107/4            88/6
   72/15                      107/5                      Twenty-four [1]
  transaction [3]            tries [1] 7/13               88/6
   7/9 7/11 51/6             trillions [1]               Twenty-six [1]
  transactions [3]            112/8                       88/4
   51/13 72/12 108/5         Trinh [2] 67/4              Twitter [2] 4/21
  transcribe [1]              76/12                       90/8
   67/17                     true [17] 11/23             two [26] 12/22
  transcribed [4]             33/12 36/1 40/3             16/6 22/24 23/1
   67/8 67/14 67/22           50/6 59/7 70/11             33/16 43/3 43/17
   67/24                      89/20 107/3 107/4           49/3 62/10 77/6
                              107/7 107/25                81/9 85/5 88/6
  T 9:18-cv-80176-BB DocumentUnger
Case                                [1] on33/6
                              844 Entered               110/18 110/24
                                           FLSD Docket 12/20/2021 Page 173 of 177
  two... [13] 89/2   unilateral [3]                      113/22 114/6 115/2
   89/21 98/25 99/2   110/11 110/13                      118/2
   99/15 108/10       111/10                            upon [2] 45/22
   116/20 116/23     uninitiated [1]                     87/24
   117/4 120/5 120/7  90/9                              us [50] 6/22 11/15
   120/9 120/16      unit [1] 87/4                       20/9 23/3 24/7
  type [1] 46/9      UNITED [6] 1/1                      24/24 26/6 31/8
  typical [1] 47/18   1/10 77/19 79/14                   31/10 32/16 33/4
                      121/3 122/6                        33/5 34/1 34/20
  U                  University [1]                      39/6 41/12 42/6
  U.S [1] 1/23        73/11                              42/15 44/19 45/19
  Uh [1] 75/2        unlawful [2] 8/12                   45/25 46/2 46/11
  Uh-huh [1] 75/2     8/20                               46/13 47/13 48/13
  UK [1] 57/11       until [9] 8/4                       49/10 49/12 53/3
  unable [1] 61/3     13/17 23/22 56/11                  53/4 53/4 55/24
  unclear [3] 3/24    56/14 57/13 92/11                  56/20 60/9 64/15
   13/1 117/13        99/16 99/21                        66/18 67/9 69/1
  uncover [1] 8/19   untimely [2] 11/15                  72/16 75/12 76/16
  under [10] 4/6      13/19                              79/18 82/4 91/15
   9/13 9/19 13/22   untoward [1] 58/23                  97/12 101/4 101/8
   49/16 52/15 53/1  up [73] 3/12 14/11                  104/23 115/1
   72/12 100/15 111/3 14/23 16/2 17/22                   118/22
  underlying [1]      18/19 19/10 19/23                 use [19] 6/13 6/20
   10/10              21/9 22/5 28/16                    15/13 15/20 16/4
  underneath [3]      28/17 30/15 30/15                  16/14 16/24 22/10
   24/22 29/18 47/17  30/18 30/24 31/5                   23/21 24/14 35/13
  understand [10]     32/16 34/12 35/6                   36/24 65/7 69/14
   3/16 9/9 9/25      36/5 36/10 36/23                   70/24 73/20 74/9
   10/17 12/11 42/3   37/15 37/23 37/25                  88/1 110/13
   73/21 97/24 106/24 40/15 41/7 47/2                   used [9] 8/24 8/25
   113/11             48/24 54/24 55/10                  10/9 10/12 11/12
  understanding [1]   55/14 56/11 57/13                  13/9 70/19 73/12
   12/1               59/25 61/16 61/20                  83/23
  understood [1]      63/4 63/9 65/11                   user [1] 51/12
   73/23              70/7 73/13 74/6                   using [8] 4/3 6/21
  undertaken [1]      75/8 76/5 77/3                     30/3 31/13 46/9
   39/9               77/9 78/23 80/15                   61/3 65/25 74/18
  undertook [1] 38/6 81/22 86/4 88/13                   utterly [4] 82/18
  unduly [1] 59/3     89/23 91/1 91/7                    112/1 112/9 113/13
  unfortunate [1]     92/11 92/15 94/17                 Utz [2] 53/25
   118/1              95/23 96/18 99/17                  97/16
  unfortunately [3]   99/24 102/23                      Utz's [1] 53/17
   73/24 75/10 110/1  106/11 109/1 110/6
  V 9:18-cv-80176-BB Documentviolation
Case                                      [1]
                              844 Entered on FLSD8/21     86/19 103/3
                                                  Docket 12/20/2021 Page 174 of 177
  validated [1]              Vistomail [1]       way [32] 10/3
   110/23                     109/9               16/17 25/18 26/20
  validating [1]             Vitalik [2] 111/19 29/14 31/22 32/8
   110/15                     111/19              42/17 54/23 68/23
  valuable [5] 83/16         vs [1] 1/6           70/13 70/17 70/22
                                                  71/15 75/3 86/2
   83/23 84/25 107/6         W                    86/23 97/9 108/4
   111/16                    wait [2] 17/9
  value [8] 7/2 7/3                               111/11 112/2
                              80/11               112/18 112/23
   15/10 35/14 58/18         Wales [8] 32/14
   65/7 111/14 115/2                              113/8 113/15
                              33/6 33/23 56/18    113/18 113/19
  values [1] 70/21            63/7 64/4 73/12
  variety [1] 113/4                               114/7 115/8 115/8
                              105/24              115/11 119/3
  various [4] 44/23          wall [1] 110/18
   56/2 87/6 90/19                               ways [2] 30/2
                             wallet [2] 109/10    31/13
  Vel [1] 17/21               109/19
  Vela [137]                                     we [198]
                             want [15] 32/2      we'll [7] 17/16
  venture [1] 83/25           60/16 62/16 62/23
  verbal [2] 120/23                               76/4 118/1 118/15
                              72/14 82/20 83/2    118/15 119/21
   120/24                     102/20 110/21
  verbatim [1] 21/22                              119/22
                              111/14 115/6 115/8 we're [15] 3/4
  verified [2] 5/9            117/1 117/7 118/10 3/24 17/15 20/8
   46/6                      wanted [15] 34/11
  version [1] 22/11                               33/22 41/8 62/11
                              36/22 71/1 73/9     66/18 68/19 72/11
  version's [1] 81/1          75/8 79/4 88/1
  versions [3] 36/1                               76/10 77/8 91/5
                              89/14 89/23 97/3    91/11 91/14
   69/8 77/9                  108/9 109/19 110/6 we've [10] 4/13
  very [16] 9/10              110/25 112/9
   14/4 14/4 14/6                                 8/6 10/3 37/7
                             wanting [1] 83/22    39/17 82/2 91/16
   21/1 22/2 24/14           wants [2] 44/2
   35/12 69/22 70/16                              118/5 120/3 120/4
                              85/14              web [1] 69/16
   75/4 82/17 89/7           warrant [8] 54/21 week [5] 6/5 11/19
   110/19 113/9               55/3 56/24 57/10
   113/21                                         118/3 118/15
                              57/16 57/20 58/16   118/23
  vet [1] 107/18              58/19
  via [2] 30/3 31/14                             weekend [4] 116/21
                             was [242]            119/5 119/10
  video [8] 14/2             wasn't [12] 33/11
   20/12 21/18 21/21                              120/25
                              38/15 40/20 48/4   weeks [1] 77/6
   28/6 79/23 84/17           57/23 63/20 73/6
   85/21                                         weird [1] 71/19
                              73/18 73/18 79/22 Welcome [4] 75/20
  videos [1] 120/3            107/3 111/16
  view [2] 66/11                                  76/1 116/6 118/18
                             Watts [6] 22/17     well [19] 4/14
   118/6                      53/12 53/13 86/8    4/25 5/12 10/2
Case                          14/19
  W 9:18-cv-80176-BB Document 844     21/25
                                  Entered      23/1
                                          on FLSD         119/20 120/2
                                                  Docket 12/20/2021 Page 175 of 177
  well... [15] 12/8   23/18 26/8 26/24   where [23] 9/25
   12/17 18/24 29/12  28/25 29/18 31/18   11/3 15/23 24/25
   29/12 59/1 67/6    32/1 35/22 41/23    25/18 26/12 26/23
   76/13 76/18 80/25  43/10 45/24 48/23   28/2 41/23 42/8
   102/12 113/20      51/21 53/3 54/20    44/1 50/23 66/19
   118/21 118/21      55/13 62/3 62/7     71/12 72/10 74/23
   118/24             62/15 62/23 63/23   82/20 96/2 110/24
  went [10] 28/13     64/7 64/21 66/4     115/9 115/10
   48/23 61/12 63/2   66/12 69/3 69/7     116/13 118/10
   63/3 63/7 73/22    69/15 69/15 70/11 WHEREOF [1] 122/14
   92/12 99/6 102/18  72/5 72/8 72/10    whether [3] 6/15
  were [66] 3/13      72/14 73/22 74/3    8/21 37/12
   3/21 3/22 5/14 6/1 74/10 77/7 77/25   which [46] 8/6
   6/7 6/13 6/16 9/22 80/5 81/13 82/6     8/10 9/13 10/3
   9/24 10/1 10/4     82/16 82/21 83/1    14/22 16/21 18/13
   11/19 12/1 12/3    83/2 83/18 83/24    27/19 28/11 31/6
   12/3 12/20 12/20   84/21 85/1 86/2     32/7 32/10 32/20
   18/7 26/9 33/9     86/24 89/22 95/4    35/7 40/12 40/24
   34/20 37/2 37/12   98/2 99/20 101/19   41/16 45/22 46/9
   38/12 39/24 40/7   102/2 102/5 102/20 50/15 54/7 57/13
   40/10 40/12 43/8   104/5 105/1 107/22 60/23 61/17 63/12
   43/22 44/3 50/24   108/1 109/22        66/18 70/8 70/23
   51/7 52/15 52/24   109/24 109/25       71/11 72/10 72/18
   53/1 57/16 57/20   110/12 111/10       74/17 76/6 77/13
   60/20 60/22 60/23  111/25 112/1 113/4 78/24 79/14 81/22
   61/14 66/18 67/7   115/17 118/7 118/9 83/25 85/16 85/25
   67/11 67/16 70/2  what's [5] 8/5 9/6 87/19 88/13 92/20
   72/4 72/22 87/16   14/8 78/4 116/12    95/20 107/9 109/2
   88/6 88/7 89/18   when [43] 3/21      while [6] 7/8 9/24
   92/13 97/6 99/1    4/11 5/13 5/16      14/25 53/5 69/6
   99/2 99/21 104/20  5/20 5/21 5/22      77/4
   110/2 110/4 111/4  5/23 7/9 7/10 10/9 Whitepaper [2]
   111/7 112/19       21/12 21/20 38/15   71/21 109/9
   112/21             40/9 49/24 50/2    who [22] 8/7 12/5
  weren't [7] 3/13    50/5 53/3 57/9      12/6 14/3 14/6
   6/13 9/1 10/7 10/7 57/16 57/20 59/16   21/2 21/4 25/16
   33/10 104/23       59/17 60/16 64/11   43/17 50/6 53/1
  WEST [1] 1/2        66/16 69/14 73/10   59/22 70/2 71/13
  what [90] 4/7 4/10 76/23 81/12 82/24    72/5 72/7 73/18
   8/6 8/8 8/8 9/10   83/23 93/18 98/14   73/19 89/17 107/17
   10/3 12/1 12/4     105/12 107/20       107/18 117/14
   12/19 13/7 13/23   110/25 111/22      who's [1] 117/18
                      113/20 115/13      Whoever [1] 110/22
Case                          88/22
  W 9:18-cv-80176-BB Document 844     93/14
                                  Entered      93/24
                                          on FLSD         13/15 13/20
                                                  Docket 12/20/2021       13/22
                                                                    Page 176 of 177
  whole [3] 50/9              102/6 102/24                14/21 18/19 25/18
   104/22 110/24              122/14                      25/19 25/19 25/20
  why [11] 6/11 12/3         witnesses [1] 9/24           32/7 32/21 34/9
   14/21 20/5 24/17          won [2] 50/2 99/11           53/19 58/9 63/12
   34/19 38/6 45/17          won't [3] 71/25              68/5 70/24 71/3
   76/18 93/23 117/10         72/1 99/17                  72/6 73/2 73/10
  wife [5] 57/14             wonderful [1]                73/23 79/20 83/22
   86/8 86/19 107/15          72/20                       89/17 90/9 95/15
   114/8                     word [6] 24/14               97/4 97/4 101/12
  will [24] 7/10              24/14 24/20 35/4            107/14 108/4
   21/24 22/4 38/22           73/20 74/2                  108/15 109/18
   41/3 47/24 52/25          words [3] 8/18               109/21 109/23
   67/15 79/19 81/11          21/22 24/23                 110/3 111/14
   81/12 81/13 94/11         work [13] 17/15              111/14 112/15
   96/6 106/4 107/21          34/6 52/12 70/2             112/22 113/6 113/6
   107/21 110/12              73/18 85/12 98/19           115/3 116/11
   110/15 112/12              111/25 112/23               116/17 117/23
   118/23 118/25              113/2 114/17 115/7          117/23 119/2
   119/10 119/22              119/20                     wouldn't [4] 12/9
  wipe [1] 97/4              worked [12] 27/16            21/8 21/13 118/10
  wiser [1] 118/11            27/18 27/18 27/19          wright [231]
  wish [3] 118/21             27/22 27/24 27/25          Wright's [12] 7/6
   118/24 119/5               32/5 33/12 53/18            9/22 16/22 21/17
  witch [1] 37/14             53/20 111/20                28/4 30/21 31/6
  withdraw [1] 83/10         working [5] 18/3             74/2 74/2 74/15
  Withdrawing [1]             33/9 66/11 72/10            85/16 106/14
   45/12                      113/4                      write [5] 69/14
  withdrawn [2]              works [4] 72/3               70/3 71/18 77/25
   120/4 120/11               110/9 110/22                81/8
  withdrew [1] 44/4           115/19                     writer [1] 69/16
  withhold [1]               world [5] 72/15             writes [1] 41/15
   100/24                     79/21 81/11 111/15         writing [2] 50/3
  within [10] 3/22            112/7                       69/19
   6/1 9/7 9/12 24/23        worn [1] 21/12              written [4] 69/21
   40/7 43/19 52/15          worst [1] 108/7              73/8 78/4 90/10
   52/23 119/9               worth [3] 16/2              wrong [13] 19/18
  without [1] 67/18           88/11 89/9                  19/20 20/4 20/22
  witness [19] 13/17         would [66] 3/15              20/22 76/15 82/18
   14/25 18/8 19/23           3/22 6/21 6/22              82/18 86/1 111/24
   20/14 22/6 28/18           8/22 9/4 9/25 10/5          112/1 112/10
   52/18 52/20 74/6           11/4 11/18 11/20            113/15
   80/16 82/15 86/5           11/25 12/4 12/6            wrote [6] 71/7
                              12/17 12/18 12/18           101/19 102/2 102/5
                              109/13
  W 9:18-cv-80176-BB Document 844
Case                                   112/15
                                  Entered on FLSD Docket ZALMAN     Page 1/20
                                                         12/20/2021[1]   177 of 177
  wrote... [2]         113/5 114/6 114/21 zero [1] 99/9
                     105/1
   120/16              117/5 117/9 120/16 zoom [15] 22/7
                      yesterday [10] 5/5 28/19 29/6 36/13
  Y                    6/2 6/3 6/4 17/22   42/14 46/1 52/8
  Yacc [1] 87/8        18/10 18/23 19/1    53/14 56/1 60/11
  yeah [3] 97/18       39/17 74/22         65/15 76/18 101/9
   103/15 117/16      you [591]            103/14 113/23
  year [9] 39/11      you'll [4] 17/2     zoomed [1] 23/7
   43/24 92/7 98/20    32/13 33/22 65/2
   99/1 99/2 102/19   you're [42] 7/21
   106/9 110/11        8/15 8/23 8/24
  years [2] 11/10      10/1 10/21 11/2
   36/6                11/24 14/19 22/1
  years' [2] 88/11     26/20 28/11 43/25
   89/9                48/23 54/23 61/17
  yes [88] 5/5 14/12 62/7 65/25 82/16
   14/21 19/14 28/25   82/24 84/21 85/1
   29/20 30/6 30/10    85/4 85/25 86/1
   30/16 30/19 33/16   86/2 86/23 90/1
   33/24 34/5 34/17    90/24 92/1 92/23
   35/20 36/19 40/2    98/2 104/24 105/17
   45/24 46/24 47/18   105/21 105/22
   47/19 49/17 50/7    106/8 110/5 112/15
   50/9 51/2 51/21     114/6 119/6 119/7
   52/20 53/22 55/18 you've [3] 61/16
   56/25 57/1 62/7     87/6 108/14
   63/24 64/21 65/10 you-all [1] 78/11
   65/25 66/1 69/25   Young [1] 108/12
   72/3 74/25 75/8    your [167]
   76/23 77/12 77/16 yours [1] 18/11
   78/8 78/10 78/22   yourself [16] 19/2
   79/16 79/18 80/25   28/23 29/10 52/1
   82/6 84/23 86/20    61/23 62/3 67/4
   88/6 88/11 89/6     68/20 70/10 80/21
   89/7 89/19 91/3     86/7 86/18 88/17
   92/1 92/25 93/2     103/2 103/25 114/2
   95/4 95/12 95/19   YouTube [1] 79/23
   97/3 98/2 100/18   yvette [6] 1/23
   100/22 101/1        1/25 122/5 122/17
   101/16 102/13       122/17 122/19
   103/5 104/2 104/13 Z
   104/18 104/25
   105/4 105/8 107/24 ZACK [1] 1/16
